          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                  Entered:10/28/24 15:32:21 Page1 of 292
  Fill in this information to identify the case:

                  Loan Stop Acquisitions LLC
  Debtor
  United States Bankruptcy Court for the: __________ District of ____
                                                                 Colorado _


  Case number 24-16031
   (If known)

                                                                                                                                 X Check if this is
                                                                                                                                 D
                                                                                                                                 an amended filing
Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                             12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule AIB: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

                List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
   � No. Go to Part 2.
   D Yes. Go to line 2.
2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
   3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1. SEE ATTACHED

                                                                                                   Total claim                  Priority amount
   Priority creditor's name and mailing address          As of the petition filing date, the claim is: $                       $_______
                                                                                                        ---------
                                                          Check all that apply.
                                                          □ Contingent
                                                          D Unliquidated
                                                          D Disputed
   Date or dates debt was incurred                        Basis for the claim:


   Last 4 digits of account                               Is the claim subject to offset?
   number                                                 0 No
                                                          D Yes
   Specify Code subsection of PRIORITY unsecured
   claim: 11 U.S.C. § 507(a) (_)


   Priority creditor's name and mailing address          As of the petition filing date, the claim is: $                       $ _____
                                                          Check all that apply.                         ---------              _     _
                                                          □ Contingent
                                                          D Unliquidated
                                                          D Disputed
   Date or dates debt was incurred                        Basis for the claim:


   Last 4 digits of account                               Is the claim subject to offset?
   number                                                 0 No
                                                          D Yes
   Specify Code subsection of PRIORITY unsecured
   claim: 11 U.S.C. § 507(a) (_)

   Priority creditor's name and mailing address          As of the petition filing date, the claim is: $                       $_______
                                                                                                        ---------
                                                          Check all that apply.
                                                          □ Contingent
                                                          D Unliquidated
                                                          D Disputed
   Date or dates debt was incurred                        Basis for the claim:


   Last 4 digits of account                               Is the claim subject to offset?
   number                                                 0 No
                                                          D Yes
   Specify Code subsection of PRIORITY unsecured
   claim: 11 U.S.C. § 507(a) (_)




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                  page 1 of 292
            Case:24-16031-KHT Doc#:17 Filed:10/28/24                                                   Entered:10/28/24 15:32:21 Page2 of 292
  Debtor            _______________________________________________________                                        Case number (if known)_____________________________________
                    Name



 Part 1.       Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Total claim              Priority amount



2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________
                                                                             Contingent
                                                                             Unliquidated
       ___________________________________________                           Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)


2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
                                                                             Contingent
                                                                             Unliquidated
        _________________________________________________________________

       ___________________________________________                           Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________    Contingent
       ___________________________________________
                                                                             Unliquidated
                                                                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________
       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                                            Check all that apply.
        _________________________________________________________________    Contingent
       ___________________________________________                           Unliquidated
                                                                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




      Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 2 of 292
           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                         Entered:10/28/24 15:32:21 Page3 of 292
Debtor          Loan Stop Acquisitions LLC                                                                        Case number (if known) 24-16031
                Name



 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

 3.    List in alphabetical order all creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.

                                                                                                                                             Amount of claim

             Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1                                                                         Check all that apply.
             Aldo Acosta ________________________________
                                                                             ☒ Contingent
             1201 W Thornton Pkwy Lot 324 _________________                  ☒ Unliquidated
             Thornton, Colorado 80260 _____________________                  ☒ Disputed

                                                                             Basis for the claim: ____________________
             Date or dates debt was incurred ______________                  Is the claim subject to offset?
                                                                             ☒ No
             Last 4 digits of account number ___ ___ ___ ___
                                                                             ☐ Yes
             Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.2                                                                         Check all that apply.
             Stanley Adamitis _____________________________
                                                                             ☒ Contingent
             3978 S. Wadsworth Blvd. ______________________                  ☒ Unliquidated
             Lakewood, Colorado 80235 ____________________                   ☒ Disputed

                                                                             Basis for the claim: ____________________
             Date or dates debt was incurred ______________                  Is the claim subject to offset?
                                                                             ☒ No
             Last 4 digits of account number ___ ___ ___ ___
                                                                             ☐ Yes
             Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.3                                                                         Check all that apply.
             Terrance Adams _____________________________
                                                                             ☒ Contingent
             2118 Driftwood Lane _________________________                   ☒ Unliquidated
             Pueblo, Colorado 81005 _______________________                  ☒ Disputed

                                                                             Basis for the claim: ____________________
             Date or dates debt was incurred ______________                  Is the claim subject to offset?
                                                                             ☒ No
             Last 4 digits of account number ___ ___ ___ ___
                                                                             ☐ Yes
             Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.4                                                                         Check all that apply.
             Carolyn Adams ______________________________
                                                                             ☒ Contingent
             4402 Elkhart St ______________________________                  ☒ Unliquidated
             Denver, Colorado 80239 ______________________                   ☒ Disputed

                                                                             Basis for the claim: ____________________
             Date or dates debt was incurred ______________                  Is the claim subject to offset?
                                                                             ☒ No
             Last 4 digits of account number ___ ___ ___ ___
                                                                             ☐ Yes
             Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.5                                                                         Check all that apply.
             Robin Adams _______________________________
                                                                             ☒ Contingent
             2780 S Clarkson St___________________________                   ☒ Unliquidated
             Englewood, Colorado 80113 ___________________                   ☒ Disputed

                                                                             Basis for the claim: ____________________
             Date or dates debt was incurred ______________                  Is the claim subject to offset?
                                                                             ☒ No
             Last 4 digits of account number ___ ___ ___ ___
                                                                             ☐ Yes
             Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.6                                                                         Check all that apply.
             Justin Adkins _______________________________
                                                                             ☒ Contingent
             6343 E Girard Pl Unit 546 ______________________                ☒ Unliquidated
             Denver, Colorado 80222 ______________________                   ☒ Disputed

                                                                             Basis for the claim: ____________________
             Date or dates debt was incurred ______________                  Is the claim subject to offset?
                                                                             ☒ No
             Last 4 digits of account number ___ ___ ___ ___
                                                                             ☐ Yes

Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 3 of 292
           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page4 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name




 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.7                                                                 Check all that apply.
            Sean Adler _________________________________
                                                                     ☒ Contingent
            3085 S Acoma St ____________________________             ☒ Unliquidated
            Englewood, Colorado 80110 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.8                                                                 Check all that apply.
            Martine M. Agama ___________________________
                                                                     ☒ Contingent
            554 Potomac St Apt J _________________________           ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.9                                                                 Check all that apply.
            Vanessa O. Agbo ____________________________
                                                                     ☒ Contingent
            17090 E Mansfield Ave________________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.10                                                                Check all that apply.
            Gabriela Gonzalez Aguilar _____________________
                                                                     ☒ Contingent
            4112 Wapiti Way ____________________________             ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.11                                                                Check all that apply.
            Sonia Aguilar _______________________________
                                                                     ☒ Contingent
            12916 Cherry Way ___________________________             ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.12                                                                Check all that apply.
            Areli C. Villanueva- Aguilar _____________________
                                                                     ☒ Contingent
            1475 S Zeno St______________________________             ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes


Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                            page 4 of 292
           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page5 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.13                                                                Check all that apply.
            Javier Aguilar _______________________________
                                                                     ☒ Contingent
            12263 Clermont Ct ___________________________            ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.14                                                                Check all that apply.
            Manuel Aguilera _____________________________
                                                                     ☒ Contingent
            1513 E 3rd St _______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.15                                                                Check all that apply.
            Mayra A. Aguirre_____________________________
                                                                     ☒ Contingent
            1144 Berwick Ct. ____________________________            ☒ Unliquidated
            Fort Collins, Colorado 80524 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.16                                                                Check all that apply.
            Noe Aguirre ________________________________
                                                                     ☒ Contingent
            2143 Aztec Dr #E ____________________________            ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.17                                                                Check all that apply.
            Rose Agwa _________________________________
                                                                     ☒ Contingent
            4776 S Ireland Ct ____________________________           ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.18                                                                Check all that apply.
            Jamie Ajlani ________________________________
                                                                     ☒ Contingent
            3819 S Waco St _____________________________             ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 5 of 292
           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page6 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.19                                                                Check all that apply.
            Natalie Alamat ______________________________
                                                                     ☒ Contingent
            3885 1/2 S Acoma St _________________________            ☒ Unliquidated
            Englewood, Colorado 80110 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.20                                                                Check all that apply.
            Jose A. Contreras Alaniz ______________________
                                                                     ☒ Contingent
            3049 Yarrow CIr _____________________________            ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.21                                                                Check all that apply.
            Marvin F. Alas_______________________________
                                                                     ☒ Contingent
            1010 S Oneida St #A107 ______________________            ☒ Unliquidated
            Denver, Colorado 80224 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.22                                                                Check all that apply.
            David Alexander _____________________________
                                                                     ☒ Contingent
            30224 Hillside Rd ____________________________           ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.23                                                                Check all that apply.
            Jacob A. Alexander __________________________
                                                                     ☒ Contingent
            5457 Hill Rd Apt B ___________________________           ☒ Unliquidated
            Lakeport, California 95453 _____________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.24                                                                Check all that apply.
            Michael Aliperto _____________________________
                                                                     ☒ Contingent
            60 S. HARLAN STREET ______________________               ☒ Unliquidated
            Denver, Colorado 80226 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 6 of 292
           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page7 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.25                                                                Check all that apply.
            Matthew Alires ______________________________
                                                                     ☒ Contingent
            2732 Sitter Pl _______________________________           ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.26                                                                Check all that apply.
            Virginia Allen________________________________
                                                                     ☒ Contingent
            18494 E Kepner Pl #204 ______________________            ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.27                                                                Check all that apply.
            Kagan Allen ________________________________
                                                                     ☒ Contingent
            1181 Bellaire St #24 __________________________          ☒ Unliquidated
            Denver, Colorado 80220 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.28                                                                Check all that apply.
            Ricardo Almanza ____________________________
                                                                     ☒ Contingent
            861 Cortez St _______________________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.29                                                                Check all that apply.
            Miguel A. Alonso_____________________________
                                                                     ☒ Contingent
            12693 E Ohio Ave ___________________________             ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.30                                                                Check all that apply.
            Felix Alvarado _______________________________
                                                                     ☒ Contingent
            1121 34th Ave ______________________________             ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 7 of 292
           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page8 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.31                                                                Check all that apply.
            Cassandra Alvarado __________________________
                                                                     ☒ Contingent
            2044 E. 115th Ave. ___________________________           ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.32                                                                Check all that apply.
            Melissa Marie Alvarado _______________________
                                                                     ☒ Contingent
            2300 W County Road 38E Lot 77 ________________           ☒ Unliquidated
            Fort Collins, Colorado 80526 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.33                                                                Check all that apply.
            Stefan J. Amador ____________________________
                                                                     ☒ Contingent
            137 Fox Glove Private Dr ______________________          ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.34                                                                Check all that apply.
            Massaud Amin ______________________________
                                                                     ☒ Contingent
            1655 W 85th Ave Apt 208 ______________________           ☒ Unliquidated
            Denver, Colorado 80260 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.35                                                                Check all that apply.
            Sharon Amos-Taylor__________________________
                                                                     ☒ Contingent
            6771 S Riviera Ct Unit 1234 ____________________         ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.36                                                                Check all that apply.
            Bryan Anderson _____________________________
                                                                     ☒ Contingent
            21835 Silver Meadow Cir ______________________           ☒ Unliquidated
            Parker, Colorado 80138 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page9 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.37                                                                Check all that apply.
            Tiana Anderson _____________________________
                                                                     ☒ Contingent
            4900 Trenton St Apt 215 ______________________           ☒ Unliquidated
            Denver, Colorado 80238 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.38                                                                Check all that apply.
            Russell William Anderson ______________________
                                                                     ☒ Contingent
            501 Golden Cir Apt 7-209 ______________________          ☒ Unliquidated
            Golden, Colorado 80401 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.39                                                                Check all that apply.
            Kellie R. Anderson ___________________________
                                                                     ☒ Contingent
            6105 S Parker Rd Apt 8208 ____________________           ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.40                                                                Check all that apply.
            Raymond Anderson __________________________
                                                                     ☒ Contingent
            307 E Denver St _____________________________            ☒ Unliquidated
            Holyoke, Colorado 80734 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.41                                                                Check all that apply.
            Cody Lane Anderson _________________________
                                                                     ☒ Contingent
            900 County Road 37__________________________             ☒ Unliquidated
            Brighton, Colorado 80603 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.42                                                                Check all that apply.
            Cody J. Anthony _____________________________
                                                                     ☒ Contingent
            4256 Apollo Village Circle #B ___________________        ☒ Unliquidated
            Colorado Sprgs, Colorado 80916 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page10 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.43                                                                Check all that apply.
            Alessi J. Antillon _____________________________
                                                                     ☒ Contingent
            4613 W 1st Road ____________________________             ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.44                                                                Check all that apply.
            Daniel Antoine ______________________________
                                                                     ☒ Contingent
            962 S Crystal Way Apt 3-201 ___________________          ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.45                                                                Check all that apply.
            Diana M. Antonio ____________________________
                                                                     ☒ Contingent
            108 S Sable Blvd ____________________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.46                                                                Check all that apply.
            Matthew Apodaca ____________________________
                                                                     ☒ Contingent
            9725 Elderberry St ___________________________           ☒ Unliquidated
            Denver, Colorado 80260 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.47                                                                Check all that apply.
            Tonya Aragon _______________________________
                                                                     ☒ Contingent
            2525 E 104th Ave Unit 1512 ____________________          ☒ Unliquidated
            Thornton, Colorado 80233 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.48                                                                Check all that apply.
            Melissa A. Aragon ___________________________
                                                                     ☒ Contingent
            1333 W 70th Ave Unit B _______________________           ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page11 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.49                                                                Check all that apply.
            Rosario Aranda______________________________
                                                                     ☒ Contingent
            416 West Palmer Lake ________________________            ☒ Unliquidated
            Pueblo West, Colorado 81007 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.50                                                                Check all that apply.
            Jason Archambeau___________________________
                                                                     ☒ Contingent
            9959 E Peakview Ave Apt Y108 _________________           ☒ Unliquidated
            Englewood, Colorado 80111 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.51                                                                Check all that apply.
            Monique Archuleta ___________________________
                                                                     ☒ Contingent
            1984 West 76th Ave #1407 ____________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.52                                                                Check all that apply.
            Cody J. Archuleta ____________________________
                                                                     ☒ Contingent
            13606 E 14th Ave Unit 302 _____________________          ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.53                                                                Check all that apply.
            Erica Arellano _______________________________
                                                                     ☒ Contingent
            447 S. 12th Street____________________________           ☒ Unliquidated
            Montrose, Colorado 81401 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.54                                                                Check all that apply.
            Brenda Arellano _____________________________
                                                                     ☒ Contingent
            2135 S Depew St Apt 48 ______________________            ☒ Unliquidated
            Denver, Colorado 80227 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page12 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.55                                                                Check all that apply.
            Victor A. Arellano ____________________________
                                                                     ☒ Contingent
            800 1st St Trlr 21 ____________________________          ☒ Unliquidated
            Kersey, Colorado 80644 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.56                                                                Check all that apply.
            Misty Arellano _______________________________
                                                                     ☒ Contingent
            10353 W 80th Dr Apt D _______________________            ☒ Unliquidated
            Arvada, Colorado 80005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.57                                                                Check all that apply.
            Maree Arellano ______________________________
                                                                     ☒ Contingent
            129 Van Buren St Apt 2 _______________________           ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.58                                                                Check all that apply.
            Veronica V. Arias ____________________________
                                                                     ☒ Contingent
            2131 6th St _________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.59                                                                Check all that apply.
            Sipriano Munoz- Armendarez ___________________
                                                                     ☒ Contingent
            3360 S Kenton St #4306 ______________________            ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.60                                                                Check all that apply.
            Stefany M. Armendariz ________________________
                                                                     ☒ Contingent
            10105 W Dartmouth Pl #301 ___________________            ☒ Unliquidated
            Denver, Colorado 80227 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.61                                                                Check all that apply.
            Gina Armstrong _____________________________
                                                                     ☒ Contingent
            164 Grubbs Ln ______________________________             ☒ Unliquidated
            Gun Barrel City, Texas 75156 __________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.62                                                                Check all that apply.
            David Armstrong _____________________________
                                                                     ☒ Contingent
            15902 E 11th Ave ____________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.63                                                                Check all that apply.
            Aaron Armstrong ____________________________
                                                                     ☒ Contingent
            429 W 10th Street____________________________            ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.64                                                                Check all that apply.
            Joseph Armstrong ___________________________
                                                                     ☒ Contingent
            155 Bonnymede Rd __________________________              ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.65                                                                Check all that apply.
            Earlene F. Arnold ____________________________
                                                                     ☒ Contingent
            388 Kathleen Cir _____________________________           ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.66                                                                Check all that apply.
            Marleah Arnold ______________________________
                                                                     ☒ Contingent
            3814 Canterbury Ln __________________________            ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.67                                                                Check all that apply.
            Stanely Arnot _______________________________
                                                                     ☒ Contingent
            4901 W 93rd Ave Unit 1123 ____________________           ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.68                                                                Check all that apply.
            Ruben Arroyo _______________________________
                                                                     ☒ Contingent
            2800 S Syracuse Way Apt 15-104 _______________           ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.69                                                                Check all that apply.
            Cynthia Arzamendi ___________________________
                                                                     ☒ Contingent
            6917 Backcountry Loop _______________________            ☒ Unliquidated
            Colorado Sprngs, Colorado 80927 _______________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.70                                                                Check all that apply.
            Baffour Asare _______________________________
                                                                     ☒ Contingent
            1048 S Evanston Way #207 ____________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.71                                                                Check all that apply.
            Jacob Aschenbrener__________________________
                                                                     ☒ Contingent
            4501 Boardwalk Dr #B17 ______________________            ☒ Unliquidated
            Fort Collins, Colorado 80525 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.72                                                                Check all that apply.
            Kaylee Ashley _______________________________
                                                                     ☒ Contingent
            1110 Mahren Ave ____________________________             ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page15 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.73                                                                Check all that apply.
            Victor Asobo ________________________________
                                                                     ☒ Contingent
            20902 E 40th Pl _____________________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.74                                                                Check all that apply.
            Marlene Atencio _____________________________
                                                                     ☒ Contingent
            1650 S Ivory Cir Unit E ________________________         ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.75                                                                Check all that apply.
            Blake Atkins ________________________________
                                                                     ☒ Contingent
            12226 Colorado Blvd Apt 227 ___________________          ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.76                                                                Check all that apply.
            Sloane K. Auguste ___________________________
                                                                     ☒ Contingent
            624 25 1/2 Rd Apt 21 _________________________           ☒ Unliquidated
            Grand Junction, Colorado 81505 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.77                                                                Check all that apply.
            Brittany Austin-Jackson _______________________
                                                                     ☒ Contingent
            3284 Scranton Street _________________________           ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.78                                                                Check all that apply.
            Javier Avila _________________________________
                                                                     ☒ Contingent
            539 32 1/2 Rd _______________________________            ☒ Unliquidated
            Clifton, Colorado 81520 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page16 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.79                                                                Check all that apply.
            Julius Avila-Leon ____________________________
                                                                     ☒ Contingent
            2259 75th Ave ______________________________             ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.80                                                                Check all that apply.
            Karina Aviles________________________________
                                                                     ☒ Contingent
            981 Cragmore St ____________________________             ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.81                                                                Check all that apply.
            Michelle Awbery _____________________________
                                                                     ☒ Contingent
            615 Olga St_________________________________             ☒ Unliquidated
            Clifton, Colorado 81520 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.82                                                                Check all that apply.
            Joaquin Ayala _______________________________
                                                                     ☒ Contingent
            15300 E Arizona Ave Unit 202 __________________          ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.83                                                                Check all that apply.
            Alejandra Ayala _____________________________
                                                                     ☒ Contingent
            1908 Rice Ave ______________________________             ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.84                                                                Check all that apply.
            Matthew Ayon _______________________________
                                                                     ☒ Contingent
            11755 W 65th Pl _____________________________            ☒ Unliquidated
            Arvada, Colorado 80004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page17 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.85                                                                Check all that apply.
            Meghanne Baca _____________________________
                                                                     ☒ Contingent
            5102 Galley Rd #450AW ______________________             ☒ Unliquidated
            Colorado Sprgs, Colorado 80915 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.86                                                                Check all that apply.
            Reena Baca ________________________________
                                                                     ☒ Contingent
            2309 W 15th St ______________________________            ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.87                                                                Check all that apply.
            Haley Bach _________________________________
                                                                     ☒ Contingent
            2797 Wewatta Way Unit 3023 __________________            ☒ Unliquidated
            Denver, Colorado 80216 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.88                                                                Check all that apply.
            David Baiotto _______________________________
                                                                     ☒ Contingent
            765 HAMPSHIRE LANE _______________________               ☒ Unliquidated
            Virginia Beach, Virginia 23462 __________________        ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.89                                                                Check all that apply.
            Slawomir Bakalarski __________________________
                                                                     ☒ Contingent
            12915 Lafayette St Unit G _____________________          ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.90                                                                Check all that apply.
            Joseph Baker _______________________________
                                                                     ☒ Contingent
            8815 Creekside Way Apt 1531 __________________           ☒ Unliquidated
            Denver, Colorado 80129 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page18 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.91                                                                Check all that apply.
            Zachary Baker ______________________________
                                                                     ☒ Contingent
            2226 S Racine Way #203 ______________________            ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.92                                                                Check all that apply.
            Jessica Balderas ____________________________
                                                                     ☒ Contingent
            401 Interlocken Blvd #3301 ____________________          ☒ Unliquidated
            Broomfield, Colorado 80021 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.93                                                                Check all that apply.
            Latisha R. Balderrama ________________________
                                                                     ☒ Contingent
            813 S Vance St Apt 107 _______________________           ☒ Unliquidated
            Lakewood, Colorado 80226 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.94                                                                Check all that apply.
            Carla Balderrama ____________________________
                                                                     ☒ Contingent
            4573 S Cherokee St __________________________            ☒ Unliquidated
            Englewood, Colorado 80110 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.95                                                                Check all that apply.
            Tammy L. Ballez _____________________________
                                                                     ☒ Contingent
            392 S Peoria Cir _____________________________           ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.96                                                                Check all that apply.
            Gail R. Balongue ____________________________
                                                                     ☒ Contingent
            921 PORTER AVE #510 ______________________               ☒ Unliquidated
            Ocean Springs, Mississippi 39564 _______________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.97                                                                Check all that apply.
            Rebecca L. Baran ____________________________
                                                                     ☒ Contingent
            3801 Salida Ct ______________________________            ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.98                                                                Check all that apply.
            Shawante Barber ____________________________
                                                                     ☒ Contingent
            838 S Kalispell Circle #101 _____________________        ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.99                                                                Check all that apply.
            Alisha M. Barela _____________________________
                                                                     ☒ Contingent
            323 11th St _________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.100                                                               Check all that apply.
            Juanita Barela-Wheeler _______________________
                                                                     ☒ Contingent
            171 Cornell Cir ______________________________           ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.101                                                               Check all that apply.
            ERNESTINA BARGER ________________________
                                                                     ☒ Contingent
            6702 Antigua Dr Unit 52 _______________________          ☒ Unliquidated
            Fort Collins, Colorado 80525 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.102                                                               Check all that apply.
            Domenick Barney ____________________________
                                                                     ☒ Contingent
            1856 S Pitkin Cir #B __________________________          ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page20 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.103                                                               Check all that apply.
            Franks Barraza ______________________________
                                                                     ☒ Contingent
            4275 Peach Tree Ct __________________________            ☒ Unliquidated
            Loveland, Colorado 80538 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.104                                                               Check all that apply.
            Ilee Barraza ________________________________
                                                                     ☒ Contingent
            101 S Newton St_____________________________             ☒ Unliquidated
            Denver, Colorado 80219 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.105                                                               Check all that apply.
            Lidia Barrera ________________________________
                                                                     ☒ Contingent
            4349 Marlow Cir _____________________________            ☒ Unliquidated
            Colorado Sprgs, Colorado 80916 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.106                                                               Check all that apply.
            Orestes Barrera-Gil __________________________
                                                                     ☒ Contingent
            17033 E Wagontrail Pkwy _____________________            ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.107                                                               Check all that apply.
            Gavin Barrick _______________________________
                                                                     ☒ Contingent
            107 Bonnie Vista Dr Apt 4 _____________________          ☒ Unliquidated
            Fruita, Colorado 81521 ________________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.108                                                               Check all that apply.
            Liza Barrientos ______________________________
                                                                     ☒ Contingent
            8270 Franklin St _____________________________           ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.109                                                               Check all that apply.
            Christina Barrientos __________________________
                                                                     ☒ Contingent
            488 Emery Rd_______________________________              ☒ Unliquidated
            Northglenn, Colorado 80233 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.110                                                               Check all that apply.
            Charles Barrios ______________________________
                                                                     ☒ Contingent
            115 County Road 301_________________________             ☒ Unliquidated
            Parachute, Colorado 81635 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.111                                                               Check all that apply.
            Carlos Barron _______________________________
                                                                     ☒ Contingent
            4560 S Balsam Way #3-202 ____________________            ☒ Unliquidated
            Littleton, Colorado 80123 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.112                                                               Check all that apply.
            Joshua Barry _______________________________
                                                                     ☒ Contingent
            2606 INDIAN HILLS GROVE ___________________              ☒ Unliquidated
            Colorado Sprgs, Colorado 80907 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.113                                                               Check all that apply.
            Alisha K. Basford ____________________________
                                                                     ☒ Contingent
            514 29 1/4 Rd Unit B _________________________           ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.114                                                               Check all that apply.
            Kimberly Bashasha___________________________
                                                                     ☒ Contingent
            8555 Fairmount Dr Apt A-104 ___________________          ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page22 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.115                                                               Check all that apply.
            Bobbie Basquez _____________________________
                                                                     ☒ Contingent
            6343 W 13th St Rd ___________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.116                                                               Check all that apply.
            Michelle Basquez ____________________________
                                                                     ☒ Contingent
            1090 S Parker Rd Apt A204 ____________________           ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.117                                                               Check all that apply.
            Riley A. Bassett _____________________________
                                                                     ☒ Contingent
            77 S Jay St _________________________________            ☒ Unliquidated
            Lakewood, Colorado 80226 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.118                                                               Check all that apply.
            Adam Bates ________________________________
                                                                     ☒ Contingent
            700 S Dustin Rd _____________________________            ☒ Unliquidated
            Farmington, New Mexico 87401 _________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.119                                                               Check all that apply.
            Miranda Battelo _____________________________
                                                                     ☒ Contingent
            242 E 4th St ________________________________            ☒ Unliquidated
            Ault, Colorado 80610 _________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.120                                                               Check all that apply.
            Chad Baughman_____________________________
                                                                     ☒ Contingent
            2330 Brushville Lane _________________________           ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page23 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.121                                                               Check all that apply.
            Janet Baughman ____________________________
                                                                     ☒ Contingent
            27350 Gale Rd. _____________________________             ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.122                                                               Check all that apply.
            Megan Bay _________________________________
                                                                     ☒ Contingent
            4745 Eagleridge Cir Apt 105____________________          ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.123                                                               Check all that apply.
            Ashley J. Beard _____________________________
                                                                     ☒ Contingent
            9700 Welby Rd Unit 1024 ______________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.124                                                               Check all that apply.
            Cassandra Beck _____________________________
                                                                     ☒ Contingent
            2410 S Salida Way ___________________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.125                                                               Check all that apply.
            Judith Becker _______________________________
                                                                     ☒ Contingent
            451 Malley Dr Unit 101 ________________________          ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.126                                                               Check all that apply.
            Rochelle Beers ______________________________
                                                                     ☒ Contingent
            36125 County Road 43________________________             ☒ Unliquidated
            Eaton, Colorado 80615________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page24 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.127                                                               Check all that apply.
            Rachel Beilman _____________________________
                                                                     ☒ Contingent
            2946 B 1/2 Road_____________________________             ☒ Unliquidated
            Grand Junction, Colorado 81503 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.128                                                               Check all that apply.
            Lillie Bell ___________________________________
                                                                     ☒ Contingent
            9372 Timberlake Loop ________________________            ☒ Unliquidated
            Colorado Spring, Colorado 80927 _______________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.129                                                               Check all that apply.
            Octavia Bell ________________________________
                                                                     ☒ Contingent
            2841 Steele ST ______________________________            ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.130                                                               Check all that apply.
            Melvin Bell _________________________________
                                                                     ☒ Contingent
            9959 E Peakview Ave Apt A101 _________________           ☒ Unliquidated
            Englewood, Colorado 80111 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.131                                                               Check all that apply.
            Preston Bell ________________________________
                                                                     ☒ Contingent
            3904 W 7th St _______________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.132                                                               Check all that apply.
            Christopher L. Bell ___________________________
                                                                     ☒ Contingent
            5122 Perth St _______________________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page25 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.133                                                               Check all that apply.
            Robert Bellamy ______________________________
                                                                     ☒ Contingent
            12020 Southern Highland Pkwy _________________           ☒ Unliquidated
            Las Vegas, Nevada 89141 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.134                                                               Check all that apply.
            Erick Belleza ________________________________
                                                                     ☒ Contingent
            11185 E Alameda Ave #204 ____________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.135                                                               Check all that apply.
            Roberta Bellitto ______________________________
                                                                     ☒ Contingent
            140 W. 3RD ST. #100 ________________________             ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.136                                                               Check all that apply.
            Andrew J. Bellott_____________________________
                                                                     ☒ Contingent
            1512 N. HILLS BLVD. _________________________            ☒ Unliquidated
            Van Buren, Arkansas 72956 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.137                                                               Check all that apply.
            Connery Benally _____________________________
                                                                     ☒ Contingent
            921 Rampart Drive ___________________________            ☒ Unliquidated
            Rock Springs, Wyoming 82901 _________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.138                                                               Check all that apply.
            Heather Benavidez ___________________________
                                                                     ☒ Contingent
            301 Malley Dr Apt 183 ________________________           ☒ Unliquidated
            Northglenn, Colorado 80233 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page26 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.139                                                               Check all that apply.
            Matthew Benson _____________________________
                                                                     ☒ Contingent
            2286 W Hillside Ave __________________________           ☒ Unliquidated
            Englewood, Colorado 80110 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.140                                                               Check all that apply.
            Aminata Berety ______________________________
                                                                     ☒ Contingent
            8888 E. 13th Ave. #35 ________________________           ☒ Unliquidated
            Denver, Colorado 80220 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.141                                                               Check all that apply.
            Stephanie Louise Berresford ___________________
                                                                     ☒ Contingent
            738 Palmer Ave. _____________________________            ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.142                                                               Check all that apply.
            Aldrich Bewry _______________________________
                                                                     ☒ Contingent
            2353 N. 9th St. Lot A95 _______________________          ☒ Unliquidated
            Laramie, Wyoming 82072 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.143                                                               Check all that apply.
            Rufus Billups________________________________
                                                                     ☒ Contingent
            2941 Bunting Ave Apt 4 _______________________           ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.144                                                               Check all that apply.
            Jay Binkley _________________________________
                                                                     ☒ Contingent
            PO Box 1004 _______________________________              ☒ Unliquidated
            Grand Junction, Colorado 81502 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page27 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.145                                                               Check all that apply.
            Melissa Birmingham __________________________
                                                                     ☒ Contingent
            807 ALPINE ST _____________________________              ☒ Unliquidated
            Longmont, Colorado 80504 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.146                                                               Check all that apply.
            Jeran Bishop________________________________
                                                                     ☒ Contingent
            213 Birch St. ________________________________           ☒ Unliquidated
            Bennett, Colorado 80102 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.147                                                               Check all that apply.
            Kathleen Bishop _____________________________
                                                                     ☒ Contingent
            1544 Garland Rd ____________________________             ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.148                                                               Check all that apply.
            Alexandra Bittler _____________________________
                                                                     ☒ Contingent
            6750 Green River Dr Unit H ____________________          ☒ Unliquidated
            Highlands Ranch, Colorado 80130 _______________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.149                                                               Check all that apply.
            Janee Bivins ________________________________
                                                                     ☒ Contingent
            524 Potomac Apt D __________________________             ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.150                                                               Check all that apply.
            Arlene Bixby ________________________________
                                                                     ☒ Contingent
            4640 S Laredo St ____________________________            ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page28 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.151                                                               Check all that apply.
            Willie Blackmon _____________________________
                                                                     ☒ Contingent
            3841 E 121st Ave ____________________________            ☒ Unliquidated
            Denver, Colorado 80241 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.152                                                               Check all that apply.
            Barbara Blair________________________________
                                                                     ☒ Contingent
            2610 Crescent Cove Dr Apt 7 ___________________          ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.153                                                               Check all that apply.
            Sandra Blake _______________________________
                                                                     ☒ Contingent
            6734 Ashland Pl _____________________________            ☒ Unliquidated
            Colorado Sprgs, Colorado 80911 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.154                                                               Check all that apply.
            Steven Blan ________________________________
                                                                     ☒ Contingent
            7903 Emerson St. ____________________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.155                                                               Check all that apply.
            Tiffany S. Blea ______________________________
                                                                     ☒ Contingent
            1596 S Norfolk St ____________________________           ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.156                                                               Check all that apply.
            Ashley Bloom _______________________________
                                                                     ☒ Contingent
            340 Old Cove Rd N __________________________             ☒ Unliquidated
            Jasper, Georgia 30143 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.157                                                               Check all that apply.
            Jeffrey Blunck _______________________________
                                                                     ☒ Contingent
            615 E 10th St _______________________________            ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.158                                                               Check all that apply.
            Levi Bogle __________________________________
                                                                     ☒ Contingent
            360 Cuchara St______________________________             ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.159                                                               Check all that apply.
            Sandi Boles ________________________________
                                                                     ☒ Contingent
            4254 Lipan St _______________________________            ☒ Unliquidated
            Denver, Colorado 80211 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.160                                                               Check all that apply.
            Kevin Bollinger ______________________________
                                                                     ☒ Contingent
            5165 Dudley St ______________________________            ☒ Unliquidated
            Arvada, Colorado 80002 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.161                                                               Check all that apply.
            Vince Bolton ________________________________
                                                                     ☒ Contingent
            12846 Jasmine St Unit F ______________________           ☒ Unliquidated
            Thornton, Colorado 80602 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.162                                                               Check all that apply.
            Kimberly Bonello_____________________________
                                                                     ☒ Contingent
            12846 E Nevada Cir __________________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page30 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.163                                                               Check all that apply.
            Lasaundra K. Borne __________________________
                                                                     ☒ Contingent
            P.O. Box 351821 ____________________________             ☒ Unliquidated
            Westminster, Colorado 80035 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.164                                                               Check all that apply.
            Ashlie M. Bowlby ____________________________
                                                                     ☒ Contingent
            1324 Madeline Ct ____________________________            ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.165                                                               Check all that apply.
            Dustin Bowman _____________________________
                                                                     ☒ Contingent
            2469 Clarion Ln _____________________________            ☒ Unliquidated
            Fort Collins, Colorado 80524 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.166                                                               Check all that apply.
            Marcia L. Bowman ___________________________
                                                                     ☒ Contingent
            6784 W Colorado Ave ________________________             ☒ Unliquidated
            Lakewood, Colorado 80232 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.167                                                               Check all that apply.
            Maria C. Boyer-Meza _________________________
                                                                     ☒ Contingent
            11627 E Cedar Ave __________________________             ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.168                                                               Check all that apply.
            Brenda Bradford _____________________________
                                                                     ☒ Contingent
            3416 17th Ave ______________________________             ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page31 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.169                                                               Check all that apply.
            Jameson John Brammer ______________________
                                                                     ☒ Contingent
            840 6th St __________________________________            ☒ Unliquidated
            Nunn, Colorado 80648 ________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.170                                                               Check all that apply.
            Rhonda Branscome __________________________
                                                                     ☒ Contingent
            5031 Pay It Forward Drive _____________________          ☒ Unliquidated
            Casper, Wyoming 82609 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.171                                                               Check all that apply.
            Dawn Branson ______________________________
                                                                     ☒ Contingent
            1920 E. 13TH AVE. __________________________             ☒ Unliquidated
            Denver, Colorado 80206 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.172                                                               Check all that apply.
            Yesica Bravo Mendoza ________________________
                                                                     ☒ Contingent
            2021 N 7th St _______________________________            ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.173                                                               Check all that apply.
            Ann Breedlove ______________________________
                                                                     ☒ Contingent
            750 S Lafayette Dr Unit J203 ___________________         ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.174                                                               Check all that apply.
            Lori Brendlinger _____________________________
                                                                     ☒ Contingent
            3224 Rood Ave Apt 3 _________________________            ☒ Unliquidated
            Clifton, Colorado 81520 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.175                                                               Check all that apply.
            Rick Brewer ________________________________
                                                                     ☒ Contingent
            5105 Scranton Ct ____________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.176                                                               Check all that apply.
            Christine L. Brewington _______________________
                                                                     ☒ Contingent
            3426 Decatur St _____________________________            ☒ Unliquidated
            Denver, Colorado 80211 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.177                                                               Check all that apply.
            Shantanique Bridgewater ______________________
                                                                     ☒ Contingent
            1903 N Mill Street #3702 ______________________          ☒ Unliquidated
            Lewisville, Texas 75057 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.178                                                               Check all that apply.
            Erika Briones _______________________________
                                                                     ☒ Contingent
            3025 Zion St ________________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.179                                                               Check all that apply.
            Karina Briones ______________________________
                                                                     ☒ Contingent
            4515 Fillmore St _____________________________           ☒ Unliquidated
            Denver, Colorado 80216 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.180                                                               Check all that apply.
            Joshua Britton_______________________________
                                                                     ☒ Contingent
            26488 County Rd 16__________________________             ☒ Unliquidated
            Keenesburg, Colorado 80643 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.181                                                               Check all that apply.
            Reginald Broadus ____________________________
                                                                     ☒ Contingent
            4017 North Drive ____________________________            ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.182                                                               Check all that apply.
            Amy Brock _________________________________
                                                                     ☒ Contingent
            740 S Vran St _______________________________            ☒ Unliquidated
            Denver, Colorado 80219 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.183                                                               Check all that apply.
            Zita Brogan _________________________________
                                                                     ☒ Contingent
            5904 S Datura St #9 __________________________           ☒ Unliquidated
            Littleton, Colorado 80120 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.184                                                               Check all that apply.
            Jason Brohard ______________________________
                                                                     ☒ Contingent
            116 Santa Fe Trl _____________________________           ☒ Unliquidated
            Trinidad, Colorado 81082 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.185                                                               Check all that apply.
            Briana Broker _______________________________
                                                                     ☒ Contingent
            2913 Beldon Dr______________________________             ☒ Unliquidated
            Salem, Virginia 24153 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.186                                                               Check all that apply.
            Dashaun Brooks _____________________________
                                                                     ☒ Contingent
            975 PARK AVE. EXT. APT. 8G _________________             ☒ Unliquidated
            Clearfield, Pennsylvania 16830 _________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.187                                                               Check all that apply.
            L Mont Brooks ______________________________
                                                                     ☒ Contingent
            2902 W Sweetwater Ave #3002 _________________            ☒ Unliquidated
            Phoenix, Arizona 85029 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.188                                                               Check all that apply.
            Brandon Brou _______________________________
                                                                     ☒ Contingent
            480 S Vine St Apt 9 __________________________           ☒ Unliquidated
            Denver, Colorado 80209 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.189                                                               Check all that apply.
            Autumn Brown ______________________________
                                                                     ☒ Contingent
            2303 S. Vaughn Way Apt 316 __________________            ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.190                                                               Check all that apply.
            Bady Brown ________________________________
                                                                     ☒ Contingent
            11126 E Linvale Dr ___________________________           ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.191                                                               Check all that apply.
            Laura Brown ________________________________
                                                                     ☒ Contingent
            1560 Boulder St Unit 320 ______________________          ☒ Unliquidated
            Denver, Colorado 80211 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.192                                                               Check all that apply.
            Lamar T. Brown _____________________________
                                                                     ☒ Contingent
            4404 Mariposa Way __________________________             ☒ Unliquidated
            Denver, Colorado 80211 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.193                                                               Check all that apply.
            Colette Brown _______________________________
                                                                     ☒ Contingent
            19803 E Dartmouth Pl ________________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.194                                                               Check all that apply.
            Lisa Bryant _________________________________
                                                                     ☒ Contingent
            C/O Robinson & Henry, P.C. ___________________           ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.195                                                               Check all that apply.
            Nicole Budik ________________________________
                                                                     ☒ Contingent
            30171 E. 163rd Pl. ___________________________           ☒ Unliquidated
            Brighton, Colorado 80603 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.196                                                               Check all that apply.
            Clint Douglas Buehler _________________________
                                                                     ☒ Contingent
            5615 Balsam St _____________________________             ☒ Unliquidated
            Arvada, Colorado 80002 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.197                                                               Check all that apply.
            Arthur Bulega _______________________________
                                                                     ☒ Contingent
            21241 E Smoky Hill Rd ________________________           ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.198                                                               Check all that apply.
            Jill S. Bunton________________________________
                                                                     ☒ Contingent
            9950 E Mexico Ave #702 ______________________            ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.199                                                               Check all that apply.
            Steven Burd ________________________________
                                                                     ☒ Contingent
            16071 E Radcliff Pl Apt A ______________________         ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.200                                                               Check all that apply.
            Terrence Burgess ____________________________
                                                                     ☒ Contingent
            4775 Argonne St #E105 _______________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.201                                                               Check all that apply.
            Allison Burgess ______________________________
                                                                     ☒ Contingent
            4775 Argonne St #S208 _______________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.202                                                               Check all that apply.
            Sherry Burham ______________________________
                                                                     ☒ Contingent
            922 State St ________________________________            ☒ Unliquidated
            Fort Morgan, Colorado 80701___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.203                                                               Check all that apply.
            Shakeya Burkhalter __________________________
                                                                     ☒ Contingent
            5546 S Sedalia St ____________________________           ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.204                                                               Check all that apply.
            Scott M. Burnett _____________________________
                                                                     ☒ Contingent
            1142 Bella Springs Vw #324 ___________________           ☒ Unliquidated
            Colorado Sprgs, Colorado 80921 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.205                                                               Check all that apply.
            Aaryn D. Burnett _____________________________
                                                                     ☒ Contingent
            10700 E. Dartmouth Ave. ______________________           ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.206                                                               Check all that apply.
            Elycia Burns ________________________________
                                                                     ☒ Contingent
            428 Lark Dr _________________________________            ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.207                                                               Check all that apply.
            Justin T. Burns ______________________________
                                                                     ☒ Contingent
            18279 E Hampden Pl _________________________             ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.208                                                               Check all that apply.
            Rachel M. Burns _____________________________
                                                                     ☒ Contingent
            4977 Fundy St ______________________________             ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.209                                                               Check all that apply.
            Marcus Burton ______________________________
                                                                     ☒ Contingent
            2808 Ridgeview Cir Apt B ______________________          ☒ Unliquidated
            Erie, Colorado 80516 _________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.210                                                               Check all that apply.
            Laura Vasquez- Bustamante ___________________
                                                                     ☒ Contingent
            1373 Caledonia Cir ___________________________           ☒ Unliquidated
            Louisville, Colorado 80027 _____________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page38 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.211                                                               Check all that apply.
            Wendy Bustamante __________________________
                                                                     ☒ Contingent
            2434 Tempest Dr. ____________________________            ☒ Unliquidated
            Colorado Spring, Colorado 80939 _______________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.212                                                               Check all that apply.
            Cole Butler _________________________________
                                                                     ☒ Contingent
            3400 S Lowell Blvd Apt 13-302__________________          ☒ Unliquidated
            Denver, Colorado 80236 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.213                                                               Check all that apply.
            Russell Butler _______________________________
                                                                     ☒ Contingent
            4217 Mesquite Ln ____________________________            ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.214                                                               Check all that apply.
            Luz Cabrera ________________________________
                                                                     ☒ Contingent
            3161 Highland Pl ____________________________            ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.215                                                               Check all that apply.
            Alicia L. Calderon ____________________________
                                                                     ☒ Contingent
            4481 Elm Ct ________________________________             ☒ Unliquidated
            Denver, Colorado 80211 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.216                                                               Check all that apply.
            Raul Holguin- Calderon _______________________
                                                                     ☒ Contingent
            1454 9th St _________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.217                                                               Check all that apply.
            Toyan Calvert _______________________________
                                                                     ☒ Contingent
            16036 E Elk Drive ____________________________           ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.218                                                               Check all that apply.
            Drew Campbell ______________________________
                                                                     ☒ Contingent
            2781 S Jackson St ___________________________            ☒ Unliquidated
            Denver, Colorado 80210 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.219                                                               Check all that apply.
            Willie Campbell ______________________________
                                                                     ☒ Contingent
            3596 Fairfax St ______________________________           ☒ Unliquidated
            Denver, Colorado 80207 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.220                                                               Check all that apply.
            Jessica Campos _____________________________
                                                                     ☒ Contingent
            9615 Gull St ________________________________            ☒ Unliquidated
            Federal Heights, Colorado 80260 ________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.221                                                               Check all that apply.
            Alex Campos _______________________________
                                                                     ☒ Contingent
            2604 49th Ave Ct ____________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.222                                                               Check all that apply.
            Mark Caplan ________________________________
                                                                     ☒ Contingent
            11100 E Dartmouth Ave Apt 220 ________________           ☒ Unliquidated
            Denver, Colorado 80014 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.223                                                               Check all that apply.
            Jose Cardenas ______________________________
                                                                     ☒ Contingent
            615 S. Virginia St. Unit A ______________________        ☒ Unliquidated
            El Paso, Texas 79901 ________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.224                                                               Check all that apply.
            Felicia M. Cardenas __________________________
                                                                     ☒ Contingent
            3549 29th St Unit 1 ___________________________          ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.225                                                               Check all that apply.
            Sanjuana Cardona ___________________________
                                                                     ☒ Contingent
            203 Balsam_________________________________              ☒ Unliquidated
            Log Lane Villag, Colorado 80705 ________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.226                                                               Check all that apply.
            Rene Cardona ______________________________
                                                                     ☒ Contingent
            1812 Habitat Lane ___________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.227                                                               Check all that apply.
            Adam R. Carmin _____________________________
                                                                     ☒ Contingent
            3805 29TH STREET APT. 1 ____________________             ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.228                                                               Check all that apply.
            Sadria Carr _________________________________
                                                                     ☒ Contingent
            3536 S Holly St ______________________________           ☒ Unliquidated
            Denver, Colorado 80237 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.229                                                               Check all that apply.
            Marissa Carrillo______________________________
                                                                     ☒ Contingent
            243 W 80th Avenue #8306 _____________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.230                                                               Check all that apply.
            Davida Carrillo ______________________________
                                                                     ☒ Contingent
            10303 E 113th Ave ___________________________            ☒ Unliquidated
            Commerce City, Colorado 80640 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.231                                                               Check all that apply.
            Elisa Carrillo ________________________________
                                                                     ☒ Contingent
            12744 Elm Street ____________________________            ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.232                                                               Check all that apply.
            Catina Carrillo _______________________________
                                                                     ☒ Contingent
            1224 Claremont Ave __________________________            ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.233                                                               Check all that apply.
            Olga S. Carrillo ______________________________
                                                                     ☒ Contingent
            62880 Lasalle Rd Unit 99 ______________________          ☒ Unliquidated
            Montrose, Colorado 81401 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.234                                                               Check all that apply.
            Lanise Carro ________________________________
                                                                     ☒ Contingent
            1330 Coolidge St ____________________________            ☒ Unliquidated
            Sterling, Colorado 80751 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.235                                                               Check all that apply.
            Michael C. Carroll ____________________________
                                                                     ☒ Contingent
            3252 11th Ave Apt 1133 _______________________           ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.236                                                               Check all that apply.
            Tina-Marie Carson ___________________________
                                                                     ☒ Contingent
            17594 E Temple Dr __________________________             ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.237                                                               Check all that apply.
            Stephen Daniel Cartee ________________________
                                                                     ☒ Contingent
            1769 Coronado Pkwy N Apt 203 ________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.238                                                               Check all that apply.
            Taushica Carter _____________________________
                                                                     ☒ Contingent
            17905 E Greenwood Dr Unit 1519 _______________           ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.239                                                               Check all that apply.
            Matthew Carter ______________________________
                                                                     ☒ Contingent
            9310 RIFLE ST ______________________________             ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.240                                                               Check all that apply.
            Tyler Cartwright _____________________________
                                                                     ☒ Contingent
            1329 E Victory Way __________________________            ☒ Unliquidated
            Craig, Colorado 81625 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.241                                                               Check all that apply.
            Angelique Casados __________________________
                                                                     ☒ Contingent
            2006 E 10th St ______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.242                                                               Check all that apply.
            Kasey L. Cash ______________________________
                                                                     ☒ Contingent
            2002 BATTLECREEK DRIVE #11101 ____________               ☒ Unliquidated
            FORT COLLINS, Colorado 80528 _______________             ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.243                                                               Check all that apply.
            Johnny Casi ________________________________
                                                                     ☒ Contingent
            743 Hanover St______________________________             ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.244                                                               Check all that apply.
            Jessica A. Casillas ___________________________
                                                                     ☒ Contingent
            8201 E 104th Ave ____________________________            ☒ Unliquidated
            Henderson, Colorado 80640 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.245                                                               Check all that apply.
            Teofista Casimier ____________________________
                                                                     ☒ Contingent
            836 E 20th Ave ______________________________            ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.246                                                               Check all that apply.
            Benita Cassandra ____________________________
                                                                     ☒ Contingent
            15560 E 12th Ave Apt 202 _____________________           ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page44 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.247                                                               Check all that apply.
            Tyler Cassidy _______________________________
                                                                     ☒ Contingent
            19624 Applewood Ct _________________________             ☒ Unliquidated
            Parker, Colorado 80138 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.248                                                               Check all that apply.
            Viviana Castaneda ___________________________
                                                                     ☒ Contingent
            4139 W 30th Street Pl ________________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.249                                                               Check all that apply.
            Timothy Castaneda __________________________
                                                                     ☒ Contingent
            3060 E. Bridge St. Lot 312 _____________________         ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.250                                                               Check all that apply.
            Felix Castro ________________________________
                                                                     ☒ Contingent
            1338 Raleigh St _____________________________            ☒ Unliquidated
            Denver, Colorado 80204 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.251                                                               Check all that apply.
            Mossimo Castro _____________________________
                                                                     ☒ Contingent
            4971 W 81st Pl Apt 1A ________________________           ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.252                                                               Check all that apply.
            Javier G. Castro _____________________________
                                                                     ☒ Contingent
            4901 W 93rd Ave Apt 224 _____________________            ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page45 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.253                                                               Check all that apply.
            Tayani Castro _______________________________
                                                                     ☒ Contingent
            2205 Santa Fe Dr ____________________________            ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.254                                                               Check all that apply.
            Linda Castro-Orrick __________________________
                                                                     ☒ Contingent
            5415 E Kentucky Ave _________________________            ☒ Unliquidated
            Denver, Colorado 80246 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.255                                                               Check all that apply.
            Cctv Corp.__________________________________
                                                                     ☒ Contingent
            1562 S. Parker Rd. #332 ______________________           ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.256                                                               Check all that apply.
            Kristina Ceja ________________________________
                                                                     ☒ Contingent
            632 Quacking Aspen Dr #104___________________            ☒ Unliquidated
            Fort Collins, Colorado 80525 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.257                                                               Check all that apply.
            Jerry Cenquigrana ___________________________
                                                                     ☒ Contingent
            275 S 17th Avenue Dr ________________________            ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.258                                                               Check all that apply.
            Jessica Chacon _____________________________
                                                                     ☒ Contingent
            11975 Riverstone Cir Unit B ____________________         ☒ Unliquidated
            Commerce City, Colorado 80640 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page46 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.259                                                               Check all that apply.
            Kimberly Champnoise ________________________
                                                                     ☒ Contingent
            5695 W 86th Ave ____________________________             ☒ Unliquidated
            Arvada, Colorado 80003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.260                                                               Check all that apply.
            Summer Chapman ___________________________
                                                                     ☒ Contingent
            10252 W 59th Ave #4 _________________________            ☒ Unliquidated
            Arvada, Colorado 80004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.261                                                               Check all that apply.
            Gwen Chappel ______________________________
                                                                     ☒ Contingent
            540 Sycamore Street _________________________            ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.262                                                               Check all that apply.
            Logan Charette ______________________________
                                                                     ☒ Contingent
            3851 E 121st Ave ____________________________            ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.263                                                               Check all that apply.
            Brittany Chase ______________________________
                                                                     ☒ Contingent
            10150 E Virginia Ave #1-106 ___________________          ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.264                                                               Check all that apply.
            Daniela Chavarria ____________________________
                                                                     ☒ Contingent
            3408 W 11th St ______________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page47 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.265                                                               Check all that apply.
            Alan Chavez ________________________________
                                                                     ☒ Contingent
            7660 Washington St Apt B _____________________           ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.266                                                               Check all that apply.
            Alicia Chavez _______________________________
                                                                     ☒ Contingent
            14965 Maxwell Pl ____________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.267                                                               Check all that apply.
            Melissa P. Chavez ___________________________
                                                                     ☒ Contingent
            3347 E 45th AVe ____________________________             ☒ Unliquidated
            Denver, Colorado 80216 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.268                                                               Check all that apply.
            Priscila M. Chavez ___________________________
                                                                     ☒ Contingent
            13701 Locust St _____________________________            ☒ Unliquidated
            Thornton, Colorado 80602 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.269                                                               Check all that apply.
            Brianna Chavez _____________________________
                                                                     ☒ Contingent
            100 Capitol Hill Dr____________________________          ☒ Unliquidated
            Walsenburg, Colorado 81089 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.270                                                               Check all that apply.
            Anna M. Hernandez Chavez ___________________
                                                                     ☒ Contingent
            8201 W 9th Ave Apt 4A _______________________            ☒ Unliquidated
            Lakewood, Colorado 80214 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page48 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.271                                                               Check all that apply.
            Melanie Chavez _____________________________
                                                                     ☒ Contingent
            750 Crisman Dr Apt B313 ______________________           ☒ Unliquidated
            Longmont, Colorado 80501 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.272                                                               Check all that apply.
            Efrain Chavez Bartolo_________________________
                                                                     ☒ Contingent
            2410 W 15th St ______________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.273                                                               Check all that apply.
            Christopher Chavous _________________________
                                                                     ☒ Contingent
            1062 Jasper St ______________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.274                                                               Check all that apply.
            Joshua Cherry ______________________________
                                                                     ☒ Contingent
            8229 W 90th Pl ______________________________            ☒ Unliquidated
            Broomfield, Colorado 80021 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.275                                                               Check all that apply.
            Elizabeth Chlapowski _________________________
                                                                     ☒ Contingent
            4211 E 100th Ave Lot 360 _____________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.276                                                               Check all that apply.
            Amber Christiansen __________________________
                                                                     ☒ Contingent
            2420 W 24th St ______________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page49 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.277                                                               Check all that apply.
            Bennye Cisneros ____________________________
                                                                     ☒ Contingent
            7221 W Kentucky Dr Apt B _____________________           ☒ Unliquidated
            Denver, Colorado 80226 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.278                                                               Check all that apply.
            Jodi Marie Cisneros __________________________
                                                                     ☒ Contingent
            11552 E 118th Pl ____________________________            ☒ Unliquidated
            Henderson, Colorado 80640 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.279                                                               Check all that apply.
            Keith Clark _________________________________
                                                                     ☒ Contingent
            1470 S Quebec Way Apt 173 ___________________            ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.280                                                               Check all that apply.
            Kiana M. Clark ______________________________
                                                                     ☒ Contingent
            14586 E 52nd Ave ___________________________             ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.281                                                               Check all that apply.
            Sheila Clinkscale ____________________________
                                                                     ☒ Contingent
            418 Quentin St ______________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.282                                                               Check all that apply.
            Adrienne M. Cobbs ___________________________
                                                                     ☒ Contingent
            4871 Depew St #1A __________________________             ☒ Unliquidated
            Denver, Colorado 80212 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page50 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.283                                                               Check all that apply.
            James H. Coffey _____________________________
                                                                     ☒ Contingent
            406 Western Ave ____________________________             ☒ Unliquidated
            Brush, Colorado 80723 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.284                                                               Check all that apply.
            Paul Cohen _________________________________
                                                                     ☒ Contingent
            277 Skylark Cir ______________________________           ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.285                                                               Check all that apply.
            Deondra Coleman ___________________________
                                                                     ☒ Contingent
            7412 W Desert Cove _________________________             ☒ Unliquidated
            Peoria, Arizona 85345 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.286                                                               Check all that apply.
            Naimah K. Coleman __________________________
                                                                     ☒ Contingent
            6036 S Telluride Cir __________________________          ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.287                                                               Check all that apply.
            Rachel Collins_______________________________
                                                                     ☒ Contingent
            2812 SW Reynolds Dr ________________________             ☒ Unliquidated
            Topeka, Kansas 66606________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.288                                                               Check all that apply.
            Ginger Collins _______________________________
                                                                     ☒ Contingent
            6185 South Sterne Parkway ____________________           ☒ Unliquidated
            Littleton, Colorado 80120 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page51 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.289                                                               Check all that apply.
            Nicholas Coloroso ___________________________
                                                                     ☒ Contingent
            7698 S Ammons Ct __________________________              ☒ Unliquidated
            Littleton, Colorado 80128 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.290                                                               Check all that apply.
            Deborah Colston_____________________________
                                                                     ☒ Contingent
            572 E Paradise Dr ___________________________            ☒ Unliquidated
            Pueblo West, Colorado 81007 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.291                                                               Check all that apply.
            Patricia Coltharp _____________________________
                                                                     ☒ Contingent
            11948 E Arizona Dr __________________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.292                                                               Check all that apply.
            Tobi Comstock ______________________________
                                                                     ☒ Contingent
            4591 S Crystal Way Unit G _____________________          ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.293                                                               Check all that apply.
            Kimberley Conner ____________________________
                                                                     ☒ Contingent
            8736 15th Street Rd __________________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.294                                                               Check all that apply.
            Jorge Contreras _____________________________
                                                                     ☒ Contingent
            4401 Redmond Dr Apt 25101 ___________________            ☒ Unliquidated
            Longmont, Colorado 80503 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page52 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.295                                                               Check all that apply.
            Feliz Conway _______________________________
                                                                     ☒ Contingent
            16845 E Kenyon Dr __________________________             ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.296                                                               Check all that apply.
            Amanda Conway ____________________________
                                                                     ☒ Contingent
            9787 Kittredge Street _________________________          ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.297                                                               Check all that apply.
            Rosa Cook _________________________________
                                                                     ☒ Contingent
            2173 S. Eaton St. Apt 13 ______________________          ☒ Unliquidated
            Denver, Colorado 80227 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.298                                                               Check all that apply.
            Thomas A. Cook _____________________________
                                                                     ☒ Contingent
            2117 19th Ave ______________________________             ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.299                                                               Check all that apply.
            Mavelin J. Cooke ____________________________
                                                                     ☒ Contingent
            15770 E Linvale Pl ___________________________           ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.300                                                               Check all that apply.
            Alyson B. Cookes ____________________________
                                                                     ☒ Contingent
            17399 E. Warren Pl. Apt FF204 _________________          ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page53 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.301                                                               Check all that apply.
            Victoria Coolidge ____________________________
                                                                     ☒ Contingent
            3247 1/2 Road Ct #2 _________________________            ☒ Unliquidated
            Clifton, Colorado 81520 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.302                                                               Check all that apply.
            Joee Cooter ________________________________
                                                                     ☒ Contingent
            1995 S. Hazel Ct. ____________________________           ☒ Unliquidated
            Denver, Colorado 80219 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.303                                                               Check all that apply.
            Darlyne Corado _____________________________
                                                                     ☒ Contingent
            1958 Espana Way ___________________________              ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.304                                                               Check all that apply.
            Joseph Coram ______________________________
                                                                     ☒ Contingent
            9645 Fillmore St _____________________________           ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.305                                                               Check all that apply.
            Alissa Cordova ______________________________
                                                                     ☒ Contingent
            804 Phoenix Dr ______________________________            ☒ Unliquidated
            Cheyenne, Wyoming 82001 ____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.306                                                               Check all that apply.
            Jeanine Cordova ____________________________
                                                                     ☒ Contingent
            1405 E 12th St ______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page54 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.307                                                               Check all that apply.
            Lena Cordova _______________________________
                                                                     ☒ Contingent
            1126 3rd Street, Apt B1 _______________________          ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.308                                                               Check all that apply.
            Scott Cornell ________________________________
                                                                     ☒ Contingent
            5517 W 65th Ave ____________________________             ☒ Unliquidated
            Arvada, Colorado 80003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.309                                                               Check all that apply.
            Monica Corona ______________________________
                                                                     ☒ Contingent
            2131 Grays Peak Dr Unit 202 ___________________          ☒ Unliquidated
            Loveland, Colorado 80538 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.310                                                               Check all that apply.
            Christopher Corral ___________________________
                                                                     ☒ Contingent
            44540 E 168th Ave ___________________________            ☒ Unliquidated
            Keenesburg, Colorado 80643 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.311                                                               Check all that apply.
            Keila Cortez ________________________________
                                                                     ☒ Contingent
            11794 Elizabeth Cir __________________________           ☒ Unliquidated
            Thornton, Colorado 80233 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.312                                                               Check all that apply.
            Pamela S. Cosby ____________________________
                                                                     ☒ Contingent
            1691 S Galena St Apt 634 _____________________           ☒ Unliquidated
            Aurora, Colorado 80247 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page55 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.313                                                               Check all that apply.
            Robert Costello ______________________________
                                                                     ☒ Contingent
            3256 1/2 Collyer Ave _________________________           ☒ Unliquidated
            Clifton, Colorado 81520 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.314                                                               Check all that apply.
            Brandon Couder _____________________________
                                                                     ☒ Contingent
            10530 Ross Pl ______________________________             ☒ Unliquidated
            Broomfield, Colorado 80021 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.315                                                               Check all that apply.
            Tanner C. Coulson ___________________________
                                                                     ☒ Contingent
            10260 Washington St #1526 ___________________            ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.316                                                               Check all that apply.
            Aaron Cowart _______________________________
                                                                     ☒ Contingent
            847 Cliffrose Way ____________________________           ☒ Unliquidated
            Windsor, Colorado 80550 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.317                                                               Check all that apply.
            Richard Cowden _____________________________
                                                                     ☒ Contingent
            12994 Emerson St ___________________________             ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.318                                                               Check all that apply.
            Jessica Cowden _____________________________
                                                                     ☒ Contingent
            12994 Emerson St ___________________________             ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page56 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.319                                                               Check all that apply.
            Leonard K. Cozad____________________________
                                                                     ☒ Contingent
            8701 Huron St Apt 1-105 ______________________           ☒ Unliquidated
            Thornton, Colorado 80260 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.320                                                               Check all that apply.
            Lindsay Craig _______________________________
                                                                     ☒ Contingent
            12135 GRAPE ST ___________________________               ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.321                                                               Check all that apply.
            Carol Craig _________________________________
                                                                     ☒ Contingent
            756 S Dearborn Cir___________________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.322                                                               Check all that apply.
            Erin Creasman ______________________________
                                                                     ☒ Contingent
            2075 Tonopas Ct Unit 101 _____________________           ☒ Unliquidated
            Loveland, Colorado 80538 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.323                                                               Check all that apply.
            Cathryn Cremas _____________________________
                                                                     ☒ Contingent
            6303 S Richfield St ___________________________          ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.324                                                               Check all that apply.
            Guadalupe Crespo ___________________________
                                                                     ☒ Contingent
            709 S Terry St ______________________________            ☒ Unliquidated
            Longmont, Colorado 80501 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page57 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.325                                                               Check all that apply.
            Nathan J. Crimmel ___________________________
                                                                     ☒ Contingent
            4660 Ludlow St ______________________________            ☒ Unliquidated
            Boulder, Colorado 80305 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.326                                                               Check all that apply.
            Judith Crockett-Wright ________________________
                                                                     ☒ Contingent
            3655 S Verbena St #F104 _____________________            ☒ Unliquidated
            Denver, Colorado 80237 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.327                                                               Check all that apply.
            Larry D. Cross ______________________________
                                                                     ☒ Contingent
            3210 N Chestnut St Apt 113 ____________________          ☒ Unliquidated
            Colorado Sprgs, Colorado 80907 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.328                                                               Check all that apply.
            Alfonso Cruz ________________________________
                                                                     ☒ Contingent
            2221 S Prairie Ave Lot 13 ______________________         ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.329                                                               Check all that apply.
            Janet Cruz _________________________________
                                                                     ☒ Contingent
            749 Hwy 91 #69 _____________________________             ☒ Unliquidated
            Leadville, Colorado 80461 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.330                                                               Check all that apply.
            Leon E. Cunningham _________________________
                                                                     ☒ Contingent
            536 Cunningham Ln __________________________             ☒ Unliquidated
            Eastaboga, Alabama 36260 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page58 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.331                                                               Check all that apply.
            Jessica Cunningham _________________________
                                                                     ☒ Contingent
            6245 Oak Meadows Blvd ______________________             ☒ Unliquidated
            Longmont, Colorado 80504 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.332                                                               Check all that apply.
            Jason Brian Curl _____________________________
                                                                     ☒ Contingent
            4042 Flagstone Drive _________________________           ☒ Unliquidated
            Johnstown, Colorado 80534 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.333                                                               Check all that apply.
            Justin Curnow _______________________________
                                                                     ☒ Contingent
            780 Sage Forest Ln __________________________            ☒ Unliquidated
            Monument, Colorado 80132 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.334                                                               Check all that apply.
            Torey Curry_________________________________
                                                                     ☒ Contingent
            9071 E Mississippi Ave ________________________          ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.335                                                               Check all that apply.
            Brittney Dailey ______________________________
                                                                     ☒ Contingent
            303 N Moldau Ave ___________________________             ☒ Unliquidated
            Prague, Nebraska 68050 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.336                                                               Check all that apply.
            Samuel Damewood __________________________
                                                                     ☒ Contingent
            421 Pleasant Hollow Ct _______________________           ☒ Unliquidated
            Grand Junction, Colorado 81507 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page59 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.337                                                               Check all that apply.
            Kimberly Danish _____________________________
                                                                     ☒ Contingent
            4990 S. Granby Street ________________________           ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.338                                                               Check all that apply.
            Laura Danyliw _______________________________
                                                                     ☒ Contingent
            3680 Dinosaur St ____________________________            ☒ Unliquidated
            Castle Rock, Colorado 80109 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.339                                                               Check all that apply.
            Terri A. Darling ______________________________
                                                                     ☒ Contingent
            10765 Allendale Dr ___________________________           ☒ Unliquidated
            Arvada, Colorado 80004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.340                                                               Check all that apply.
            Kristi Davies ________________________________
                                                                     ☒ Contingent
            5989 S Windermer St _________________________            ☒ Unliquidated
            Littleton, Colorado 80120 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.341                                                               Check all that apply.
            Angelique Davies ____________________________
                                                                     ☒ Contingent
            6576 W 79th Ave ____________________________             ☒ Unliquidated
            Arvada, Colorado 80003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.342                                                               Check all that apply.
            Jaharriaha Davis_____________________________
                                                                     ☒ Contingent
            14278 E Grand Dr #136 _______________________            ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page60 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.343                                                               Check all that apply.
            Kobi Davis _________________________________
                                                                     ☒ Contingent
            3705 W 68th Ave Apt C102 ____________________            ☒ Unliquidated
            Westminster, Colorado 80030 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.344                                                               Check all that apply.
            Lacey Davis ________________________________
                                                                     ☒ Contingent
            414 Chestnut St _____________________________            ☒ Unliquidated
            Sterling, Colorado 80751 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.345                                                               Check all that apply.
            Dimitrios Davros _____________________________
                                                                     ☒ Contingent
            4800 S Pierson Ct ___________________________            ☒ Unliquidated
            Littleton, Colorado 80127 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.346                                                               Check all that apply.
            Gary Dawson _______________________________
                                                                     ☒ Contingent
            2310 W 79th Ave #912 ________________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.347                                                               Check all that apply.
            Jesse L. Dawson ____________________________
                                                                     ☒ Contingent
            15035 E Louisiana Dr Unit A ___________________          ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.348                                                               Check all that apply.
            Kristen Dawursk _____________________________
                                                                     ☒ Contingent
            3600 E 88th Ave Lot 189 ______________________           ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.349                                                               Check all that apply.
            Charles Day ________________________________
                                                                     ☒ Contingent
            38559 US Highway 59 ________________________             ☒ Unliquidated
            Jay, Oklahoma 74346_________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.350                                                               Check all that apply.
            Katherine Flores De La Paz ____________________
                                                                     ☒ Contingent
            5369 Lewiston St ____________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.351                                                               Check all that apply.
            Antonia De Leon _____________________________
                                                                     ☒ Contingent
            6320 Zephyr St ______________________________            ☒ Unliquidated
            Arvada, Colorado 80004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.352                                                               Check all that apply.
            Carla E. Casados De Oliveira ___________________
                                                                     ☒ Contingent
            14465 E Hawaii Cir Unit A _____________________          ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.353                                                               Check all that apply.
            Mary Dean _________________________________
                                                                     ☒ Contingent
            10606 Troy Way _____________________________             ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.354                                                               Check all that apply.
            Mark Dean _________________________________
                                                                     ☒ Contingent
            4015 Yosemite Dr ____________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.355                                                               Check all that apply.
            Cristyl Deberard _____________________________
                                                                     ☒ Contingent
            10330 W 81st Ave ___________________________             ☒ Unliquidated
            Arvada, Colorado 80005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.356                                                               Check all that apply.
            Lawrence M. Debramaletta_____________________
                                                                     ☒ Contingent
            2461 Hatch Cir ______________________________            ☒ Unliquidated
            Colorado Sprgs, Colorado 80918 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.357                                                               Check all that apply.
            Guy Dechant________________________________
                                                                     ☒ Contingent
            1835 E 7th St _______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.358                                                               Check all that apply.
            Keith Degolier _______________________________
                                                                     ☒ Contingent
            14701 E Colfax Ave Lot A25 ___________________           ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.359                                                               Check all that apply.
            Rachael Deherrera ___________________________
                                                                     ☒ Contingent
            542 E 3rd St ________________________________            ☒ Unliquidated
            Center, Colorado 81125 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.360                                                               Check all that apply.
            Meredith DeHerrera __________________________
                                                                     ☒ Contingent
            1111 86th Ave. Unit P104 ______________________          ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.361                                                               Check all that apply.
            Ruben Delafuente____________________________
                                                                     ☒ Contingent
            PO Box 1071 _______________________________              ☒ Unliquidated
            Englewood, Colorado 80150 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.362                                                               Check all that apply.
            Rico S. Delarosa_____________________________
                                                                     ☒ Contingent
            10260 Washington St Apt 2114 _________________           ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.363                                                               Check all that apply.
            Cynthia J. Delarosa __________________________
                                                                     ☒ Contingent
            925 11th Ave _______________________________             ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.364                                                               Check all that apply.
            Cristian D. Delgado __________________________
                                                                     ☒ Contingent
            585 W Sierra Ave #227 _______________________            ☒ Unliquidated
            Fresno, California 93704 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.365                                                               Check all that apply.
            Jennifer Delgado ____________________________
                                                                     ☒ Contingent
            4744 Senander Cres _________________________             ☒ Unliquidated
            Lakeland, Florida 33810 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.366                                                               Check all that apply.
            Christopher Delude ___________________________
                                                                     ☒ Contingent
            5771 W 92nd Ave #338 _______________________             ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page64 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.367                                                               Check all that apply.
            Ashley Deluhery _____________________________
                                                                     ☒ Contingent
            7258 Ellingwood Ave _________________________            ☒ Unliquidated
            Longmont, Colorado 80504 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.368                                                               Check all that apply.
            Olga Mendoza Demedrano_____________________
                                                                     ☒ Contingent
            757 Dillon Way Apt 207 _______________________           ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.369                                                               Check all that apply.
            Diamond Demmer ___________________________
                                                                     ☒ Contingent
            45 Lansing St _______________________________            ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.370                                                               Check all that apply.
            Justin Denman ______________________________
                                                                     ☒ Contingent
            2830 Hartford Ave. ___________________________           ☒ Unliquidated
            Grand Junction, Colorado 81503 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.371                                                               Check all that apply.
            Jamal Denson_______________________________
                                                                     ☒ Contingent
            111 Summerfield Ln __________________________            ☒ Unliquidated
            Harvest, Alabama 35749 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.372                                                               Check all that apply.
            Lisa M. Denton ______________________________
                                                                     ☒ Contingent
            10528 Clermont Way _________________________             ☒ Unliquidated
            Thornton, Colorado 80233 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.373                                                               Check all that apply.
            Patricia Deolivera ____________________________
                                                                     ☒ Contingent
            1901 Alabama Ave ___________________________             ☒ Unliquidated
            West Sacramento, California 95691 ______________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.374                                                               Check all that apply.
            Maria Desalazar _____________________________
                                                                     ☒ Contingent
            7577 Steward Ln. ____________________________            ☒ Unliquidated
            Colorado Sprgs, Colorado 80922 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.375                                                               Check all that apply.
            Aaron Detienne______________________________
                                                                     ☒ Contingent
            1108 101st Avenue Ct ________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.376                                                               Check all that apply.
            Linda Dewolf ________________________________
                                                                     ☒ Contingent
            6394 S Dudley Way __________________________             ☒ Unliquidated
            Littleton, Colorado 80123 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.377                                                               Check all that apply.
            Monica Diaz ________________________________
                                                                     ☒ Contingent
            4380 S Monaco St #4001 ______________________            ☒ Unliquidated
            Denver, Colorado 80237 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.378                                                               Check all that apply.
            Patricia Diaz ________________________________
                                                                     ☒ Contingent
            7850 Roslyn St ______________________________            ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.379                                                               Check all that apply.
            Michael Dickerson ___________________________
                                                                     ☒ Contingent
            3007 Stover Cir______________________________            ☒ Unliquidated
            Fort Collins, Colorado 80525 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.380                                                               Check all that apply.
            Sara Ann Dillon______________________________
                                                                     ☒ Contingent
            216 Rich St _________________________________            ☒ Unliquidated
            Delta, Colorado 81416 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.381                                                               Check all that apply.
            Emilee Dinkel _______________________________
                                                                     ☒ Contingent
            6850 Loudon St _____________________________             ☒ Unliquidated
            Wellington, Colorado 80549 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.382                                                               Check all that apply.
            Lunka Dinwiddie _____________________________
                                                                     ☒ Contingent
            3014 Bluestem Rd ___________________________             ☒ Unliquidated
            Katy, Texas 77493 ___________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.383                                                               Check all that apply.
            Jeanette Diop _______________________________
                                                                     ☒ Contingent
            96 N CR 157 ________________________________             ☒ Unliquidated
            Strasburg, Colorado 80136 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.384                                                               Check all that apply.
            Bernard Dixon_______________________________
                                                                     ☒ Contingent
            1300 S. Willow St. ___________________________           ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page67 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.385                                                               Check all that apply.
            Qwajae Dixon _______________________________
                                                                     ☒ Contingent
            15859 E Jamison St #2305 ____________________            ☒ Unliquidated
            Englewood, Colorado 80112 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.386                                                               Check all that apply.
            Christopher Lee Dodgin _______________________
                                                                     ☒ Contingent
            674 Brentwood Dr____________________________             ☒ Unliquidated
            Palisade, Colorado 81526 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.387                                                               Check all that apply.
            Roberta Doleman ____________________________
                                                                     ☒ Contingent
            9999 E Yale Ave Apt F114 _____________________           ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.388                                                               Check all that apply.
            Anthony Domenico ___________________________
                                                                     ☒ Contingent
            7402 Church Ranch Blvd #128 __________________           ☒ Unliquidated
            Broomfield, Colorado 80021 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.389                                                               Check all that apply.
            Alex Dominguez _____________________________
                                                                     ☒ Contingent
            34655 Skylark Dr Apt 235 ______________________          ☒ Unliquidated
            Union City, California 94587 ____________________        ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.390                                                               Check all that apply.
            Uriel Dominguez _____________________________
                                                                     ☒ Contingent
            1705 W 85th Ave #108 ________________________            ☒ Unliquidated
            Denver, Colorado 80260 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.391                                                               Check all that apply.
            Guadalupe Dominguez ________________________
                                                                     ☒ Contingent
            14120 Grant St #15-101 _______________________           ☒ Unliquidated
            Thornton, Colorado 80023 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.392                                                               Check all that apply.
            Benjamin T. Doran ___________________________
                                                                     ☒ Contingent
            6914 W 3rd St Unit 14 ________________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.393                                                               Check all that apply.
            Pamela Dorchak _____________________________
                                                                     ☒ Contingent
            2710 W 101st Pl _____________________________            ☒ Unliquidated
            Denver, Colorado 80260 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.394                                                               Check all that apply.
            Shawn A. Douglass __________________________
                                                                     ☒ Contingent
            213 11th Ave #42 ____________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.395                                                               Check all that apply.
            Kyle Douglass_______________________________
                                                                     ☒ Contingent
            PO Box 893 ________________________________              ☒ Unliquidated
            Hotchkiss, Colorado 81419_____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.396                                                               Check all that apply.
            Jennifer Downey _____________________________
                                                                     ☒ Contingent
            5787 S King St Apt 6 _________________________           ☒ Unliquidated
            Littleton, Colorado 80123 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.397                                                               Check all that apply.
            Raymond Downward _________________________
                                                                     ☒ Contingent
            4536 Westbrook Dr___________________________             ☒ Unliquidated
            Jackson, Michigan 49201 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.398                                                               Check all that apply.
            Thomas Drake ______________________________
                                                                     ☒ Contingent
            144 1st St. Unit B ____________________________          ☒ Unliquidated
            Parachute, Colorado 81635 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.399                                                               Check all that apply.
            Zondra Draper ______________________________
                                                                     ☒ Contingent
            5080 Enid Way ______________________________             ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.400                                                               Check all that apply.
            Kelsey Draper _______________________________
                                                                     ☒ Contingent
            6146 Gorham St _____________________________             ☒ Unliquidated
            Frederick, Colorado 80530 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.401                                                               Check all that apply.
            Anissa Drew ________________________________
                                                                     ☒ Contingent
            7390 E Harvard Ave #104G ____________________            ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.402                                                               Check all that apply.
            Kendra Drinnin ______________________________
                                                                     ☒ Contingent
            3373 W Tanforan Dr __________________________            ☒ Unliquidated
            Englewood, Colorado 80110 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.403                                                               Check all that apply.
            Danielle J. Duca _____________________________
                                                                     ☒ Contingent
            1200 Glen Creighton Dr _______________________           ☒ Unliquidated
            Dacono, Colorado 80514 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.404                                                               Check all that apply.
            Jarrette D. Ducray ___________________________
                                                                     ☒ Contingent
            6751 Leyden St _____________________________             ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.405                                                               Check all that apply.
            Christine Dudek _____________________________
                                                                     ☒ Contingent
            5356 Arroyo St ______________________________            ☒ Unliquidated
            Colorado Sprgs, Colorado 80922 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.406                                                               Check all that apply.
            Toni M. Dudlo _______________________________
                                                                     ☒ Contingent
            501 E 102nd Ave #C101 ______________________             ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.407                                                               Check all that apply.
            Nicole Duncan ______________________________
                                                                     ☒ Contingent
            1335 Vivian St Apt 202 ________________________          ☒ Unliquidated
            Longmont, Colorado 80501 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.408                                                               Check all that apply.
            Andrew Duncan _____________________________
                                                                     ☒ Contingent
            2237 N Glencoe St ___________________________            ☒ Unliquidated
            Denver, Colorado 80207 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.409                                                               Check all that apply.
            Michael Rudy Duran __________________________
                                                                     ☒ Contingent
            8300 Sheridan Blvd Apt 3A ____________________           ☒ Unliquidated
            Arvada, Colorado 80003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.410                                                               Check all that apply.
            Noemi C. Duran _____________________________
                                                                     ☒ Contingent
            15434 E. FORD CIR. UNIT B2 __________________            ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.411                                                               Check all that apply.
            Catherine Duran-Coffey _______________________
                                                                     ☒ Contingent
            26 Royal Crest Dr #D _________________________           ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.412                                                               Check all that apply.
            Jason Durand _______________________________
                                                                     ☒ Contingent
            12150 Race St Apt H203 ______________________            ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.413                                                               Check all that apply.
            Linda Durand _______________________________
                                                                     ☒ Contingent
            12150 Race St Apt H203 ______________________            ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.414                                                               Check all that apply.
            Sara Durnell ________________________________
                                                                     ☒ Contingent
            150 S Fenton St _____________________________            ☒ Unliquidated
            Lakewood, Colorado 80226 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.415                                                               Check all that apply.
            Brandon S. Duvall____________________________
                                                                     ☒ Contingent
            1705 S Clayton St____________________________            ☒ Unliquidated
            Denver, Colorado 80210 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.416                                                               Check all that apply.
            Joseph Dyke ________________________________
                                                                     ☒ Contingent
            1645 Dolores St. Apt. A _______________________          ☒ Unliquidated
            Grand Junction, Colorado 81503 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.417                                                               Check all that apply.
            Kindu Ealy _________________________________
                                                                     ☒ Contingent
            1187 Revere St______________________________             ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.418                                                               Check all that apply.
            Michael Earnest _____________________________
                                                                     ☒ Contingent
            7473 Pyrite Way _____________________________            ☒ Unliquidated
            Castle Rock, Colorado 80108 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.419                                                               Check all that apply.
            Colby Dwayne Easley _________________________
                                                                     ☒ Contingent
            5021 Rose Ct _______________________________             ☒ Unliquidated
            Fort Collins, Colorado 80528 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.420                                                               Check all that apply.
            Leah Easton ________________________________
                                                                     ☒ Contingent
            4745 Eagleridge Cir #101 ______________________          ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page73 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.421                                                               Check all that apply.
            Russell Edmonson ___________________________
                                                                     ☒ Contingent
            2 Bonnymeade Rd. Apt 204 ____________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.422                                                               Check all that apply.
            Clayton Edwards ____________________________
                                                                     ☒ Contingent
            4201 Corbett Dr Apt 149 _______________________          ☒ Unliquidated
            Fort Collins, Colorado 80525 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.423                                                               Check all that apply.
            Jessep Effinger ______________________________
                                                                     ☒ Contingent
            2309 Mission Springs Way #7 __________________           ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.424                                                               Check all that apply.
            Cary Ehlers _________________________________
                                                                     ☒ Contingent
            10326 Tenby Ln Apt 101 ______________________            ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.425                                                               Check all that apply.
            Celia Eimer _________________________________
                                                                     ☒ Contingent
            6580 S IDER ST _____________________________             ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.426                                                               Check all that apply.
            Antonio Elden _______________________________
                                                                     ☒ Contingent
            1912 W 76th Ave Apt 405 ______________________           ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page74 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.427                                                               Check all that apply.
            Marshe Ellidridge ____________________________
                                                                     ☒ Contingent
            2135 Stout St Apt 407 ________________________           ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.428                                                               Check all that apply.
            Daniel K. Elrod ______________________________
                                                                     ☒ Contingent
            5200 S Delaware St Apt D303 __________________           ☒ Unliquidated
            Englewood, Colorado 80110 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.429                                                               Check all that apply.
            Levi Elzey __________________________________
                                                                     ☒ Contingent
            12028 E 1st Ave _____________________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.430                                                               Check all that apply.
            Kimberly Encinias ____________________________
                                                                     ☒ Contingent
            1021 Berkley Ave ____________________________            ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.431                                                               Check all that apply.
            Troy English ________________________________
                                                                     ☒ Contingent
            567 S Rogers Dr _____________________________            ☒ Unliquidated
            Pueblo West, Colorado 81007 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.432                                                               Check all that apply.
            Taniqua Enoch ______________________________
                                                                     ☒ Contingent
            18163 E. Kentucky Ave. #101 __________________           ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page75 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.433                                                               Check all that apply.
            Michael Enriquez ____________________________
                                                                     ☒ Contingent
            414 Gaylord Ave _____________________________            ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.434                                                               Check all that apply.
            Ronald Epstein ______________________________
                                                                     ☒ Contingent
            3552 E 114th Dr _____________________________            ☒ Unliquidated
            Thorton, Colorado 80233 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.435                                                               Check all that apply.
            Amy Erickson _______________________________
                                                                     ☒ Contingent
            3874 S Fraser St Apt P3 _______________________          ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.436                                                               Check all that apply.
            Annabelle Erivs______________________________
                                                                     ☒ Contingent
            3614 Watermans Landing Dr ___________________            ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.437                                                               Check all that apply.
            Lorenzo A. Escalante _________________________
                                                                     ☒ Contingent
            5546 Yost Ct ________________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.438                                                               Check all that apply.
            Juan J. Esparza _____________________________
                                                                     ☒ Contingent
            1210 S Navajo St ____________________________            ☒ Unliquidated
            Denver, Colorado 80223 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page76 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.439                                                               Check all that apply.
            Anita C. Espinosa ____________________________
                                                                     ☒ Contingent
            9701 Pearl St Apt 4206 _______________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.440                                                               Check all that apply.
            Ivan Espinoza _______________________________
                                                                     ☒ Contingent
            2851 Hill Ave _______________________________            ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.441                                                               Check all that apply.
            Dominick Espinoza ___________________________
                                                                     ☒ Contingent
            8130 Downing Dr ____________________________             ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.442                                                               Check all that apply.
            Connie Ballejo- Esquilin _______________________
                                                                     ☒ Contingent
            2009 E 8th St _______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.443                                                               Check all that apply.
            Kyree D. Evans______________________________
                                                                     ☒ Contingent
            14400 E Freemont Ave Apt 2-305 _______________           ☒ Unliquidated
            Englewood, Colorado 80112 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.444                                                               Check all that apply.
            Christopher L. Evans _________________________
                                                                     ☒ Contingent
            2260 McElwain Blvd __________________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page77 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.445                                                               Check all that apply.
            Jarrod Ewing________________________________
                                                                     ☒ Contingent
            595 S Forest St Apt 107 _______________________          ☒ Unliquidated
            Denver, Colorado 80246 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.446                                                               Check all that apply.
            Rickee Faddis _______________________________
                                                                     ☒ Contingent
            19690 Clubhouse Dr #220 _____________________            ☒ Unliquidated
            Parker, Colorado 80138 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.447                                                               Check all that apply.
            Rodney Fahrenbruch _________________________
                                                                     ☒ Contingent
            780 Ivy Street _______________________________           ☒ Unliquidated
            Sanford, Colorado 81151 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.448                                                               Check all that apply.
            Lindsay Fandel ______________________________
                                                                     ☒ Contingent
            12934 W 24th Pl _____________________________            ☒ Unliquidated
            Golden, Colorado 80401 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.449                                                               Check all that apply.
            Crystal Faricy _______________________________
                                                                     ☒ Contingent
            6 Belaire Dr_________________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.450                                                               Check all that apply.
            Michael Farrell ______________________________
                                                                     ☒ Contingent
            3400 Woodcock St. Apt Q1 ____________________            ☒ Unliquidated
            Berthoud, Colorado 80513 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page78 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.451                                                               Check all that apply.
            Denise M. Farris _____________________________
                                                                     ☒ Contingent
            100 Sumida Gardens Ln Apt 102 ________________           ☒ Unliquidated
            Santa Barbara, California 93111 ________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.452                                                               Check all that apply.
            Kortinee Faus _______________________________
                                                                     ☒ Contingent
            2205 Aztec Dr Apt D __________________________           ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.453                                                               Check all that apply.
            Cammie L. Favinger __________________________
                                                                     ☒ Contingent
            1624 K St Apt 8 _____________________________            ☒ Unliquidated
            Belleville, Kansas 66935 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.454                                                               Check all that apply.
            Meagan Fawcett _____________________________
                                                                     ☒ Contingent
            3625 S Verbena St #602 ______________________            ☒ Unliquidated
            Denver, Colorado 80237 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.455                                                               Check all that apply.
            Jeannette Federico ___________________________
                                                                     ☒ Contingent
            39525 Copper Craft Dr. _______________________           ☒ Unliquidated
            Murrieta, California 92562 _____________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.456                                                               Check all that apply.
            Victoria Fell _________________________________
                                                                     ☒ Contingent
            1030 Teller Ave #11 __________________________           ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page79 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.457                                                               Check all that apply.
            Adam Fellini ________________________________
                                                                     ☒ Contingent
            6161 E 64th Pl ______________________________            ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.458                                                               Check all that apply.
            Stephen Felshaw ____________________________
                                                                     ☒ Contingent
            742 Teller Ave Apt A__________________________           ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.459                                                               Check all that apply.
            Amanda Fenton _____________________________
                                                                     ☒ Contingent
            419 E. Petain Ave. ___________________________           ☒ Unliquidated
            Yuma, Colorado 80759 ________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.460                                                               Check all that apply.
            Kevin Ferguson _____________________________
                                                                     ☒ Contingent
            620 Nickel St. _______________________________           ☒ Unliquidated
            Broomfield, Colorado 80020 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.461                                                               Check all that apply.
            Jack L. Ferguson ____________________________
                                                                     ☒ Contingent
            2700 W C St Lot 136 _________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.462                                                               Check all that apply.
            Audrey Fernandez ___________________________
                                                                     ☒ Contingent
            6861 Ivanhoe St _____________________________            ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page80 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.463                                                               Check all that apply.
            William Fernandez ___________________________
                                                                     ☒ Contingent
            322 Monroe St ______________________________             ☒ Unliquidated
            Denver, Colorado 80206 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.464                                                               Check all that apply.
            Dominic Fernandez __________________________
                                                                     ☒ Contingent
            Crowley County Correctional ___________________          ☒ Unliquidated
            Olney Springs, Colorado 81062 _________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.465                                                               Check all that apply.
            Tyler Fetty__________________________________
                                                                     ☒ Contingent
            12322 Colorado Blvd #20 ______________________           ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.466                                                               Check all that apply.
            Tyler Fetty__________________________________
                                                                     ☒ Contingent
            3395 Carder Ct ______________________________            ☒ Unliquidated
            Highlands Ranch, Colorado 80129 _______________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.467                                                               Check all that apply.
            Jacob Fields ________________________________
                                                                     ☒ Contingent
            3268 E Rd Trlr 98 ____________________________           ☒ Unliquidated
            Clifton, Colorado 81520 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.468                                                               Check all that apply.
            Alicia Fierro_________________________________
                                                                     ☒ Contingent
            808 Bob Blvd Lot 42 __________________________           ☒ Unliquidated
            Brush, Colorado 80723 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page81 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.469                                                               Check all that apply.
            Jorge Fierro ________________________________
                                                                     ☒ Contingent
            PO Box 232 ________________________________              ☒ Unliquidated
            Fort Morgan, Colorado 80701___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.470                                                               Check all that apply.
            Paul Finn __________________________________
                                                                     ☒ Contingent
            2607 Wyoming Avenue _______________________              ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.471                                                               Check all that apply.
            Martin R. Fino _______________________________
                                                                     ☒ Contingent
            6560 E 78th Way ____________________________             ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.472                                                               Check all that apply.
            Justin Flack_________________________________
                                                                     ☒ Contingent
            6830 Vista Lago Loop Apt 203 __________________          ☒ Unliquidated
            Zephyrhills, Florida 33542 _____________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.473                                                               Check all that apply.
            Aria Fletcher ________________________________
                                                                     ☒ Contingent
            2260 Florence Ave ___________________________            ☒ Unliquidated
            Firestone, Colorado 80520 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.474                                                               Check all that apply.
            Iliana Flores ________________________________
                                                                     ☒ Contingent
            12255 Claude Ct Apt 123 ______________________           ☒ Unliquidated
            Denver, Colorado 80241 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page82 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.475                                                               Check all that apply.
            Maria S. Flores ______________________________
                                                                     ☒ Contingent
            2409 W 17th St ______________________________            ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.476                                                               Check all that apply.
            BIANCA FLORES ____________________________
                                                                     ☒ Contingent
            1312 Lakeview Ave #104 ______________________            ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.477                                                               Check all that apply.
            Veronica Flores Espitia ________________________
                                                                     ☒ Contingent
            1003 E 24th Street Rd ________________________           ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.478                                                               Check all that apply.
            Dominique Florez ____________________________
                                                                     ☒ Contingent
            2710 Crescent Cove #101 _____________________            ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.479                                                               Check all that apply.
            Chavanna Fluker ____________________________
                                                                     ☒ Contingent
            16233 E Alameda Pl #307 _____________________            ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.480                                                               Check all that apply.
            Lea Flynn __________________________________
                                                                     ☒ Contingent
            1654 Centaur Cir ____________________________            ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page83 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.481                                                               Check all that apply.
            Alexa Foley _________________________________
                                                                     ☒ Contingent
            203 N Pauline Ave ___________________________            ☒ Unliquidated
            Milliken, Colorado 80543 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.482                                                               Check all that apply.
            James Foos ________________________________
                                                                     ☒ Contingent
            514 W Evans Ave ____________________________             ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.483                                                               Check all that apply.
            Reginald Foose _____________________________
                                                                     ☒ Contingent
            10818 Cimarron St #804 ______________________            ☒ Unliquidated
            Longmont, Colorado 80504 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.484                                                               Check all that apply.
            Dawn L. Forbes _____________________________
                                                                     ☒ Contingent
            400 Tedmon Dr______________________________              ☒ Unliquidated
            Fort Collins, Colorado 80521 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.485                                                               Check all that apply.
            Judith Ford _________________________________
                                                                     ☒ Contingent
            2323 Curtis St _______________________________           ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.486                                                               Check all that apply.
            Amy Forrest ________________________________
                                                                     ☒ Contingent
            38 Forsyth Dr _______________________________            ☒ Unliquidated
            Longmont, Colorado 80504 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page84 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.487                                                               Check all that apply.
            Jessie Fortin ________________________________
                                                                     ☒ Contingent
            4639 E Fair Pl _______________________________           ☒ Unliquidated
            Centennial, Colorado 80121 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.488                                                               Check all that apply.
            Mary Elizabeth Fortner ________________________
                                                                     ☒ Contingent
            11801 Washington St Apt J108 _________________           ☒ Unliquidated
            Northglenn, Colorado 80233 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.489                                                               Check all that apply.
            Corian Fox _________________________________
                                                                     ☒ Contingent
            257 3rd St __________________________________            ☒ Unliquidated
            Fort Lupton, Colorado 80621 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.490                                                               Check all that apply.
            Donnie J Franklin ____________________________
                                                                     ☒ Contingent
            4355 Davenport Way _________________________             ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.491                                                               Check all that apply.
            Jeremy Franklin _____________________________
                                                                     ☒ Contingent
            1623 E 1st St _______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.492                                                               Check all that apply.
            Kathryn Frazier ______________________________
                                                                     ☒ Contingent
            8600 E Alameda Ave #14-101 __________________            ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page85 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.493                                                               Check all that apply.
            Paulino Frederick ____________________________
                                                                     ☒ Contingent
            1388 Garrison St Apt 102F _____________________          ☒ Unliquidated
            Lakewood, Colorado 80215 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.494                                                               Check all that apply.
            Felix Fresquez ______________________________
                                                                     ☒ Contingent
            1304 Castle Creek Ct _________________________           ☒ Unliquidated
            Castle Rock, Colorado 80104 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.495                                                               Check all that apply.
            Angela J. Fritz_______________________________
                                                                     ☒ Contingent
            11455 W Coal Mine Dr ________________________            ☒ Unliquidated
            Littleton, Colorado 80127 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.496                                                               Check all that apply.
            Chris Fritzler ________________________________
                                                                     ☒ Contingent
            4601 S Balsam Way Apt 1725 __________________            ☒ Unliquidated
            Littleton, Colorado 80123 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.497                                                               Check all that apply.
            Nicholas Fuller ______________________________
                                                                     ☒ Contingent
            1106 Russ Ave ______________________________             ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.498                                                               Check all that apply.
            Gabriela A. Fyffe_____________________________
                                                                     ☒ Contingent
            10123 Grape Ct _____________________________             ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page86 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.499                                                               Check all that apply.
            Melinda C. Gable ____________________________
                                                                     ☒ Contingent
            17428 E Flora Pl _____________________________           ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.500                                                               Check all that apply.
            Noelle Gabriel _______________________________
                                                                     ☒ Contingent
            3324 S Field St Apt 178 _______________________          ☒ Unliquidated
            Lakewood, Colorado 80227 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.501                                                               Check all that apply.
            Kiana Gadlin ________________________________
                                                                     ☒ Contingent
            13918 E Mississippi Ave #206 __________________          ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.502                                                               Check all that apply.
            Markeasha T. Gaines _________________________
                                                                     ☒ Contingent
            14652 E 2nd Ave Apt D202 ____________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.503                                                               Check all that apply.
            Samantha Galindo ___________________________
                                                                     ☒ Contingent
            10 Emery Way ______________________________              ☒ Unliquidated
            Longmont, Colorado 80501 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.504                                                               Check all that apply.
            Alicia R. Gallegos ____________________________
                                                                     ☒ Contingent
            1115 Bragdon Ave. ___________________________            ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page87 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.505                                                               Check all that apply.
            Loraine Gallegos ____________________________
                                                                     ☒ Contingent
            2459 Ash Ave #63 ___________________________             ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.506                                                               Check all that apply.
            Desirae Gallegos ____________________________
                                                                     ☒ Contingent
            1045 Pratt St________________________________            ☒ Unliquidated
            Longmont, Colorado 80501 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.507                                                               Check all that apply.
            Eugene Gallegos ____________________________
                                                                     ☒ Contingent
            1103 Main St Apt 4 ___________________________           ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.508                                                               Check all that apply.
            Arlene Gallegos _____________________________
                                                                     ☒ Contingent
            614 E Emma St _____________________________              ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.509                                                               Check all that apply.
            Aaron M. Gallegos ___________________________
                                                                     ☒ Contingent
            1320 Constitution Rd _________________________           ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.510                                                               Check all that apply.
            Daisie Gallegos _____________________________
                                                                     ☒ Contingent
            1870 W Berkeley Pl __________________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page88 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.511                                                               Check all that apply.
            Amber R. Gallegos ___________________________
                                                                     ☒ Contingent
            333 Diablo Pl _______________________________            ☒ Unliquidated
            Brighton, Colorado 80603 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.512                                                               Check all that apply.
            Christine Gallegos ___________________________
                                                                     ☒ Contingent
            1915 W 19th St ______________________________            ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.513                                                               Check all that apply.
            Lori Gallegos _______________________________
                                                                     ☒ Contingent
            863 Newton St ______________________________             ☒ Unliquidated
            Denver, Colorado 80204 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.514                                                               Check all that apply.
            Elizabeth Galvan ____________________________
                                                                     ☒ Contingent
            1729 Countess Ct ____________________________            ☒ Unliquidated
            Longmont, Colorado 80501 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.515                                                               Check all that apply.
            Carlos A. Galvan Carrera ______________________
                                                                     ☒ Contingent
            7400 E 83rd Ave _____________________________            ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.516                                                               Check all that apply.
            Sheena M. Gaona ___________________________
                                                                     ☒ Contingent
            1951 28th Ave #29 ___________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page89 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.517                                                               Check all that apply.
            Nichelle D. Garcia____________________________
                                                                     ☒ Contingent
            1611 8th St. ________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.518                                                               Check all that apply.
            Gilberto Garcia ______________________________
                                                                     ☒ Contingent
            12801 Lafayette St #B103 _____________________           ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.519                                                               Check all that apply.
            Denicia Garcia ______________________________
                                                                     ☒ Contingent
            1341 Strong St ______________________________            ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.520                                                               Check all that apply.
            Daniel Garcia _______________________________
                                                                     ☒ Contingent
            5820 W. 9th Ave. ____________________________            ☒ Unliquidated
            Lakewood, Colorado 80214 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.521                                                               Check all that apply.
            Zachariah Garcia ____________________________
                                                                     ☒ Contingent
            375 50th Avenue Ct __________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.522                                                               Check all that apply.
            Kyle Garcia _________________________________
                                                                     ☒ Contingent
            2510 S Wolfe St._____________________________            ☒ Unliquidated
            Denver, Colorado 80219 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page90 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.523                                                               Check all that apply.
            Altagracia Garcia ____________________________
                                                                     ☒ Contingent
            2761 Roosevelt Ave __________________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.524                                                               Check all that apply.
            Kenneth Garcia______________________________
                                                                     ☒ Contingent
            2223 South Dr ______________________________             ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.525                                                               Check all that apply.
            Raylene Garcia ______________________________
                                                                     ☒ Contingent
            2518 49th Ave Ct ____________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.526                                                               Check all that apply.
            Christina Garcia _____________________________
                                                                     ☒ Contingent
            20394 E Buchanan Dr ________________________             ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.527                                                               Check all that apply.
            Alondra Garcia ______________________________
                                                                     ☒ Contingent
            207 E 12th St Lot 12 __________________________          ☒ Unliquidated
            Imperial, Nebraska 69033 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.528                                                               Check all that apply.
            Michael Garcia ______________________________
                                                                     ☒ Contingent
            465 Chatfeild LN _____________________________           ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.529                                                               Check all that apply.
            Rafael Garcia _______________________________
                                                                     ☒ Contingent
            7568 Sherman St ____________________________             ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.530                                                               Check all that apply.
            Angel G. Garcia _____________________________
                                                                     ☒ Contingent
            3257 S Parker Rd #4710 ______________________            ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.531                                                               Check all that apply.
            Mendy Garcia _______________________________
                                                                     ☒ Contingent
            17182 E Adriatic Dr Apt I-107 ___________________        ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.532                                                               Check all that apply.
            Lawrence Eugene Garcia ______________________
                                                                     ☒ Contingent
            10101 Washington St Apt A-115 ________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.533                                                               Check all that apply.
            Robert Garcia _______________________________
                                                                     ☒ Contingent
            C/O Elaina A. DeNolf _________________________           ☒ Unliquidated
            Denver, Colorado 80212 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.534                                                               Check all that apply.
            Levita Garcia _______________________________
                                                                     ☒ Contingent
            1749 Coronado Pkwy N #101 ___________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page92 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.535                                                               Check all that apply.
            Juan M. Garcia ______________________________
                                                                     ☒ Contingent
            516 Elm Ave ________________________________             ☒ Unliquidated
            Eaton, Colorado 80615________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.536                                                               Check all that apply.
            Ashley Garcia _______________________________
                                                                     ☒ Contingent
            12403 E 30th Ave ____________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.537                                                               Check all that apply.
            Edward Garcia ______________________________
                                                                     ☒ Contingent
            906 E 13th St _______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.538                                                               Check all that apply.
            Misty Garcia ________________________________
                                                                     ☒ Contingent
            601 Front St ________________________________            ☒ Unliquidated
            Platteville, Colorado 80651 _____________________        ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.539                                                               Check all that apply.
            Lorae Garcia ________________________________
                                                                     ☒ Contingent
            1640 S Vallejo St ____________________________           ☒ Unliquidated
            Denver, Colorado 80223 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.540                                                               Check all that apply.
            Marsha Williams- Gardener ____________________
                                                                     ☒ Contingent
            2086 Massey Ln _____________________________             ☒ Unliquidated
            Winder, Georgia 30680 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page93 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.541                                                               Check all that apply.
            Corissa M. Garduno __________________________
                                                                     ☒ Contingent
            6675 S Apache Dr ___________________________             ☒ Unliquidated
            Littleton, Colorado 80120 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.542                                                               Check all that apply.
            Pete Garduno _______________________________
                                                                     ☒ Contingent
            19595 E Iowa Cir ____________________________            ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.543                                                               Check all that apply.
            Daniel R. Garica _____________________________
                                                                     ☒ Contingent
            40632 County Road 37________________________             ☒ Unliquidated
            Ault, Colorado 80610 _________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.544                                                               Check all that apply.
            Rickel V. Garner _____________________________
                                                                     ☒ Contingent
            3818 Longhorn Ln ___________________________             ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.545                                                               Check all that apply.
            Deborah Garrett _____________________________
                                                                     ☒ Contingent
            572 Elmira St _______________________________            ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.546                                                               Check all that apply.
            Manuel Garza _______________________________
                                                                     ☒ Contingent
            10571 Colorado Blvd. Unit D107 ________________          ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page94 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.547                                                               Check all that apply.
            Lee Ann Gatewood ___________________________
                                                                     ☒ Contingent
            12726 E Pacific Dr Apt 101 ____________________          ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.548                                                               Check all that apply.
            Randall P. Geary ____________________________
                                                                     ☒ Contingent
            1180 34th St ________________________________            ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.549                                                               Check all that apply.
            Aubrey Louise Gebhards ______________________
                                                                     ☒ Contingent
            1001 S Havana St Apt 321 _____________________           ☒ Unliquidated
            Denver, Colorado 80012 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.550                                                               Check all that apply.
            Alemayehu G. Gebresilassie ___________________
                                                                     ☒ Contingent
            1037 S Evanston Way Apt 202 __________________           ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.551                                                               Check all that apply.
            Robert A. Gerhard ___________________________
                                                                     ☒ Contingent
            12048 W Hornsilver Mtn _______________________           ☒ Unliquidated
            Littleton, Colorado 80127 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.552                                                               Check all that apply.
            Larry G. Gerlock _____________________________
                                                                     ☒ Contingent
            8587 Dover Ct ______________________________             ☒ Unliquidated
            Arvada, Colorado 80005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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           Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page95 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.553                                                               Check all that apply.
            Adrianna Germosen __________________________
                                                                     ☒ Contingent
            321 Edgar Ave ______________________________             ☒ Unliquidated
            Clarksdale, Mississippi 38614 __________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.554                                                               Check all that apply.
            Adam Gertenbach ___________________________
                                                                     ☒ Contingent
            1070 S Dahlia St Apt F2 _______________________          ☒ Unliquidated
            Denver, Colorado 80246 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.555                                                               Check all that apply.
            Jon Giacchino _______________________________
                                                                     ☒ Contingent
            10788 Worthington Cir ________________________           ☒ Unliquidated
            Parker, Colorado 80134 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.556                                                               Check all that apply.
            Lisa M. Gibbs _______________________________
                                                                     ☒ Contingent
            10078 Williams St ____________________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.557                                                               Check all that apply.
            Sylvester Gibson ____________________________
                                                                     ☒ Contingent
            5911 S. Willow Way __________________________            ☒ Unliquidated
            Greenwood Vllg, Colorado 80111________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.558                                                               Check all that apply.
            Erik Giles __________________________________
                                                                     ☒ Contingent
            3751 W 136th Ave #V4________________________             ☒ Unliquidated
            Broomfield, Colorado 80023 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.559                                                               Check all that apply.
            Isaac Giles _________________________________
                                                                     ☒ Contingent
            243 W 80th Ave #5-205 _______________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.560                                                               Check all that apply.
            Terrah Giroir ________________________________
                                                                     ☒ Contingent
            5959 Dunkirk St. #10105 ______________________           ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.561                                                               Check all that apply.
            Kevin J. Gisvold _____________________________
                                                                     ☒ Contingent
            13941 E Harvard Ave #122 ____________________            ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.562                                                               Check all that apply.
            Devonna Glasspoole _________________________
                                                                     ☒ Contingent
            3040 S Holly Pl ______________________________           ☒ Unliquidated
            Denver, Colorado 80222 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.563                                                               Check all that apply.
            Jolene Glover _______________________________
                                                                     ☒ Contingent
            9888 E. Vassar Dr. Apt H109 ___________________          ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.564                                                               Check all that apply.
            Isaac Goddard ______________________________
                                                                     ☒ Contingent
            6772 W Ida Dr Apt 336 ________________________           ☒ Unliquidated
            Littleton, Colorado 80123 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.565                                                               Check all that apply.
            Christopher J. Godinez ________________________
                                                                     ☒ Contingent
            249 E 3rd St ________________________________            ☒ Unliquidated
            Ault, Colorado 80610 _________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.566                                                               Check all that apply.
            Jaxson Goetsch _____________________________
                                                                     ☒ Contingent
            19472 E Princeton Pl _________________________           ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.567                                                               Check all that apply.
            Lynette Golden ______________________________
                                                                     ☒ Contingent
            4220 S Mobile Cir #A _________________________           ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.568                                                               Check all that apply.
            Dawn Gomez _______________________________
                                                                     ☒ Contingent
            492 29 Rd. Ste B ____________________________            ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.569                                                               Check all that apply.
            Jolene Gomez ______________________________
                                                                     ☒ Contingent
            8105 W Floyd Ave Unit 12-107 __________________          ☒ Unliquidated
            Denver, Colorado 80227 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.570                                                               Check all that apply.
            Heather Gomez Garcia ________________________
                                                                     ☒ Contingent
            2804 3rd Ave _______________________________             ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.571                                                               Check all that apply.
            Brianna Gonzales ____________________________
                                                                     ☒ Contingent
            11563 Steele St _____________________________            ☒ Unliquidated
            Thornton, Colorado 80233 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.572                                                               Check all that apply.
            Estevan Gonzales ___________________________
                                                                     ☒ Contingent
            PO Box 482 ________________________________              ☒ Unliquidated
            Elizabeth, Colorado 80107 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.573                                                               Check all that apply.
            Joey Gonzales ______________________________
                                                                     ☒ Contingent
            4744 Dudley St ______________________________            ☒ Unliquidated
            Wheat Ridge, Colorado 80033 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.574                                                               Check all that apply.
            Yolanda Gonzales ___________________________
                                                                     ☒ Contingent
            6206 Red Canyon Dr #B ______________________             ☒ Unliquidated
            Highlands Ranch, Colorado 80130 _______________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.575                                                               Check all that apply.
            Marc Gonzales ______________________________
                                                                     ☒ Contingent
            19661 E Stephanie Dr ________________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.576                                                               Check all that apply.
            Gabrielle Josee M. Gonzales ___________________
                                                                     ☒ Contingent
            301 Malley Dr Apt 341 ________________________           ☒ Unliquidated
            Northglenn, Colorado 80233 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.577                                                               Check all that apply.
            Raymond M. Gonzales ________________________
                                                                     ☒ Contingent
            3770 W 24th St Apt H28 _______________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.578                                                               Check all that apply.
            Mary Gonzales ______________________________
                                                                     ☒ Contingent
            2600 W 103rd Ave Apt 528 ____________________            ☒ Unliquidated
            Denver, Colorado 80260 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.579                                                               Check all that apply.
            Lee Gonzalez _______________________________
                                                                     ☒ Contingent
            9717 NW 10th St #66 _________________________            ☒ Unliquidated
            Oklahoma City, Oklahoma 73127 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.580                                                               Check all that apply.
            Diana Alarcon- Gonzalez ______________________
                                                                     ☒ Contingent
            4424 Pennsylvania St _________________________           ☒ Unliquidated
            Denver, Colorado 80216 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.581                                                               Check all that apply.
            Lucero Gonzalez ____________________________
                                                                     ☒ Contingent
            1374 S Fulton Way #G102 _____________________            ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.582                                                               Check all that apply.
            Christa Gonzalez ____________________________
                                                                     ☒ Contingent
            5530 W 4th Ave _____________________________             ☒ Unliquidated
            Lakewood, Colorado 80226 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.583                                                               Check all that apply.
           Maria Gonzalez _____________________________
                                                                     ☒ Contingent
           435 N 35th Ave Lot 252 _______________________            ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.584                                                               Check all that apply.
           Ricardo Valdivia Gonzalez _____________________
                                                                     ☒ Contingent
           2111 79th Ave ______________________________              ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.585                                                               Check all that apply.
           Simon M. Gonzalez __________________________
                                                                     ☒ Contingent
           400 N 19th Ave Unit A204 _____________________            ☒ Unliquidated
           Brighton, Colorado 80601 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.586                                                               Check all that apply.
           Michael Lobatos- Gonzalez ____________________
                                                                     ☒ Contingent
           12222 E Iowa Dr _____________________________             ☒ Unliquidated
           Aurora, Colorado 80012 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.587                                                               Check all that apply.
           Luisa Gonzalez ______________________________
                                                                     ☒ Contingent
           5569 Gibraltar St ____________________________            ☒ Unliquidated
           Denver, Colorado 80249 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.588                                                               Check all that apply.
           Jose Gonzalez Maldon ________________________
                                                                     ☒ Contingent
           1096 South Elkhart Way #208 __________________            ☒ Unliquidated
           Aurora, Colorado 80012 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page101 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.589                                                               Check all that apply.
           Debora Good _______________________________
                                                                     ☒ Contingent
           722 W Belleview Ave _________________________             ☒ Unliquidated
           Englewood, Colorado 80110 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.590                                                               Check all that apply.
           Victoria Gordon______________________________
                                                                     ☒ Contingent
           495 1/2 McMullin ____________________________             ☒ Unliquidated
           Grand Junction, Colorado 81504 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.591                                                               Check all that apply.
           Makelle Gottschalk ___________________________
                                                                     ☒ Contingent
           5011 Mt Osage St____________________________              ☒ Unliquidated
           Longmont, Colorado 80504 ____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.592                                                               Check all that apply.
           Jasmine Goudeau ___________________________
                                                                     ☒ Contingent
           4707 Newport Ave ___________________________              ☒ Unliquidated
           Saint Louis, Missouri 63116 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.593                                                               Check all that apply.
           Kimberly Goudy _____________________________
                                                                     ☒ Contingent
           18695 Pony Express Drive _____________________            ☒ Unliquidated
           Parker, Colorado 80134 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.594                                                               Check all that apply.
           Timothy Gould ______________________________
                                                                     ☒ Contingent
           3333 S Grant St #206 _________________________            ☒ Unliquidated
           Englewood, Colorado 80113 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page102 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.595                                                               Check all that apply.
           Michael S. Goyack ___________________________
                                                                     ☒ Contingent
           7550 W 84th Way Apt 1523 ____________________             ☒ Unliquidated
           Arvada, Colorado 80003 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.596                                                               Check all that apply.
           Lewis H. Graff _______________________________
                                                                     ☒ Contingent
           2447 Nyssa Dr ______________________________              ☒ Unliquidated
           Loveland, Colorado 80538 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.597                                                               Check all that apply.
           Brian Graham _______________________________
                                                                     ☒ Contingent
           665 19th St SW _____________________________              ☒ Unliquidated
           Loveland, Colorado 80537 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.598                                                               Check all that apply.
           Tammy Grant _______________________________
                                                                     ☒ Contingent
           3251 County Road 21_________________________              ☒ Unliquidated
           Fort Lupton, Colorado 80621 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.599                                                               Check all that apply.
           Justin Grant ________________________________
                                                                     ☒ Contingent
           9250 Race St _______________________________              ☒ Unliquidated
           Thornton, Colorado 80229 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.600                                                               Check all that apply.
           Theodore J. Gray ____________________________
                                                                     ☒ Contingent
           9528 Clayton Court___________________________             ☒ Unliquidated
           Thornton, Colorado 80229 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.601                                                               Check all that apply.
           Marcus Gray ________________________________
                                                                     ☒ Contingent
           16255 E Alaska Pl Apt 10 ______________________           ☒ Unliquidated
           Aurora, Colorado 80017 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.602                                                               Check all that apply.
           Edward Green ______________________________
                                                                     ☒ Contingent
           6700 E Cedar Ave #B _________________________             ☒ Unliquidated
           Denver, Colorado 80224 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.603                                                               Check all that apply.
           Sheli Green_________________________________
                                                                     ☒ Contingent
           12601 Zuni St Apt 108 ________________________            ☒ Unliquidated
           Broomfield, Colorado 80020 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.604                                                               Check all that apply.
           Tahini Q. Green _____________________________
                                                                     ☒ Contingent
           3801 Majestic Trl ____________________________            ☒ Unliquidated
           Castle Rock, Colorado 80109 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.605                                                               Check all that apply.
           Donta L. Green ______________________________
                                                                     ☒ Contingent
           3801 Majestic Trl ____________________________            ☒ Unliquidated
           Castle Rock, Colorado 80109 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.606                                                               Check all that apply.
           Ian Gregory_________________________________
                                                                     ☒ Contingent
           4983 Knox Ct _______________________________              ☒ Unliquidated
           Denver, Colorado 80221 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.607                                                               Check all that apply.
           Donei K. Griggs _____________________________
                                                                     ☒ Contingent
           17905 E Greenwood Dr Unit 1535 _______________            ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.608                                                               Check all that apply.
           Silbestre A. Grimaldo _________________________
                                                                     ☒ Contingent
           1226 10th St. _______________________________             ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.609                                                               Check all that apply.
           Alexander Grimes ____________________________
                                                                     ☒ Contingent
           8382 Erickson Blvd Apt 1303 ___________________           ☒ Unliquidated
           Littleton, Colorado 80129 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.610                                                               Check all that apply.
           Andrea Grine _______________________________
                                                                     ☒ Contingent
           84 N 7th Ave ________________________________             ☒ Unliquidated
           Brighton, Colorado 80601 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.611                                                               Check all that apply.
           Dawn Griner ________________________________
                                                                     ☒ Contingent
           2216 7th Ave Apt C202 _______________________             ☒ Unliquidated
           Pueblo, Colorado 81003 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.612                                                               Check all that apply.
           James E. Grissom ___________________________
                                                                     ☒ Contingent
           11625 Community Center Dr ___________________             ☒ Unliquidated
           Northglenn, Colorado 80233 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.613                                                               Check all that apply.
           Kellie Gross ________________________________
                                                                     ☒ Contingent
           3127 Brownie Cir. Spc 32 ______________________           ☒ Unliquidated
           Grand Junction, Colorado 81504 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.614                                                               Check all that apply.
           Daniel Guajardo _____________________________
                                                                     ☒ Contingent
           12766 E Pacific Dr #10-201 ____________________           ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.615                                                               Check all that apply.
           Dominic A. Guerrero __________________________
                                                                     ☒ Contingent
           2760 E 86th Ave Apt 146 ______________________            ☒ Unliquidated
           Westminster, Colorado 80031 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.616                                                               Check all that apply.
           Rachel M. Guerrero __________________________
                                                                     ☒ Contingent
           3314 W 7th St Apt 22 _________________________            ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.617                                                               Check all that apply.
           Dominic A. Guerrero __________________________
                                                                     ☒ Contingent
           1500 W. THORNTON PKWY LOT 11 ____________                 ☒ Unliquidated
           THORNTON, Colorado 80260 __________________               ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.618                                                               Check all that apply.
           Maria Guevara ______________________________
                                                                     ☒ Contingent
           2961 ALDER STREET ________________________                ☒ Unliquidated
           DENVER, Colorado 80260 _____________________              ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page106 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.619                                                               Check all that apply.
           Michael Guillen ______________________________
                                                                     ☒ Contingent
           6767 Balance Cir ____________________________             ☒ Unliquidated
           Colo Springs, Colorado 80923 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.620                                                               Check all that apply.
           Ilce Guillen-Meza ____________________________
                                                                     ☒ Contingent
           3546 N Fillmore St ___________________________            ☒ Unliquidated
           Denver, Colorado 80205 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.621                                                               Check all that apply.
           Brandon Gunsolus ___________________________
                                                                     ☒ Contingent
           9036 E Louisiana Pl __________________________            ☒ Unliquidated
           Denver, Colorado 80247 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.622                                                               Check all that apply.
           Jordan Guray _______________________________
                                                                     ☒ Contingent
           419 1/2 Bear Dance Dr ________________________            ☒ Unliquidated
           Grand Junction, Colorado 81504 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.623                                                               Check all that apply.
           Yolanda I. Gurule ____________________________
                                                                     ☒ Contingent
           3011 W 12th St ______________________________             ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.624                                                               Check all that apply.
           Anna Gutherie ______________________________
                                                                     ☒ Contingent
           1331 Gay Cir _______________________________              ☒ Unliquidated
           Longmont, Colorado 80501 ____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page107 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.625                                                               Check all that apply.
           Pascual Gutierrez ____________________________
                                                                     ☒ Contingent
           175 Longs Peak St. __________________________             ☒ Unliquidated
           Brighton, Colorado 80601 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.626                                                               Check all that apply.
           Blake Gutierrez ______________________________
                                                                     ☒ Contingent
           6464 Honey Grv Apt 210 ______________________             ☒ Unliquidated
           Colorado Spring, Colorado 80923 _______________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.627                                                               Check all that apply.
           Kristy A. Gutierrez ___________________________
                                                                     ☒ Contingent
           6433 W 44th Pl ______________________________             ☒ Unliquidated
           Wheat Ridge, Colorado 80033 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.628                                                               Check all that apply.
           Aaron J. Guzman ____________________________
                                                                     ☒ Contingent
           103 N. Josephine Ave. #26 ____________________            ☒ Unliquidated
           Milliken, Colorado 80543 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.629                                                               Check all that apply.
           Vanessa Guzman ____________________________
                                                                     ☒ Contingent
           1490 W 116th Ave #20 ________________________             ☒ Unliquidated
           Denver, Colorado 80234 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.630                                                               Check all that apply.
           Jose R. Guzman _____________________________
                                                                     ☒ Contingent
           2132 27th Avenue Ct Apt C ____________________            ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.631                                                               Check all that apply.
           Jason Guzzone______________________________
                                                                     ☒ Contingent
           820 Ash Ave. #2 _____________________________             ☒ Unliquidated
           Marysville, Washington 98270 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.632                                                               Check all that apply.
           Robert Gyimah ______________________________
                                                                     ☒ Contingent
           1304 S Fulton Way Apt C205 ___________________            ☒ Unliquidated
           Denver, Colorado 80247 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.633                                                               Check all that apply.
           Jennifer Ha _________________________________
                                                                     ☒ Contingent
           12043 Ivanhoe Cir ___________________________             ☒ Unliquidated
           Brighton, Colorado 80602 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.634                                                               Check all that apply.
           Brett N. Hadlock _____________________________
                                                                     ☒ Contingent
           693 Urban Ct Apt 908 _________________________            ☒ Unliquidated
           Golden, Colorado 80401 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.635                                                               Check all that apply.
           Amin Halime ________________________________
                                                                     ☒ Contingent
           2715 W. 86th Ave. Apt 22 ______________________           ☒ Unliquidated
           Westminster, Colorado 80031 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.636                                                               Check all that apply.
           Staci M. Hall ________________________________
                                                                     ☒ Contingent
           9301 Russell Way____________________________              ☒ Unliquidated
           Denver, Colorado 80229 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page109 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.637                                                               Check all that apply.
           Tony Hall __________________________________
                                                                     ☒ Contingent
           8111 E. Yale Ave. Apt 9205 ____________________           ☒ Unliquidated
           Denver, Colorado 80231 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.638                                                               Check all that apply.
           Thalia Hall__________________________________
                                                                     ☒ Contingent
           11320 Jordan Meadow Ln #192 _________________             ☒ Unliquidated
           Sandy, Utah 84070 ___________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.639                                                               Check all that apply.
           Brianna Halliburton ___________________________
                                                                     ☒ Contingent
           5301 S Yosemite St Apt 31-206 _________________           ☒ Unliquidated
           Greenwood Vllg, Colorado 80111________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.640                                                               Check all that apply.
           Tabatha Halsell______________________________
                                                                     ☒ Contingent
           19438 Otter Trail Ct __________________________           ☒ Unliquidated
           Katy, Texas 77449 ___________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.641                                                               Check all that apply.
           Nathian Hamby ______________________________
                                                                     ☒ Contingent
           2409 S Worchester Ct #A ______________________            ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.642                                                               Check all that apply.
           Jarion Ricardo Hamm _________________________
                                                                     ☒ Contingent
           3853 S Genoa Ct Unit C _______________________            ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.643                                                               Check all that apply.
           Jackson L. Hamrick __________________________
                                                                     ☒ Contingent
           2529 Shetland Dr ____________________________             ☒ Unliquidated
           Grand Junction, Colorado 81505 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.644                                                               Check all that apply.
           Thomas Walter Hancock ______________________
                                                                     ☒ Contingent
           1483 W 103rd Pl _____________________________             ☒ Unliquidated
           Northglenn, Colorado 80260 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.645                                                               Check all that apply.
           Linda Hannon _______________________________
                                                                     ☒ Contingent
           460 Center St Unit 6474 _______________________           ☒ Unliquidated
           Moraga, California 94570 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.646                                                               Check all that apply.
           Richard Hansen _____________________________
                                                                     ☒ Contingent
           17636 Hoyt Pl _______________________________             ☒ Unliquidated
           Parker, Colorado 80134 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.647                                                               Check all that apply.
           Ryan Hanson _______________________________
                                                                     ☒ Contingent
           9401 Newton St _____________________________              ☒ Unliquidated
           Westminster, Colorado 80031 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.648                                                               Check all that apply.
           Savannah Hanson ___________________________
                                                                     ☒ Contingent
           6730 S. Glencoe St. #110 _____________________            ☒ Unliquidated
           Centennial, Colorado 80122 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.649                                                               Check all that apply.
           Ashley Harmon ______________________________
                                                                     ☒ Contingent
           2800 W 103Rd Ave #1621 _____________________              ☒ Unliquidated
           Federal Heights, Colorado 80260 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.650                                                               Check all that apply.
           Jalaya Harper _______________________________
                                                                     ☒ Contingent
           11565 Destination Dr #4209 ____________________           ☒ Unliquidated
           Broomfield, Colorado 80021 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.651                                                               Check all that apply.
           Albert Harper _______________________________
                                                                     ☒ Contingent
           7723 S Cottonwood Mt ________________________             ☒ Unliquidated
           Littleton, Colorado 80127 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.652                                                               Check all that apply.
           James Harper _______________________________
                                                                     ☒ Contingent
           2828 ORCHARD AVE. #72 ____________________                ☒ Unliquidated
           Grand Junction, Colorado 81501 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.653                                                               Check all that apply.
           Jeffrey Thomas Harrell ________________________
                                                                     ☒ Contingent
           8951 Lilly Dr ________________________________            ☒ Unliquidated
           Thornton, Colorado 80229 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.654                                                               Check all that apply.
           Wayne Harris _______________________________
                                                                     ☒ Contingent
           10902 W Toller Dr ___________________________             ☒ Unliquidated
           Littleton, Colorado 80127 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.655                                                               Check all that apply.
           Anthony Harris ______________________________
                                                                     ☒ Contingent
           857 S Van Godon Ct Apt E103 __________________            ☒ Unliquidated
           Denver, Colorado 80228 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.656                                                               Check all that apply.
           Cortney Harris ______________________________
                                                                     ☒ Contingent
           3785 Birchwood Dr ___________________________             ☒ Unliquidated
           Boulder, Colorado 80304 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.657                                                               Check all that apply.
           Taylor M. Harris _____________________________
                                                                     ☒ Contingent
           13757 E 4th AVe Apt 6-203 ____________________            ☒ Unliquidated
           Aurora, Colorado 80011 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.658                                                               Check all that apply.
           Serrina M. Harris ____________________________
                                                                     ☒ Contingent
           4055 Albion St #126 __________________________            ☒ Unliquidated
           Denver, Colorado 80216 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.659                                                               Check all that apply.
           Janell Harris ________________________________
                                                                     ☒ Contingent
           3500 S Sherman St Apt 310 ____________________            ☒ Unliquidated
           Englewood, Colorado 80113 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.660                                                               Check all that apply.
           Calvin Harris ________________________________
                                                                     ☒ Contingent
           170 Twin Lakes Dr ___________________________             ☒ Unliquidated
           Covington, Georgia 30016 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.661                                                               Check all that apply.
           John Harrison _______________________________
                                                                     ☒ Contingent
           1625 E. STUART ST UNIT C82 _________________              ☒ Unliquidated
           Fort Collins, Colorado 80525 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.662                                                               Check all that apply.
           Teresa Harstad ______________________________
                                                                     ☒ Contingent
           5423 Water Tower Promenade__________________              ☒ Unliquidated
           Arvada, Colorado 80002 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.663                                                               Check all that apply.
           Timothy Harvey _____________________________
                                                                     ☒ Contingent
           744 Mockingbird St Apt B203 ___________________           ☒ Unliquidated
           Brighton, Colorado 80601 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.664                                                               Check all that apply.
           Mallory Harvey ______________________________
                                                                     ☒ Contingent
           120 Del Norte St _____________________________            ☒ Unliquidated
           Denver, Colorado 80221 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.665                                                               Check all that apply.
           Thomas Hasty ______________________________
                                                                     ☒ Contingent
           5810 S Santa Fe Dr #1 ________________________            ☒ Unliquidated
           Littleton, Colorado 80120 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.666                                                               Check all that apply.
           Brian Hatt __________________________________
                                                                     ☒ Contingent
           1224 S Mariposa St __________________________             ☒ Unliquidated
           Denver, Colorado 80233 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.667                                                               Check all that apply.
           Krystene Hawkes ____________________________
                                                                     ☒ Contingent
           15638 W 3rd Pl ______________________________             ☒ Unliquidated
           Golden, Colorado 80401 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.668                                                               Check all that apply.
           Sheri Hayes ________________________________
                                                                     ☒ Contingent
           509 E 41st St _______________________________             ☒ Unliquidated
           Loveland, Colorado 80538 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.669                                                               Check all that apply.
           Patrick Haymes _____________________________
                                                                     ☒ Contingent
           PO Box 36310 ______________________________               ☒ Unliquidated
           Denver, Colorado 80236 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.670                                                               Check all that apply.
           Lestel Hays _________________________________
                                                                     ☒ Contingent
           10738 Odgen St _____________________________              ☒ Unliquidated
           Northglenn, Colorado 80233 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.671                                                               Check all that apply.
           Amber Heartz _______________________________
                                                                     ☒ Contingent
           PO Box 333 ________________________________               ☒ Unliquidated
           Commerce City, Colorado 80022 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.672                                                               Check all that apply.
           Daniel J. Heaton _____________________________
                                                                     ☒ Contingent
           6462 Highway 66 ____________________________              ☒ Unliquidated
           Platteville, Colorado 80651 _____________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page115 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.673                                                               Check all that apply.
           Leandra Heil ________________________________
                                                                     ☒ Contingent
           4012 25th Ave ______________________________              ☒ Unliquidated
           Evans, Colorado 80620 _______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.674                                                               Check all that apply.
           Rodney D. Heinz ____________________________
                                                                     ☒ Contingent
           214 Grant Ave. ______________________________             ☒ Unliquidated
           Nunn, Colorado 80648 ________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.675                                                               Check all that apply.
           Preston Heisa _______________________________
                                                                     ☒ Contingent
           510 Coronado Ct Apt D _______________________             ☒ Unliquidated
           Clifton, Colorado 81520 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.676                                                               Check all that apply.
           Joycetta Hempstead __________________________
                                                                     ☒ Contingent
           343 S Troy St _______________________________             ☒ Unliquidated
           Aurora, Colorado 80012 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.677                                                               Check all that apply.
           Nikisha Henderson ___________________________
                                                                     ☒ Contingent
           19600 E 57th Ave Apt 202 _____________________            ☒ Unliquidated
           Aurora, Colorado 80019 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.678                                                               Check all that apply.
           Salisha Henderson ___________________________
                                                                     ☒ Contingent
           14400 E Fremont Ave Apt 1-107 ________________            ☒ Unliquidated
           Englewood, Colorado 80112 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page116 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.679                                                               Check all that apply.
           Reaunna N. Hennesy _________________________
                                                                     ☒ Contingent
           3921 S Ensenada Ct #103 _____________________             ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.680                                                               Check all that apply.
           Gregory Herckner ____________________________
                                                                     ☒ Contingent
           1201 S Dayton St ____________________________             ☒ Unliquidated
           Denver, Colorado 80247 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.681                                                               Check all that apply.
           Janelle Hering_______________________________
                                                                     ☒ Contingent
           18841 E Warren Dr Apt 2014 ___________________            ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.682                                                               Check all that apply.
           Filbert Hermosillo ____________________________
                                                                     ☒ Contingent
           6900 Huron St ______________________________              ☒ Unliquidated
           Denver, Colorado 80221 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.683                                                               Check all that apply.
           Renee Hernandez ___________________________
                                                                     ☒ Contingent
           3934 Alta Vista Drive _________________________           ☒ Unliquidated
           Laramie, Wyoming 82072 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.684                                                               Check all that apply.
           Leonel Hernandez ___________________________
                                                                     ☒ Contingent
           7981 Grace Ct ______________________________              ☒ Unliquidated
           Denver, Colorado 80221 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page117 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.685                                                               Check all that apply.
           Christina Hernandez __________________________
                                                                     ☒ Contingent
           PO BOX 151273 _____________________________               ☒ Unliquidated
           Lakewood, Colorado 80215 ____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.686                                                               Check all that apply.
           Ricardo Hernandez___________________________
                                                                     ☒ Contingent
           3609 Wynkoop St Apt 201 _____________________             ☒ Unliquidated
           Denver, Colorado 80216 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.687                                                               Check all that apply.
           Jacqueline Hernandez ________________________
                                                                     ☒ Contingent
           1405 E Beech St_____________________________              ☒ Unliquidated
           Pueblo, Colorado 81001 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.688                                                               Check all that apply.
           Bryant Hernandez____________________________
                                                                     ☒ Contingent
           6000 S Fraser St Apt 6-301 ____________________           ☒ Unliquidated
           Aurora, Colorado 80016 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.689                                                               Check all that apply.
           Mary Jane Hernandez ________________________
                                                                     ☒ Contingent
           10999 E 14th Ave Apt 205 _____________________            ☒ Unliquidated
           Aurora, Colorado 80010 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.690                                                               Check all that apply.
           Ashley Hernandez ___________________________
                                                                     ☒ Contingent
           4661 S Decatur St ___________________________             ☒ Unliquidated
           Englewood, Colorado 80110 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page118 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.691                                                               Check all that apply.
           Juan De Dios Hernandez ______________________
                                                                     ☒ Contingent
           5018 Andes Way ____________________________               ☒ Unliquidated
           Denver, Colorado 80249 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.692                                                               Check all that apply.
           Rey A. Hernandez ___________________________
                                                                     ☒ Contingent
           178 14th St _________________________________             ☒ Unliquidated
           Burlington, Colorado 80807 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.693                                                               Check all that apply.
           Mark A. Hernandez___________________________
                                                                     ☒ Contingent
           1111 S Utica St______________________________             ☒ Unliquidated
           Denver, Colorado 80219 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.694                                                               Check all that apply.
           Anita Hernandez _____________________________
                                                                     ☒ Contingent
           138 Glenn Place _____________________________             ☒ Unliquidated
           Pueblo, Colorado 81001 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.695                                                               Check all that apply.
           Jasmine Hernandez __________________________
                                                                     ☒ Contingent
           10306 W 59th Pl Apt 2 ________________________            ☒ Unliquidated
           Arvada, Colorado 80004 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.696                                                               Check all that apply.
           Prentice Herren _____________________________
                                                                     ☒ Contingent
           6900 Highway 2 Lot 35 ________________________            ☒ Unliquidated
           Commerce City, Colorado 80022 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.697                                                               Check all that apply.
           Anselmo Herrera ____________________________
                                                                     ☒ Contingent
           1857 S Winona Ct ___________________________              ☒ Unliquidated
           Denver, Colorado 80219 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.698                                                               Check all that apply.
           Cristian Herrera _____________________________
                                                                     ☒ Contingent
           7420 Bryant St ______________________________             ☒ Unliquidated
           Westminster, Colorado 80030 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.699                                                               Check all that apply.
           Adriana Herrera _____________________________
                                                                     ☒ Contingent
           5546 S Danube Way _________________________               ☒ Unliquidated
           Aurora, Colorado 80015 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.700                                                               Check all that apply.
           Hector Herrera Andrade _______________________
                                                                     ☒ Contingent
           10833 Belle Creek Blvd _______________________            ☒ Unliquidated
           Commerce City, Colorado 80640 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.701                                                               Check all that apply.
           Sarah L. Hervey _____________________________
                                                                     ☒ Contingent
           950 52nd Ave Ct Apt O2 _______________________            ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.702                                                               Check all that apply.
           Franklin Heslop______________________________
                                                                     ☒ Contingent
           16790 E 13th Ave ____________________________             ☒ Unliquidated
           Aurora, Colorado 80011 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page120 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.703                                                               Check all that apply.
           Douglas Hiatt _______________________________
                                                                     ☒ Contingent
           6273 E 123rd Ave ____________________________             ☒ Unliquidated
           Brighton, Colorado 80602 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.704                                                               Check all that apply.
           Rebecca Hickey _____________________________
                                                                     ☒ Contingent
           346 W 109th Avenue _________________________              ☒ Unliquidated
           Denver, Colorado 80233 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.705                                                               Check all that apply.
           Aubree Hickman _____________________________
                                                                     ☒ Contingent
           512 Lincoln St _______________________________            ☒ Unliquidated
           Fort Morgan, Colorado 80701___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.706                                                               Check all that apply.
           Chris Hickman ______________________________
                                                                     ☒ Contingent
           1014 Ryland Road ___________________________              ☒ Unliquidated
           Lochbuie, Colorado 80603 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.707                                                               Check all that apply.
           Jenesse Hicks ______________________________
                                                                     ☒ Contingent
           14062 E Iowa Dr Unit 6-605 ____________________           ☒ Unliquidated
           Aurora, Colorado 80012 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.708                                                               Check all that apply.
           Bobby Hicks ________________________________
                                                                     ☒ Contingent
           225 N Sable Blvd #10204 ______________________            ☒ Unliquidated
           Aurora, Colorado 80011 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page121 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.709                                                               Check all that apply.
           Maria Hidalgo _______________________________
                                                                     ☒ Contingent
           8562 Field Ct _______________________________             ☒ Unliquidated
           Arvada, Colorado 80005 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.710                                                               Check all that apply.
           Daniel Higginbotham _________________________
                                                                     ☒ Contingent
           9270 Village Pkwy ___________________________             ☒ Unliquidated
           Denver, Colorado 80215 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.711                                                               Check all that apply.
           Lowell Higgins ______________________________
                                                                     ☒ Contingent
           5568 S Dodge Ct ____________________________              ☒ Unliquidated
           Wichita, Kansas 67217 ________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.712                                                               Check all that apply.
           Wanda Hill _________________________________
                                                                     ☒ Contingent
           5254 W. 26th Ave., Unit 2 ______________________          ☒ Unliquidated
           Edgewater, Colorado 80214 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.713                                                               Check all that apply.
           Paul M. Hill _________________________________
                                                                     ☒ Contingent
           2525 E 104th Ave Unit 1323 ____________________           ☒ Unliquidated
           Denver, Colorado 80233 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.714                                                               Check all that apply.
           Angelica Hill ________________________________
                                                                     ☒ Contingent
           14406 E Fremont Ave #4-303___________________             ☒ Unliquidated
           Englewood, Colorado 80112 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.715                                                               Check all that apply.
           James Hill __________________________________
                                                                     ☒ Contingent
           7931 S Kalispell Way _________________________            ☒ Unliquidated
           Englewood, Colorado 80112 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.716                                                               Check all that apply.
           Desire Hill-Traylor ____________________________
                                                                     ☒ Contingent
           8001 E 11th Ave Unit 5-107 ____________________           ☒ Unliquidated
           Denver, Colorado 80220 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.717                                                               Check all that apply.
           Jessica Hilt _________________________________
                                                                     ☒ Contingent
           1228 Eilers Ave _____________________________             ☒ Unliquidated
           Pueblo, Colorado 81006 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.718                                                               Check all that apply.
           Magan Hiltman ______________________________
                                                                     ☒ Contingent
           745 W 147th Ave #3199 _______________________             ☒ Unliquidated
           Westminster, Colorado 80023 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.719                                                               Check all that apply.
           Thomas Hoff ________________________________
                                                                     ☒ Contingent
           4382 E Andover Ave__________________________              ☒ Unliquidated
           Castle Rock, Colorado 80104 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.720                                                               Check all that apply.
           Devan Hoffman______________________________
                                                                     ☒ Contingent
           9783 Pyramid Ct Unit 409 _____________________            ☒ Unliquidated
           Englewood, Colorado 80112 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page123 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.721                                                               Check all that apply.
           Brian Holcomb ______________________________
                                                                     ☒ Contingent
           13687 E Dakota Way _________________________              ☒ Unliquidated
           Aurora, Colorado 80012 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.722                                                               Check all that apply.
           Eric Hollie __________________________________
                                                                     ☒ Contingent
           7615 E Quincy Ave Apt 102 ____________________            ☒ Unliquidated
           Denver, Colorado 80237 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.723                                                               Check all that apply.
           Karen Holmes _______________________________
                                                                     ☒ Contingent
           3805 6th Ave N ______________________________             ☒ Unliquidated
           Great Falls, Montana 59405 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.724                                                               Check all that apply.
           Sheena K. Holmes ___________________________
                                                                     ☒ Contingent
           15790 E Alameda Pkwy Apt 204 ________________             ☒ Unliquidated
           Aurora, Colorado 80017 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.725                                                               Check all that apply.
           Jessica A. Holstein ___________________________
                                                                     ☒ Contingent
           2123 S Holly St ______________________________            ☒ Unliquidated
           Denver, Colorado 80222 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.726                                                               Check all that apply.
           Drake J. Hook _______________________________
                                                                     ☒ Contingent
           2126 N El Paso St ___________________________             ☒ Unliquidated
           Colorado Sprgs, Colorado 80907 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page124 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.727                                                               Check all that apply.
           Kathryn A Hopper ____________________________
                                                                     ☒ Contingent
           2931 Redburn Dr ____________________________              ☒ Unliquidated
           Fort Collins, Colorado 80525 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.728                                                               Check all that apply.
           Hope Hopson _______________________________
                                                                     ☒ Contingent
           2280 S Oswego Way Apt 205___________________              ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.729                                                               Check all that apply.
           James R. Hopwood __________________________
                                                                     ☒ Contingent
           3128 Antelope Way __________________________              ☒ Unliquidated
           Evans, Colorado 80620 _______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.730                                                               Check all that apply.
           Linda Hour _________________________________
                                                                     ☒ Contingent
           2442 S Eagle Way ___________________________              ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.731                                                               Check all that apply.
           James L. House _____________________________
                                                                     ☒ Contingent
           2550 W 96th Ave Lot 87 _______________________            ☒ Unliquidated
           Denver, Colorado 80260 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.732                                                               Check all that apply.
           Amy Houston _______________________________
                                                                     ☒ Contingent
           16199 Green Valley Ranch #2512 _______________            ☒ Unliquidated
           Denver, Colorado 80239 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page125 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.733                                                               Check all that apply.
           Pamela Howard _____________________________
                                                                     ☒ Contingent
           5216 S Riviera Cir ___________________________            ☒ Unliquidated
           Aurora, Colorado 80015 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.734                                                               Check all that apply.
           Lois Howard ________________________________
                                                                     ☒ Contingent
           15700 E Alameda Pkwy _______________________              ☒ Unliquidated
           Aurora, Colorado 80017 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.735                                                               Check all that apply.
           Dashavay S. Howard _________________________
                                                                     ☒ Contingent
           1599 S Ivory Cir Unit D ________________________          ☒ Unliquidated
           Aurora, Colorado 80017 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.736                                                               Check all that apply.
           Diane Howell _______________________________
                                                                     ☒ Contingent
           2630 Oakland Ave ___________________________              ☒ Unliquidated
           Pueblo, Colorado 81004 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.737                                                               Check all that apply.
           Aaron Howland ______________________________
                                                                     ☒ Contingent
           5092 Nighthawk Pkwy ________________________              ☒ Unliquidated
           Brighton, Colorado 80601 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.738                                                               Check all that apply.
           Mary Hubbard _______________________________
                                                                     ☒ Contingent
           3731 S Kirk Way _____________________________             ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page126 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.739                                                               Check all that apply.
           Amber Huey ________________________________
                                                                     ☒ Contingent
           17304 E 102nd Pl ____________________________             ☒ Unliquidated
           Commerce City, Colorado 80022 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.740                                                               Check all that apply.
           Stephanie Hull ______________________________
                                                                     ☒ Contingent
           13664 Linden Ct _____________________________             ☒ Unliquidated
           Thornton, Colorado 80602 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.741                                                               Check all that apply.
           Eric Humphrey ______________________________
                                                                     ☒ Contingent
           16963 E Bethany Pl __________________________             ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.742                                                               Check all that apply.
           Richard Humphrey ___________________________
                                                                     ☒ Contingent
           1058 S Dahlia St #A29 ________________________            ☒ Unliquidated
           Denver, Colorado 80246 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.743                                                               Check all that apply.
           Bryan Hunt _________________________________
                                                                     ☒ Contingent
           5026 Hawk Meadow Dr _______________________               ☒ Unliquidated
           Colorado Sprgs, Colorado 80916 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.744                                                               Check all that apply.
           Tamekia M. Hunt ____________________________
                                                                     ☒ Contingent
           16611 E ITHICA PL __________________________              ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page127 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.745                                                               Check all that apply.
           Michael Huskey _____________________________
                                                                     ☒ Contingent
           8330 E Quincy Ave ___________________________             ☒ Unliquidated
           Denver, Colorado 80237 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.746                                                               Check all that apply.
           Mohamed Abdulaziz Hussein ___________________
                                                                     ☒ Contingent
           10989 Clayton St ____________________________             ☒ Unliquidated
           Denver, Colorado 80233 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.747                                                               Check all that apply.
           Nauliate Hutagalung __________________________
                                                                     ☒ Contingent
           3206 S Nucla St _____________________________             ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.748                                                               Check all that apply.
           Jeremiah Hyppolite ___________________________
                                                                     ☒ Contingent
           425 S Galena Way #7-204 _____________________             ☒ Unliquidated
           Denver, Colorado 80247 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.749                                                               Check all that apply.
           Johnathan Hysell ____________________________
                                                                     ☒ Contingent
           1060 Highway 6 and 50 _______________________             ☒ Unliquidated
           Mack, Colorado 81525 ________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.750                                                               Check all that apply.
           Lori Ibarra __________________________________
                                                                     ☒ Contingent
           3770 W 24th St #G26 _________________________             ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page128 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.751                                                               Check all that apply.
           Mirna Ibarra ________________________________
                                                                     ☒ Contingent
           18943 E 16th Pl _____________________________             ☒ Unliquidated
           Aurora, Colorado 80011 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.752                                                               Check all that apply.
           Isabel A. Ibarra ______________________________
                                                                     ☒ Contingent
           2626 W 1st St Lot 262 ________________________            ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.753                                                               Check all that apply.
           Andrew Infante ______________________________
                                                                     ☒ Contingent
           616 Pacific Ave ______________________________            ☒ Unliquidated
           Fort Lupton, Colorado 80621 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.754                                                               Check all that apply.
           Randolph Ingersoll ___________________________
                                                                     ☒ Contingent
           4955 Shelby Dr ______________________________             ☒ Unliquidated
           Castle Rock, Colorado 80104 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.755                                                               Check all that apply.
           Jason Ryan Ingram __________________________
                                                                     ☒ Contingent
           3501 Stover St Apt 200 _______________________            ☒ Unliquidated
           Fort Collins, Colorado 80525 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.756                                                               Check all that apply.
           Bryan Irizarry-Roig ___________________________
                                                                     ☒ Contingent
           2180 W 10th Ave ____________________________              ☒ Unliquidated
           Broomfield, Colorado 80020 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page129 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.757                                                               Check all that apply.
           Brian Ivery _________________________________
                                                                     ☒ Contingent
           18727 E Progress Pl__________________________             ☒ Unliquidated
           Aurora, Colorado 80015 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.758                                                               Check all that apply.
           Arionna M. Jackson __________________________
                                                                     ☒ Contingent
           8200 W 20th St ______________________________             ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.759                                                               Check all that apply.
           Bridget Jackson _____________________________
                                                                     ☒ Contingent
           16305 E Alameda Pl Apt 101 ___________________            ☒ Unliquidated
           Aurora, Colorado 80017 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.760                                                               Check all that apply.
           Holly Jackson _______________________________
                                                                     ☒ Contingent
           15950 E Briarwood Cir #315 ___________________            ☒ Unliquidated
           Aurora, Colorado 80016 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.761                                                               Check all that apply.
           Tyrone Jackson _____________________________
                                                                     ☒ Contingent
           2023 E 6th St _______________________________             ☒ Unliquidated
           Pueblo, Colorado 81001 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.762                                                               Check all that apply.
           Veronica Jacobo Martinez _____________________
                                                                     ☒ Contingent
           2931 North Ave Trlr 39 ________________________           ☒ Unliquidated
           Grand Junction, Colorado 81504 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page130 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.763                                                               Check all that apply.
           Mohamud Jama _____________________________
                                                                     ☒ Contingent
           17830 E Princeton Pl _________________________            ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.764                                                               Check all that apply.
           Teresa Jammal ______________________________
                                                                     ☒ Contingent
           1560 S Garfield St ___________________________            ☒ Unliquidated
           Denver, Colorado 80210 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.765                                                               Check all that apply.
           June Jaure _________________________________
                                                                     ☒ Contingent
           9400 E Iliff Ave #104 _________________________           ☒ Unliquidated
           Denver, Colorado 80231 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.766                                                               Check all that apply.
           Sarah Jenkins _______________________________
                                                                     ☒ Contingent
           7321 Bryant St ______________________________             ☒ Unliquidated
           Westminster, Colorado 80030 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.767                                                               Check all that apply.
           Lynette R. R. Jiron ___________________________
                                                                     ☒ Contingent
           10701 Pecos St Apt 1312 ______________________            ☒ Unliquidated
           Northglenn, Colorado 80234 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.768                                                               Check all that apply.
           Micah Johnson ______________________________
                                                                     ☒ Contingent
           1655 Hemlock Way __________________________               ☒ Unliquidated
           Broomfield, Colorado 80020 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page131 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.769                                                               Check all that apply.
           Herbert Johnson _____________________________
                                                                     ☒ Contingent
           4413 Flaming Gorge Ave ______________________             ☒ Unliquidated
           Cheyenne, Wyoming 82001 ____________________              ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.770                                                               Check all that apply.
           Shelby Johnson _____________________________
                                                                     ☒ Contingent
           13645 E Yale Ave Unit D ______________________            ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.771                                                               Check all that apply.
           Felisha Johnson _____________________________
                                                                     ☒ Contingent
           170 Cherry Cir ______________________________             ☒ Unliquidated
           Fountain, Colorado 80817 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.772                                                               Check all that apply.
           Steven Johnson _____________________________
                                                                     ☒ Contingent
           6758 W Portland Ave _________________________             ☒ Unliquidated
           Littleton, Colorado 80128 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.773                                                               Check all that apply.
           Sherry Johnson _____________________________
                                                                     ☒ Contingent
           2414 14th Avenue ___________________________              ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.774                                                               Check all that apply.
           Candice M. Johnson __________________________
                                                                     ☒ Contingent
           325 E 1st St Lot 442 __________________________           ☒ Unliquidated
           Ault, Colorado 80610 _________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.775                                                               Check all that apply.
           Esther Johnston _____________________________
                                                                     ☒ Contingent
           3565 Eudora St. _____________________________             ☒ Unliquidated
           Denver, Colorado 80207 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.776                                                               Check all that apply.
           Colleen Johnston ____________________________
                                                                     ☒ Contingent
           17827 Domingo Dr ___________________________              ☒ Unliquidated
           Parker, Colorado 80134 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.777                                                               Check all that apply.
           Jason Jolley ________________________________
                                                                     ☒ Contingent
           6969 W 90th Ave #531 ________________________             ☒ Unliquidated
           Broomfield, Colorado 80021 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.778                                                               Check all that apply.
           Matthew Jolley ______________________________
                                                                     ☒ Contingent
           2910 Dawn Dr Apt 4 __________________________             ☒ Unliquidated
           Grand Junction, Colorado 81504 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.779                                                               Check all that apply.
           Leah Jolly __________________________________
                                                                     ☒ Contingent
           18025 61ST AVE. #2322 ______________________              ☒ Unliquidated
           Denver, Colorado 80249 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.780                                                               Check all that apply.
           George Jones _______________________________
                                                                     ☒ Contingent
           19010 E Chenango Cir ________________________             ☒ Unliquidated
           Aurora, Colorado 80015 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.781                                                               Check all that apply.
           Ronnie Jones _______________________________
                                                                     ☒ Contingent
           1504 s OURAY CIR #A _______________________               ☒ Unliquidated
           Aurora, Colorado 80017 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.782                                                               Check all that apply.
           Jor Dun Jones ______________________________
                                                                     ☒ Contingent
           3785 S Delaware St __________________________             ☒ Unliquidated
           Englewood, Colorado 80110 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.783                                                               Check all that apply.
           Keelah Jones _______________________________
                                                                     ☒ Contingent
           347 Logan Ave ______________________________              ☒ Unliquidated
           Nunn, Colorado 80648 ________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.784                                                               Check all that apply.
           Heidi I. Jones _______________________________
                                                                     ☒ Contingent
           5041 Garrison St, Apt 202 _____________________           ☒ Unliquidated
           Wheat Ridge, Colorado 80033 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.785                                                               Check all that apply.
           Rodney J. Jones _____________________________
                                                                     ☒ Contingent
           1585 S Norfolk St ____________________________            ☒ Unliquidated
           Aurora, Colorado 80017 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.786                                                               Check all that apply.
           Marcus Jones _______________________________
                                                                     ☒ Contingent
           1113 E Bellmont Ave _________________________             ☒ Unliquidated
           Pueblo, Colorado 81004 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page134 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.787                                                               Check all that apply.
           Sharon A. Jones _____________________________
                                                                     ☒ Contingent
           1790 S Pitkin Cir Unit A _______________________          ☒ Unliquidated
           Aurora, Colorado 80017 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.788                                                               Check all that apply.
           Desiree Jones_______________________________
                                                                     ☒ Contingent
           1501 Northstar Rd 7308 _______________________            ☒ Unliquidated
           Denton, Texas 76208 _________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.789                                                               Check all that apply.
           Jovan Joseph _______________________________
                                                                     ☒ Contingent
           1101 Rowena St _____________________________              ☒ Unliquidated
           Denver, Colorado 80229 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.790                                                               Check all that apply.
           Mike Joseph ________________________________
                                                                     ☒ Contingent
           100 Dayton St Apt B203 _______________________            ☒ Unliquidated
           Aurora, Colorado 80010 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.791                                                               Check all that apply.
           Debbie Josue _______________________________
                                                                     ☒ Contingent
           2299 E 149th Ave ____________________________             ☒ Unliquidated
           Thornton, Colorado 80602 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.792                                                               Check all that apply.
           Mario Juan _________________________________
                                                                     ☒ Contingent
           2041 6th Ave Apt B___________________________             ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.793                                                               Check all that apply.
           Brandon Jukola______________________________
                                                                     ☒ Contingent
           17806 E. GREENWOOD DR. #1636 _____________                ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.794                                                               Check all that apply.
           Shakayla N. Julius ___________________________
                                                                     ☒ Contingent
           10700 E Dartmouth Ave #R-108_________________             ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.795                                                               Check all that apply.
           Kumail Jusab _______________________________
                                                                     ☒ Contingent
           501 N. Ogden Ave. ___________________________             ☒ Unliquidated
           Pueblo, Colorado 81001 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.796                                                               Check all that apply.
           Elizabeth Kaan ______________________________
                                                                     ☒ Contingent
           5974 Caitlyn Rose Ln _________________________            ☒ Unliquidated
           Middletown, Ohio 45044 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.797                                                               Check all that apply.
           Shawn Kailihiwa _____________________________
                                                                     ☒ Contingent
           3899 Sunridge Terrace Dr _____________________            ☒ Unliquidated
           Castle Rock, Colorado 80109 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.798                                                               Check all that apply.
           Ted Kalinowski ______________________________
                                                                     ☒ Contingent
           1753 30th St Apt 4 ___________________________            ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page136 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.799                                                               Check all that apply.
           Corey Kamerman ____________________________
                                                                     ☒ Contingent
           4734 Helena St ______________________________             ☒ Unliquidated
           Denver, Colorado 80239 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.800                                                               Check all that apply.
           Cynthia Kasai _______________________________
                                                                     ☒ Contingent
           3254 S Truckee Way Apt 205 ___________________            ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.801                                                               Check all that apply.
           Joshua Keck ________________________________
                                                                     ☒ Contingent
           2707 Norwich Ave ___________________________              ☒ Unliquidated
           Pueblo, Colorado 81003 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.802                                                               Check all that apply.
           Lauren Rebecca Kedrow ______________________
                                                                     ☒ Contingent
           320 11th Ave S #425 _________________________             ☒ Unliquidated
           Nashville, Tennessee 37203 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.803                                                               Check all that apply.
           Allissa Keen ________________________________
                                                                     ☒ Contingent
           9117 Royal Melbourne Cir _____________________            ☒ Unliquidated
           Peyton, Colorado 80831 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.804                                                               Check all that apply.
           Brian L. Keim _______________________________
                                                                     ☒ Contingent
           1451 Turnberry Dr ___________________________             ☒ Unliquidated
           Castle Rock, Colorado 80104 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page137 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.805                                                               Check all that apply.
           Jared Kelley ________________________________
                                                                     ☒ Contingent
           5473 Barnstormers Ave _______________________             ☒ Unliquidated
           Colorado Sprgs, Colorado 80911 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.806                                                               Check all that apply.
           Keely M. Kelley ______________________________
                                                                     ☒ Contingent
           320 Lorey Dr ________________________________             ☒ Unliquidated
           Grand Junction, Colorado 81505 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.807                                                               Check all that apply.
           Brianna Kellner ______________________________
                                                                     ☒ Contingent
           14003 E Temple Dr #1024 _____________________             ☒ Unliquidated
           Aurora, Colorado 80015 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.808                                                               Check all that apply.
           Jessica Kelly ________________________________
                                                                     ☒ Contingent
           7150 Constitution Square hgts __________________          ☒ Unliquidated
           Colorado Sprgs, Colorado 80915 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.809                                                               Check all that apply.
           Khayla Kenner ______________________________
                                                                     ☒ Contingent
           12968 Grove Way____________________________               ☒ Unliquidated
           Broomfield, Colorado 80020 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.810                                                               Check all that apply.
           Jody Kerst__________________________________
                                                                     ☒ Contingent
           5202 E 96th Dr ______________________________             ☒ Unliquidated
           Denver, Colorado 80229 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.811                                                               Check all that apply.
           Kathleen Kettl _______________________________
                                                                     ☒ Contingent
           13650 E Colfax Ave #3329 _____________________            ☒ Unliquidated
           Aurora, Colorado 80011 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.812                                                               Check all that apply.
           Willie Key __________________________________
                                                                     ☒ Contingent
           890 Irving St ________________________________            ☒ Unliquidated
           Denver, Colorado 80204 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.813                                                               Check all that apply.
           Gallia Khaskey ______________________________
                                                                     ☒ Contingent
           17035 W 94th Ave ___________________________              ☒ Unliquidated
           Arvada, Colorado 80007 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.814                                                               Check all that apply.
           Travis Kidd _________________________________
                                                                     ☒ Contingent
           8761 W. BERRY AVE. #101 ____________________              ☒ Unliquidated
           Littleton, Colorado 80123 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.815                                                               Check all that apply.
           Stephanie Kidd ______________________________
                                                                     ☒ Contingent
           20566 E Maplewood Pl________________________              ☒ Unliquidated
           Aurora, Colorado 80016 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.816                                                               Check all that apply.
           Christopher Kiefer____________________________
                                                                     ☒ Contingent
           53 Macgregor Rd ____________________________              ☒ Unliquidated
           Pueblo, Colorado 81001 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.817                                                               Check all that apply.
           Kiet V. Kincade ______________________________
                                                                     ☒ Contingent
           11961 Bellaire St Apt B _______________________           ☒ Unliquidated
           Thornton, Colorado 80233 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.818                                                               Check all that apply.
           Ladaisha King _______________________________
                                                                     ☒ Contingent
           2531 S Genoa St ____________________________              ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.819                                                               Check all that apply.
           Shane Charles King __________________________
                                                                     ☒ Contingent
           3611 Morning Glory Dr ________________________            ☒ Unliquidated
           Castle Rock, Colorado 80109 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.820                                                               Check all that apply.
           Shannon Kinnevy ____________________________
                                                                     ☒ Contingent
           17707 E Durado _____________________________              ☒ Unliquidated
           Centennial, Colorado 80015 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.821                                                               Check all that apply.
           Laura Kinney _______________________________
                                                                     ☒ Contingent
           643 ELBRADO BLVD #1332 ___________________                ☒ Unliquidated
           Broomfield, Colorado 80021 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.822                                                               Check all that apply.
           Michael Kippes ______________________________
                                                                     ☒ Contingent
           11322 Harlan St _____________________________             ☒ Unliquidated
           Westminster, Colorado 80020 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.823                                                               Check all that apply.
           Kristy L. Kirk ________________________________
                                                                     ☒ Contingent
           2247 S 96th East Ave #D ______________________            ☒ Unliquidated
           Tulsa, Oklahoma 74129 _______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.824                                                               Check all that apply.
           Shari L. Kirkland _____________________________
                                                                     ☒ Contingent
           1327 W 84th Ave Apt 13-1322 __________________            ☒ Unliquidated
           Federal Heights, Colorado 80260________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.825                                                               Check all that apply.
           Anthony Kirkpatrick___________________________
                                                                     ☒ Contingent
           7965 Vallejo St ______________________________            ☒ Unliquidated
           Denver, Colorado 80221 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.826                                                               Check all that apply.
           Stephen Kiser _______________________________
                                                                     ☒ Contingent
           19873 E Vassar Ave __________________________             ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.827                                                               Check all that apply.
           Jonathan W. Kister ___________________________
                                                                     ☒ Contingent
           3161 Willow Creek Rd. Apt 232 _________________           ☒ Unliquidated
           Prescott, Arizona 86301 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.828                                                               Check all that apply.
           Barbara Kline _______________________________
                                                                     ☒ Contingent
           1523 Quitman St. Apt 310 _____________________            ☒ Unliquidated
           Denver, Colorado 80204 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.829                                                               Check all that apply.
           Charla Klipfel _______________________________
                                                                     ☒ Contingent
           110 S Main St _______________________________             ☒ Unliquidated
           Fort Morgan, Colorado 80701___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.830                                                               Check all that apply.
           Laura Kloeppner _____________________________
                                                                     ☒ Contingent
           205 Lincoln St _______________________________            ☒ Unliquidated
           Elizabeth, Colorado 80107 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.831                                                               Check all that apply.
           Samneth Klok _______________________________
                                                                     ☒ Contingent
           13930 E 104th Dr ____________________________             ☒ Unliquidated
           Commerce City, Colorado 80022 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.832                                                               Check all that apply.
           Andrew Klopat ______________________________
                                                                     ☒ Contingent
           8460 Prairie Clover Way _______________________           ☒ Unliquidated
           Parker, Colorado 80134 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.833                                                               Check all that apply.
           Cory A. Knight ______________________________
                                                                     ☒ Contingent
           4110 Hale Pkwy #1E _________________________              ☒ Unliquidated
           Denver, Colorado 80220 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.834                                                               Check all that apply.
           Robert Knox ________________________________
                                                                     ☒ Contingent
           711 Fraser St _______________________________             ☒ Unliquidated
           Aurora, Colorado 80011 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:   Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.835                                                               Check all that apply.
           Samuel Korankye ____________________________
                                                                     ☒ Contingent
           2303 S Vaughn Way Apt 313 ___________________             ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.836                                                               Check all that apply.
           Christopher Korf _____________________________
                                                                     ☒ Contingent
           2909 Des Moines Dr __________________________             ☒ Unliquidated
           Fort Collins, Colorado 80525 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.837                                                               Check all that apply.
           Julie Korhonen ______________________________
                                                                     ☒ Contingent
           9427 W Ontario Dr ___________________________             ☒ Unliquidated
           Littleton, Colorado 80128 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.838                                                               Check all that apply.
           Vincent Korp ________________________________
                                                                     ☒ Contingent
           4701 Foothills Dr ____________________________            ☒ Unliquidated
           Fort Collins, Colorado 80526 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.839                                                               Check all that apply.
           Donna Kovas _______________________________
                                                                     ☒ Contingent
           2479 Zenith Ln ______________________________             ☒ Unliquidated
           Grand Junction, Colorado 81505 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.840                                                               Check all that apply.
           Patrick Kramer ______________________________
                                                                     ☒ Contingent
           2150 W 15th St D101 _________________________             ☒ Unliquidated
           Loveland, Colorado 80538 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.841                                                               Check all that apply.
           Debra L. Krause _____________________________
                                                                     ☒ Contingent
           3822 W 11th St Unit 27 _______________________            ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.842                                                               Check all that apply.
           Jonni Kreutzer ______________________________
                                                                     ☒ Contingent
           23649 E Fremont Cir Unit 201 __________________           ☒ Unliquidated
           Aurora, Colorado 80016 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.843                                                               Check all that apply.
           Molly Kuiken ________________________________
                                                                     ☒ Contingent
           2526 E Evans Ave ___________________________              ☒ Unliquidated
           Pueblo, Colorado 81004 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.844                                                               Check all that apply.
           Kylie Kupka_________________________________
                                                                     ☒ Contingent
           939 Wind River Court _________________________            ☒ Unliquidated
           Brighton, Colorado 80601 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.845                                                               Check all that apply.
           Coyle Kyle _________________________________
                                                                     ☒ Contingent
           613 Brown Street ____________________________             ☒ Unliquidated
           Vine Grove, Kentucky 40175 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.846                                                               Check all that apply.
           Grocott Kyle ________________________________
                                                                     ☒ Contingent
           8864 Meade St ______________________________              ☒ Unliquidated
           Westminster, Colorado 80031 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page144 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.847                                                               Check all that apply.
           Susan A. Labella ____________________________
                                                                     ☒ Contingent
           7402 Church Ranch Blvd. ______________________            ☒ Unliquidated
           Broomfield, Colorado 80021 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.848                                                               Check all that apply.
           Cindy Ladd _________________________________
                                                                     ☒ Contingent
           950 52nd Avenue Ct #G2 ______________________             ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.849                                                               Check all that apply.
           Benita Lamar _______________________________
                                                                     ☒ Contingent
           1109 S Xenia St Apt C ________________________            ☒ Unliquidated
           Denver, Colorado 80247 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.850                                                               Check all that apply.
           Paul Lambert _______________________________
                                                                     ☒ Contingent
           6631 Oneida Street __________________________             ☒ Unliquidated
           Commerce City, Colorado 80022 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.851                                                               Check all that apply.
           Tory Landgrebe _____________________________
                                                                     ☒ Contingent
           10700 Kimblewyck Cir Unit 212 _________________           ☒ Unliquidated
           Northglenn, Colorado 80233 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.852                                                               Check all that apply.
           Robert J. Lang ______________________________
                                                                     ☒ Contingent
           13275 Holly St. Unit C ________________________           ☒ Unliquidated
           Thornton, Colorado 80241 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page145 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.853                                                               Check all that apply.
           Gloria Lara _________________________________
                                                                     ☒ Contingent
           424 32 Road Trailer 193 _______________________           ☒ Unliquidated
           Clifton, Colorado 81520 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.854                                                               Check all that apply.
           Johnny Lara ________________________________
                                                                     ☒ Contingent
           4902 E 108th Pl _____________________________             ☒ Unliquidated
           Thornton, Colorado 80233 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.855                                                               Check all that apply.
           Kathleen Larason ____________________________
                                                                     ☒ Contingent
           6380 E Minnesota Dr _________________________             ☒ Unliquidated
           Denver, Colorado 80224 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.856                                                               Check all that apply.
           Judy Larington ______________________________
                                                                     ☒ Contingent
           1625 S Iola St Apt 201 ________________________           ☒ Unliquidated
           Aurora, Colorado 80012 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.857                                                               Check all that apply.
           Amanda Lassoued ___________________________
                                                                     ☒ Contingent
           4100 Albion St Unit 514 _______________________           ☒ Unliquidated
           Denver, Colorado 80216 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.858                                                               Check all that apply.
           Michael S. Lauer_____________________________
                                                                     ☒ Contingent
           2140 Oak Pl ________________________________              ☒ Unliquidated
           Thornton, Colorado 80229 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.859                                                               Check all that apply.
           Karessa Lauvergeon _________________________
                                                                     ☒ Contingent
           8300 Sheridan Blvd Apt 10F ____________________           ☒ Unliquidated
           Arvada, Colorado 80003 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.860                                                               Check all that apply.
           Brandon Lawhorn ____________________________
                                                                     ☒ Contingent
           10175 Park Meadows Dr Unit 105 _______________            ☒ Unliquidated
           Littleton, Colorado 80124 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.861                                                               Check all that apply.
           Pamala L. Lawrence __________________________
                                                                     ☒ Contingent
           2841 Teller Ave Trlr 11 ________________________          ☒ Unliquidated
           Grand Junction, Colorado 81501 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.862                                                               Check all that apply.
           Stepanie Lawson ____________________________
                                                                     ☒ Contingent
           614 White River Dr ___________________________            ☒ Unliquidated
           Orlando, Florida 32828 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.863                                                               Check all that apply.
           Merrycca Lazcano ___________________________
                                                                     ☒ Contingent
           621 Oxbow Rd ______________________________               ☒ Unliquidated
           Grand Junction, Colorado 81504 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.864                                                               Check all that apply.
           Megen J. Lear_______________________________
                                                                     ☒ Contingent
           13812 Linden Ct. ____________________________             ☒ Unliquidated
           Brighton, Colorado 80602 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.865                                                               Check all that apply.
           Bruce Lee __________________________________
                                                                     ☒ Contingent
           11750 Harrison St____________________________             ☒ Unliquidated
           Thornton, Colorado 80233 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.866                                                               Check all that apply.
           Dillon Lee __________________________________
                                                                     ☒ Contingent
           102 Main St Lot 1 ____________________________            ☒ Unliquidated
           Boone, Colorado 81025 _______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.867                                                               Check all that apply.
           Linda Lee __________________________________
                                                                     ☒ Contingent
           9758 Laredo St Unit 13A ______________________            ☒ Unliquidated
           Commerce City, Colorado 80022 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.868                                                               Check all that apply.
           Stephanie M. Lee ____________________________
                                                                     ☒ Contingent
           PO Box 51 _________________________________               ☒ Unliquidated
           Severance, Colorado 80546 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.869                                                               Check all that apply.
           Morghan Lee _______________________________
                                                                     ☒ Contingent
           2885 E Midway Blvd Lot 200 ___________________            ☒ Unliquidated
           Denver, Colorado 80234 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.870                                                               Check all that apply.
           Nina Lee ___________________________________
                                                                     ☒ Contingent
           13021 E 21st Ave #B463 ______________________             ☒ Unliquidated
           Aurora, Colorado 80045 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.871                                                               Check all that apply.
           Norvin Lee _________________________________
                                                                     ☒ Contingent
           44 Red Mesa Homes _________________________               ☒ Unliquidated
           Crownpoint, New Mexico 87313 _________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.872                                                               Check all that apply.
           Dolores V. Legarda___________________________
                                                                     ☒ Contingent
           9 S Gay Dr _________________________________              ☒ Unliquidated
           Longmont, Colorado 80501 ____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.873                                                               Check all that apply.
           Samuel Leonardi ____________________________
                                                                     ☒ Contingent
           1515 Baxtar St ______________________________             ☒ Unliquidated
           Mack, Colorado 81525 ________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.874                                                               Check all that apply.
           Katrina Lesse _______________________________
                                                                     ☒ Contingent
           4035 S Lincoln St ____________________________            ☒ Unliquidated
           Englewood, Colorado 80113 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.875                                                               Check all that apply.
           Jamie Lester Bodon __________________________
                                                                     ☒ Contingent
           4580 W Mineral Dr Unit 1427 ___________________           ☒ Unliquidated
           Littleton, Colorado 80128 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.876                                                               Check all that apply.
           Betty Leung ________________________________
                                                                     ☒ Contingent
           1716 W 34th Ave ____________________________              ☒ Unliquidated
           Denver, Colorado 80211 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.877                                                               Check all that apply.
           Joseph Levasseur ___________________________
                                                                     ☒ Contingent
           2886 S Bannock St ___________________________             ☒ Unliquidated
           Englewood, Colorado 80110 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.878                                                               Check all that apply.
           Eric Lewis __________________________________
                                                                     ☒ Contingent
           9950 E Mexico Ave #704 ______________________             ☒ Unliquidated
           Denver, Colorado 80247 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.879                                                               Check all that apply.
           Eli Leyba ___________________________________
                                                                     ☒ Contingent
           1519 S Galena Way #1217 ____________________              ☒ Unliquidated
           Aurora, Colorado 80247 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.880                                                               Check all that apply.
           Alexandria Licon _____________________________
                                                                     ☒ Contingent
           1728 E Abriendo Ave _________________________             ☒ Unliquidated
           Pueblo, Colorado 81004 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.881                                                               Check all that apply.
           Arleen Liddell _______________________________
                                                                     ☒ Contingent
           2664 S Xanadu Way #B _______________________              ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.882                                                               Check all that apply.
           Sarah Liebsock ______________________________
                                                                     ☒ Contingent
           8263 W Floyd Ave Apt 6-106 ___________________            ☒ Unliquidated
           Lakewood, Colorado 80227 ____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.883                                                               Check all that apply.
           Shelly M. Lindemann _________________________
                                                                     ☒ Contingent
           950 S Cimarron Way Apt G101 _________________             ☒ Unliquidated
           Aurora, Colorado 80012 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.884                                                               Check all that apply.
           Tiffany Lindsey ______________________________
                                                                     ☒ Contingent
           4221 Lipan St _______________________________             ☒ Unliquidated
           Denver, Colorado 80211 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.885                                                               Check all that apply.
           Jason Lintz _________________________________
                                                                     ☒ Contingent
           8600 E Alameda Ave #19-207 __________________             ☒ Unliquidated
           Denver, Colorado 80247 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.886                                                               Check all that apply.
           Matthew Lira ________________________________
                                                                     ☒ Contingent
           9451 WELBY ROAD #533 _____________________                ☒ Unliquidated
           Denver, Colorado 80229 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.887                                                               Check all that apply.
           Crystal Littleton ______________________________
                                                                     ☒ Contingent
           420 W 12th Ave Unit 1002 _____________________            ☒ Unliquidated
           Denver, Colorado 80204 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.888                                                               Check all that apply.
           Sandra Lizarraga ____________________________
                                                                     ☒ Contingent
           213 16th Ave _______________________________              ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page151 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.889                                                               Check all that apply.
           Carlos Llamas Leyva _________________________
                                                                     ☒ Contingent
           1029 49th Ave Apt 1 __________________________            ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.890                                                               Check all that apply.
           Isaiah Loader _______________________________
                                                                     ☒ Contingent
           3826 W 7th St Road __________________________             ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.891                                                               Check all that apply.
           Mark L. Loehrig______________________________
                                                                     ☒ Contingent
           10700 E Dartmouth Ave Apt O211 _______________            ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.892                                                               Check all that apply.
           Leilani Loepp _______________________________
                                                                     ☒ Contingent
           15933 E 112th Pl ____________________________             ☒ Unliquidated
           Commerce City, Colorado 80022 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.893                                                               Check all that apply.
           Latrice M. Logan _____________________________
                                                                     ☒ Contingent
           11400 E Peakview Ave #2101 __________________             ☒ Unliquidated
           Englewood, Colorado 80111 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.894                                                               Check all that apply.
           Timothy Loghry ______________________________
                                                                     ☒ Contingent
           2728 Winnipeg St ____________________________             ☒ Unliquidated
           Pueblo, Colorado 81004 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page152 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.895                                                               Check all that apply.
           Laura Loma ________________________________
                                                                     ☒ Contingent
           3318 W 7th St Apt 6 __________________________            ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.896                                                               Check all that apply.
           Luke James Lombardi-Marsh ___________________
                                                                     ☒ Contingent
           1030 E 90th Ave _____________________________             ☒ Unliquidated
           Thornton, Colorado 80229 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.897                                                               Check all that apply.
           Jennifer Lomeli ______________________________
                                                                     ☒ Contingent
           9658 Harris Cir ______________________________            ☒ Unliquidated
           Denver, Colorado 80229 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.898                                                               Check all that apply.
           Kendraann Long _____________________________
                                                                     ☒ Contingent
           9150 Gale Blvd Unit 2_________________________            ☒ Unliquidated
           Thornton, Colorado 80260 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.899                                                               Check all that apply.
           Martha L. Long ______________________________
                                                                     ☒ Contingent
           8794 W. 76th Ave. ___________________________             ☒ Unliquidated
           Arvada, Colorado 80005 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.900                                                               Check all that apply.
           Jason I. Looney _____________________________
                                                                     ☒ Contingent
           388 Southland Dr E __________________________             ☒ Unliquidated
           London, Kentucky 40744 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.901                                                               Check all that apply.
           Brandi Lopez _______________________________
                                                                     ☒ Contingent
           4812 Beach Ct ______________________________              ☒ Unliquidated
           Denver, Colorado 80221 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.902                                                               Check all that apply.
           Demetrius L. Lopez __________________________
                                                                     ☒ Contingent
           6718 S Holland Way __________________________             ☒ Unliquidated
           Littleton, Colorado 80128 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.903                                                               Check all that apply.
           Marissa Lopez ______________________________
                                                                     ☒ Contingent
           6970 Osage St Unit C_________________________             ☒ Unliquidated
           Denver, Colorado 80221 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.904                                                               Check all that apply.
           Juliet Lopez ________________________________
                                                                     ☒ Contingent
           6600 8th St #4303 ___________________________             ☒ Unliquidated
           Greeley, Colorado 80634 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.905                                                               Check all that apply.
           Christina Lopez______________________________
                                                                     ☒ Contingent
           5731 W 92nd Ave Apt 126 _____________________             ☒ Unliquidated
           Westminster, Colorado 80031 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.906                                                               Check all that apply.
           Jazmin Lopez _______________________________
                                                                     ☒ Contingent
           6978 Colorado Blvd #2A_______________________             ☒ Unliquidated
           Commerce City, Colorado 80022 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.907                                                               Check all that apply.
           Mai Lor ____________________________________
                                                                     ☒ Contingent
           7235 Tennyson St Apt D ______________________             ☒ Unliquidated
           Westminster, Colorado 80030 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.908                                                               Check all that apply.
           Charles Lotz ________________________________
                                                                     ☒ Contingent
           3580 Van Teylingen Dr ________________________            ☒ Unliquidated
           Colorado Sprgs, Colorado 80917 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.909                                                               Check all that apply.
           Peter Loughran ______________________________
                                                                     ☒ Contingent
           21 Rd 5772 _________________________________              ☒ Unliquidated
           Farmington, New Mexico 87401 _________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.910                                                               Check all that apply.
           Stacy Lovato ________________________________
                                                                     ☒ Contingent
           404 E 1st St ________________________________             ☒ Unliquidated
           Ordway, Colorado 81063 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.911                                                               Check all that apply.
           Heather Love _______________________________
                                                                     ☒ Contingent
           1600 Glenarm Pl Apt 1609 _____________________            ☒ Unliquidated
           Denver, Colorado 80202 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.912                                                               Check all that apply.
           Samihah Lovelace ___________________________
                                                                     ☒ Contingent
           1095 Tennyson St ___________________________              ☒ Unliquidated
           Denver, Colorado 80204 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page155 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.913                                                               Check all that apply.
           Kiana Lovett ________________________________
                                                                     ☒ Contingent
           15555 E 40th Ave Unit 10 ______________________           ☒ Unliquidated
           Denver, Colorado 80239 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.914                                                               Check all that apply.
           Jack Lovett _________________________________
                                                                     ☒ Contingent
           1502 Wicklow Ln ____________________________              ☒ Unliquidated
           Fort Collins, Colorado 80526 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.915                                                               Check all that apply.
           Ezra Lowe _________________________________
                                                                     ☒ Contingent
           15925 E Radcliff Pl #B ________________________           ☒ Unliquidated
           Aurora, Colorado 80015 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.916                                                               Check all that apply.
           John P. Lowery ______________________________
                                                                     ☒ Contingent
           2692 Cherry Cir _____________________________             ☒ Unliquidated
           Brighton, Colorado 80601 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.917                                                               Check all that apply.
           Caylynn Lucero______________________________
                                                                     ☒ Contingent
           3175 S Winona Ct. ___________________________             ☒ Unliquidated
           Denver, Colorado 80236 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.918                                                               Check all that apply.
           Dena Lucero ________________________________
                                                                     ☒ Contingent
           2500 High St ________________________________             ☒ Unliquidated
           Canon City, Colorado 81212 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page156 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.919                                                               Check all that apply.
           Janice Lucero _______________________________
                                                                     ☒ Contingent
           6113 UNO ST _______________________________               ☒ Unliquidated
           Arvada, Colorado 80003 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.920                                                               Check all that apply.
           Celina Lucero _______________________________
                                                                     ☒ Contingent
           1911 Hollywood Dr ___________________________             ☒ Unliquidated
           Pueblo, Colorado 81005 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.921                                                               Check all that apply.
           Yvonne Lucero ______________________________
                                                                     ☒ Contingent
           2917 Ridgeview Cir Apt A ______________________           ☒ Unliquidated
           Erie, Colorado 80516 _________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.922                                                               Check all that apply.
           Adam A. Lucero _____________________________
                                                                     ☒ Contingent
           1828 Lakeside Dr ____________________________             ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.923                                                               Check all that apply.
           Leandra J. Lucero____________________________
                                                                     ☒ Contingent
           19487 E 62nd Ave ___________________________              ☒ Unliquidated
           Aurora, Colorado 80019 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.924                                                               Check all that apply.
           Cynthia Lucio _______________________________
                                                                     ☒ Contingent
           6437 Stuart St_______________________________             ☒ Unliquidated
           Arvada, Colorado 80003 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.925                                                               Check all that apply.
           Adam Luera ________________________________
                                                                     ☒ Contingent
           9893 Fairwood St ____________________________             ☒ Unliquidated
           Littleton, Colorado 80125 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.926                                                               Check all that apply.
           Eduardo Luevano ____________________________
                                                                     ☒ Contingent
           4769 Williams St _____________________________            ☒ Unliquidated
           Denver, Colorado 80216 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.927                                                               Check all that apply.
           Mindy Lujan ________________________________
                                                                     ☒ Contingent
           1907 14TH STREET__________________________                ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.928                                                               Check all that apply.
           Erica M. Lujan_______________________________
                                                                     ☒ Contingent
           1723 Railroad Diagonal _______________________            ☒ Unliquidated
           Evans, Colorado 80620 _______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.929                                                               Check all that apply.
           Armando Luna ______________________________
                                                                     ☒ Contingent
           13070 Tamarac St ___________________________              ☒ Unliquidated
           Thornton, Colorado 80602 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.930                                                               Check all that apply.
           Juan Jose Luna-Carillo ________________________
                                                                     ☒ Contingent
           3060 E Bridge St Lot 45 _______________________           ☒ Unliquidated
           Brighton, Colorado 80601 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.931                                                               Check all that apply.
           Bradley E. Lundy ____________________________
                                                                     ☒ Contingent
           1768 E. 96th Dr. _____________________________            ☒ Unliquidated
           Denver, Colorado 80229 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.932                                                               Check all that apply.
           Joshua D. Lutz ______________________________
                                                                     ☒ Contingent
           20193 E Batavia Dr __________________________             ☒ Unliquidated
           Aurora, Colorado 80011 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.933                                                               Check all that apply.
           Pamela Ly _________________________________
                                                                     ☒ Contingent
           15020 E Lehigh Ave __________________________             ☒ Unliquidated
           Aurora, Colorado 80014 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.934                                                               Check all that apply.
           Joshua Lyles________________________________
                                                                     ☒ Contingent
           4011 Rosewood Dr ___________________________              ☒ Unliquidated
           Dover, Delaware 19901 _______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.935                                                               Check all that apply.
           Efren Macan ________________________________
                                                                     ☒ Contingent
           15390 E Evans Ave Apt 101 ____________________            ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.936                                                               Check all that apply.
           Clayton Mace _______________________________
                                                                     ☒ Contingent
           322 S Chelton Rd ____________________________             ☒ Unliquidated
           Colorado Sprgs, Colorado 80910 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page159 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.937                                                               Check all that apply.
           Stephanie Macias ____________________________
                                                                     ☒ Contingent
           8681 E 104th Ave ____________________________             ☒ Unliquidated
           Henderson, Colorado 80640 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.938                                                               Check all that apply.
           Scott A. Macinnes____________________________
                                                                     ☒ Contingent
           21588 E Crestline Ln _________________________            ☒ Unliquidated
           Centennial, Colorado 80015 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.939                                                               Check all that apply.
           Amber C. Mack ______________________________
                                                                     ☒ Contingent
           9045 E Girard Ave #55 ________________________            ☒ Unliquidated
           Denver, Colorado 80231 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.940                                                               Check all that apply.
           Jodie Madrid ________________________________
                                                                     ☒ Contingent
           12153 Melody Dr. Apt 21-303 ___________________           ☒ Unliquidated
           Denver, Colorado 80234 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.941                                                               Check all that apply.
           Sonia V. Madrid _____________________________
                                                                     ☒ Contingent
           7885 S Logan St _____________________________             ☒ Unliquidated
           Littleton, Colorado 80122 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.942                                                               Check all that apply.
           Vanessa Madril ______________________________
                                                                     ☒ Contingent
           3945 S Federal Blvd Unit A ____________________           ☒ Unliquidated
           Englewood, Colorado 80110 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.943                                                               Check all that apply.
           Joseph A. Maes _____________________________
                                                                     ☒ Contingent
           400 Hickory St Lot 19 _________________________           ☒ Unliquidated
           Fort Collins, Colorado 80524 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.944                                                               Check all that apply.
           Amanda Maestas ____________________________
                                                                     ☒ Contingent
           2840 W 116th Pl #101 ________________________             ☒ Unliquidated
           Denver, Colorado 80234 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.945                                                               Check all that apply.
           Donna Maez ________________________________
                                                                     ☒ Contingent
           13274 Lackland Dr ___________________________             ☒ Unliquidated
           Denver, Colorado 80239 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.946                                                               Check all that apply.
           Erika Maggard ______________________________
                                                                     ☒ Contingent
           8354 S Holland Way #201 _____________________             ☒ Unliquidated
           Littleton, Colorado 80128 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.947                                                               Check all that apply.
           Tiffany Mahaso ______________________________
                                                                     ☒ Contingent
           9180 Norway Ct _____________________________              ☒ Unliquidated
           Parker, Colorado 80134 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.948                                                               Check all that apply.
           Christine Mahaxay ___________________________
                                                                     ☒ Contingent
           8525 W 53rd Ave Apt 202 _____________________             ☒ Unliquidated
           Arvada, Colorado 80002 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.949                                                               Check all that apply.
           Amber Mahaxay _____________________________
                                                                     ☒ Contingent
           8305 NW 161st Terrace _______________________             ☒ Unliquidated
           Edmond, Oklahoma 73013 _____________________              ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.950                                                               Check all that apply.
           Cory Maj ___________________________________
                                                                     ☒ Contingent
           11764 Elizabeth Cir __________________________            ☒ Unliquidated
           Denver, Colorado 80233 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.951                                                               Check all that apply.
           Ruben Maldonado ___________________________
                                                                     ☒ Contingent
           672 Ingalls St _______________________________            ☒ Unliquidated
           Denver, Colorado 80214 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.952                                                               Check all that apply.
           Jessica Maldonado ___________________________
                                                                     ☒ Contingent
           2501 Ash Ave Apt 32 _________________________             ☒ Unliquidated
           Greeley, Colorado 80631 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.953                                                               Check all that apply.
           Samuel David Maldonado _____________________
                                                                     ☒ Contingent
           11154 Dexter Dr _____________________________             ☒ Unliquidated
           Thornton, Colorado 80233 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.954                                                               Check all that apply.
           Maricela Maldonado __________________________
                                                                     ☒ Contingent
           6500 E 88th Ave Lot 122 ______________________            ☒ Unliquidated
           Henderson, Colorado 80640 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.955                                                               Check all that apply.
           Ivory Manis _________________________________
                                                                     ☒ Contingent
           19420 E 61st Dr _____________________________             ☒ Unliquidated
           Aurora, Colorado 80019 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.956                                                               Check all that apply.
           Harold E. Manley ____________________________
                                                                     ☒ Contingent
           2225 Karakul Dr _____________________________             ☒ Unliquidated
           Fort Collins, Colorado 80526 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.957                                                               Check all that apply.
           Cristal Manriquez ____________________________
                                                                     ☒ Contingent
           3653 S Olathe St ____________________________             ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.958                                                               Check all that apply.
           Joshua Manzanares __________________________
                                                                     ☒ Contingent
           265 Cleveland Ct ____________________________             ☒ Unliquidated
           Bennett, Colorado 80102 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.959                                                               Check all that apply.
           Fantasia Manzanares _________________________
                                                                     ☒ Contingent
           484 Tracy Dr Apt 2 ___________________________            ☒ Unliquidated
           Clifton, Colorado 81520 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.960                                                               Check all that apply.
           Deanna Marcen _____________________________
                                                                     ☒ Contingent
           208 Starlite Dr_______________________________            ☒ Unliquidated
           Pueblo, Colorado 81005 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.961                                                               Check all that apply.
           Joyce Marquez ______________________________
                                                                     ☒ Contingent
           4102 E 107th Court __________________________             ☒ Unliquidated
           Thornton, Colorado 80233 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.962                                                               Check all that apply.
           Justine M. Marquez __________________________
                                                                     ☒ Contingent
           12132 Locust St _____________________________             ☒ Unliquidated
           Brighton, Colorado 80602 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.963                                                               Check all that apply.
           Candace M. Marshall _________________________
                                                                     ☒ Contingent
           1185 Clinton St ______________________________            ☒ Unliquidated
           Aurora, Colorado 80010 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.964                                                               Check all that apply.
           Kaitlyne Marsolek ____________________________
                                                                     ☒ Contingent
           12033 W Yuma St ___________________________               ☒ Unliquidated
           Avondale, Arizona 85323 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.965                                                               Check all that apply.
           Kimberly Dawn Martel ________________________
                                                                     ☒ Contingent
           2060 W 10th Avenue #G205 ___________________              ☒ Unliquidated
           Broomfield, Colorado 80020 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.966                                                               Check all that apply.
           Gabrial G. Martel ____________________________
                                                                     ☒ Contingent
           2060 W 10TH AVE APT G205 __________________               ☒ Unliquidated
           Broomfield, Colorado 80020 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.967                                                               Check all that apply.
           Marlene Martin ______________________________
                                                                     ☒ Contingent
           15069 E Mexico Dr. __________________________             ☒ Unliquidated
           Aurora, Colorado 80012 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.968                                                               Check all that apply.
           Kellie K. Martin ______________________________
                                                                     ☒ Contingent
           5811 Flax Trl. _______________________________            ☒ Unliquidated
           Billings, Montana 59106 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.969                                                               Check all that apply.
           Shaul Martin ________________________________
                                                                     ☒ Contingent
           8405 E Hampden Ave #6K _____________________              ☒ Unliquidated
           Denver, Colorado 80231 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.970                                                               Check all that apply.
           Rob Martin _________________________________
                                                                     ☒ Contingent
           1324 S Francis St ____________________________            ☒ Unliquidated
           Longmont, Colorado 80501 ____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.971                                                               Check all that apply.
           Gina R. Martin ______________________________
                                                                     ☒ Contingent
           1920 S Hannibal St #A ________________________            ☒ Unliquidated
           Aurora, Colorado 80013 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.972                                                               Check all that apply.
           Natasha D. Martin____________________________
                                                                     ☒ Contingent
           364 S Xanadu St ____________________________              ☒ Unliquidated
           Aurora, Colorado 80012 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 164 of 292
         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page165 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.973                                                               Check all that apply.
           Timothy Martin ______________________________
                                                                     ☒ Contingent
           2602 Timberwood Dr. Unit 35 ___________________           ☒ Unliquidated
           Fort Collins, Colorado 80528 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.974                                                               Check all that apply.
           Daniel A. Martinez ___________________________
                                                                     ☒ Contingent
           2904 Pinyon Ave Apt B________________________             ☒ Unliquidated
           Grand Junction, Colorado 81504 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.975                                                               Check all that apply.
           Travis Martinez ______________________________
                                                                     ☒ Contingent
           4720 S. Dudley St. Apt 42 _____________________           ☒ Unliquidated
           Littleton, Colorado 80123 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.976                                                               Check all that apply.
           Evangaline Martinez __________________________
                                                                     ☒ Contingent
           4227 Lipan St _______________________________             ☒ Unliquidated
           Denver, Colorado 80211 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.977                                                               Check all that apply.
           Sindy Martinez ______________________________
                                                                     ☒ Contingent
           831 Hamilton St _____________________________             ☒ Unliquidated
           Sterling, Colorado 80751 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.978                                                               Check all that apply.
           Christopher P. Martinez _______________________
                                                                     ☒ Contingent
           8873 Colorado Blvd Apt 104 ____________________           ☒ Unliquidated
           Denver, Colorado 80229 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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         Case:24-16031-KHT Doc#:17 Filed:10/28/24                                 Entered:10/28/24 15:32:21 Page166 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.979                                                               Check all that apply.
           Maria Martinez ______________________________
                                                                     ☒ Contingent
           8129 S Mobile Way __________________________              ☒ Unliquidated
           Englewood, Colorado 80112 ___________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.980                                                               Check all that apply.
           Arcadia Martinez_____________________________
                                                                     ☒ Contingent
           425 S 28th Ln _______________________________             ☒ Unliquidated
           Brighton, Colorado 80601 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.981                                                               Check all that apply.
           Theresa Martinez ____________________________
                                                                     ☒ Contingent
           4205 Cottonwood Lakes Blvd ___________________            ☒ Unliquidated
           Denver, Colorado 80241 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.982                                                               Check all that apply.
           Bernita Martinez _____________________________
                                                                     ☒ Contingent
           2680 B 1/2 Rd. Apt 31B _______________________            ☒ Unliquidated
           Grand Junction, Colorado 81503 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.983                                                               Check all that apply.
           Hannah Martinez ____________________________
                                                                     ☒ Contingent
           3322 W 134th Ave ___________________________              ☒ Unliquidated
           Broomfield, Colorado 80020 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.984                                                               Check all that apply.
           Dawn Martinez ______________________________
                                                                     ☒ Contingent
           8189 Birch Dr _______________________________             ☒ Unliquidated
           Rye, Colorado 81069 _________________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.985                                                               Check all that apply.
           Maryah Martinez _____________________________
                                                                     ☒ Contingent
           2026 Carlee Dr Apt A11 _______________________            ☒ Unliquidated
           Pueblo, Colorado 81005 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.986                                                               Check all that apply.
           Melissa Martinez_____________________________
                                                                     ☒ Contingent
           2800 W. 103rd Ave. Apt 1618___________________            ☒ Unliquidated
           Federal Heights, Colorado 80260 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.987                                                               Check all that apply.
           Adilene Martinez _____________________________
                                                                     ☒ Contingent
           3609 Twilight Dr Lot 27 ________________________          ☒ Unliquidated
           Rapid City, South Dakota 57703 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.988                                                               Check all that apply.
           John Martinez _______________________________
                                                                     ☒ Contingent
           6503 S Steele St_____________________________             ☒ Unliquidated
           Littleton, Colorado 80121 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.989                                                               Check all that apply.
           Ramiro Martinez _____________________________
                                                                     ☒ Contingent
           9970 W 59th Ave #303 ________________________             ☒ Unliquidated
           Arvada, Colorado 80004 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.990                                                               Check all that apply.
           Taylor Lauriana Martinez ______________________
                                                                     ☒ Contingent
           9536 Dexter Ln ______________________________             ☒ Unliquidated
           Thornton, Colorado 80229 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                             page 167 of 292
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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:   Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.991                                                               Check all that apply.
           Daniel Martinez______________________________
                                                                     ☒ Contingent
           24 S Holman Way #A1 ________________________              ☒ Unliquidated
           Golden, Colorado 80401 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.992                                                               Check all that apply.
           Eva V. Martinez- Martinez _____________________
                                                                     ☒ Contingent
           7481 Beach Ct ______________________________              ☒ Unliquidated
           Westminster, Colorado 80030 __________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.993                                                               Check all that apply.
           Teresa D. Martinez ___________________________
                                                                     ☒ Contingent
           7343 E 7th Ave ______________________________             ☒ Unliquidated
           Denver, Colorado 80230 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.994                                                               Check all that apply.
           David A. Martinez ____________________________
                                                                     ☒ Contingent
           3601 N Willliams St __________________________            ☒ Unliquidated
           Denver, Colorado 80205 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.995                                                               Check all that apply.
           Isabel Martinez ______________________________
                                                                     ☒ Contingent
           5924 Monaco St Ste A ________________________             ☒ Unliquidated
           Commerce City, Colorado 80022 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
           Nonpriority creditor’s name and mailing address           As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.996                                                               Check all that apply.
           David Martinez ______________________________
                                                                     ☒ Contingent
           3999 N Colorado Blvd #310 ____________________            ☒ Unliquidated
           Denver, Colorado 80205 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
           Date or dates debt was incurred ______________            Is the claim subject to offset?
                                                                     ☒ No
           Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.997                                                               Check all that apply.
            Julian Martinez ______________________________
                                                                     ☒ Contingent
            4262 Apollo Village Cir #A _____________________         ☒ Unliquidated
            Colorado Sprgs, Colorado 80916 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.998                                                               Check all that apply.
            Melanie Martinez ____________________________
                                                                     ☒ Contingent
            1428 Sunnyside St ___________________________            ☒ Unliquidated
            Littleton, Colorado 80126 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.999                                                               Check all that apply.
            Jose Hidalgo- Martinez ________________________
                                                                     ☒ Contingent
            8009 Greenwood Blvd ________________________             ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1000                                                              Check all that apply.
            Kristen Martinez _____________________________
                                                                     ☒ Contingent
            1114 Cherry Ct ______________________________            ☒ Unliquidated
            Fort Lupton, Colorado 80621 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1001                                                              Check all that apply.
            Deno O. Martinez ____________________________
                                                                     ☒ Contingent
            7206 W 84th Way Apt 816 _____________________            ☒ Unliquidated
            Arvada, Colorado 80003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1002                                                              Check all that apply.
            Eric Martinez________________________________
                                                                     ☒ Contingent
            1720 Wabash St _____________________________             ☒ Unliquidated
            Denver, Colorado 80220 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1003                                                              Check all that apply.
            Danielle Martinez ____________________________
                                                                     ☒ Contingent
            6825 S. Field St. Apt 101 ______________________         ☒ Unliquidated
            Littleton, Colorado 80128 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1004                                                              Check all that apply.
            Tommy Martinez _____________________________
                                                                     ☒ Contingent
            2912 Bunting Ave ____________________________            ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1005                                                              Check all that apply.
            Anita Mascarenas ____________________________
                                                                     ☒ Contingent
            103 Mount Homestake Dr ______________________            ☒ Unliquidated
            Leadville, Colorado 80461 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1006                                                              Check all that apply.
            Kathalyne Mason ____________________________
                                                                     ☒ Contingent
            1450 Blue Sky Way Unit 12-202 _________________          ☒ Unliquidated
            Erie, Colorado 80516 _________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1007                                                              Check all that apply.
            Sierra Nicole Mason __________________________
                                                                     ☒ Contingent
            5202 Truckee St. ____________________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1008                                                              Check all that apply.
            Robert Matamores ___________________________
                                                                     ☒ Contingent
            3721 Devonshire Ln __________________________            ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1009                                                              Check all that apply.
            Kimberly Matchie ____________________________
                                                                     ☒ Contingent
            8901 Grant St Apt 933 ________________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1010                                                              Check all that apply.
            Vanessa Mateo______________________________
                                                                     ☒ Contingent
            33550 E State Hwy 96 Lot 213 __________________          ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1011                                                              Check all that apply.
            Rachelle V. Matossian ________________________
                                                                     ☒ Contingent
            3189 S Sedalia Way __________________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1012                                                              Check all that apply.
            Kelli Matz __________________________________
                                                                     ☒ Contingent
            9355 W 48th Ave Apt 11 _______________________           ☒ Unliquidated
            Wheat Ridge, Colorado 80033 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1013                                                              Check all that apply.
            Patience N. Mavinga _________________________
                                                                     ☒ Contingent
            800 S Ironton St Unit A301 _____________________         ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1014                                                              Check all that apply.
            Brandon May _______________________________
                                                                     ☒ Contingent
            3400 S Lowell Blvd Apt 13-302__________________          ☒ Unliquidated
            Denver, Colorado 80236 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page172 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1015                                                              Check all that apply.
            Casey J. McBee _____________________________
                                                                     ☒ Contingent
            368 E 88th Ave Apt 514 _______________________           ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1016                                                              Check all that apply.
            Cornell McCain ______________________________
                                                                     ☒ Contingent
            982 Vaughn St ______________________________             ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1017                                                              Check all that apply.
            Nancy McClure ______________________________
                                                                     ☒ Contingent
            915 S Honeysuckle Dr ________________________            ☒ Unliquidated
            Pueblo West, Colorado 81007 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1018                                                              Check all that apply.
            Katrina McCormick ___________________________
                                                                     ☒ Contingent
            445 1/2 Morning Dove Dr ______________________           ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1019                                                              Check all that apply.
            Ted McCune ________________________________
                                                                     ☒ Contingent
            3045 1/2 Mohawk Ave ________________________             ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1020                                                              Check all that apply.
            Guadalupe I. McDaniel ________________________
                                                                     ☒ Contingent
            1901 Constitution Rd Lot 34 ____________________         ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page173 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1021                                                              Check all that apply.
            Eric McDonald ______________________________
                                                                     ☒ Contingent
            3708 Valley View Ave _________________________           ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1022                                                              Check all that apply.
            Donna McDougall ____________________________
                                                                     ☒ Contingent
            12352 W Iowa Dr ____________________________             ☒ Unliquidated
            Denver, Colorado 80228 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1023                                                              Check all that apply.
            Robb P. McElhinney __________________________
                                                                     ☒ Contingent
            4872 E Kentucky Ave Unit B____________________           ☒ Unliquidated
            Denver, Colorado 80246 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1024                                                              Check all that apply.
            Mauriel McElveen ____________________________
                                                                     ☒ Contingent
            3267 Tucson St _____________________________             ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1025                                                              Check all that apply.
            Latrisha McElveen ___________________________
                                                                     ☒ Contingent
            3267 Tucson St _____________________________             ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1026                                                              Check all that apply.
            Whitney McGee _____________________________
                                                                     ☒ Contingent
            5223 Scranton St ____________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page174 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1027                                                              Check all that apply.
            Jackie McGee _______________________________
                                                                     ☒ Contingent
            708 Horizon Drive #140 _______________________           ☒ Unliquidated
            Grand Junction, Colorado 81506 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1028                                                              Check all that apply.
            Ryan McGlinchey ____________________________
                                                                     ☒ Contingent
            10200 Park Meadows Dr ______________________             ☒ Unliquidated
            Littleton, Colorado 80124 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1029                                                              Check all that apply.
            Candace McGuire____________________________
                                                                     ☒ Contingent
            197 Rincon Dr_______________________________             ☒ Unliquidated
            Grand Junction, Colorado 81503 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1030                                                              Check all that apply.
            Amanda R. McKay ___________________________
                                                                     ☒ Contingent
            430 Chipeta Ave Apt 21 _______________________           ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1031                                                              Check all that apply.
            Shean McKelvin _____________________________
                                                                     ☒ Contingent
            11731 Galapago Ct __________________________             ☒ Unliquidated
            Northglenn, Colorado 80234 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1032                                                              Check all that apply.
            Jericca Dasha McKeown ______________________
                                                                     ☒ Contingent
            1320 Anita St _______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1033                                                              Check all that apply.
            Vincent C. McKinnon _________________________
                                                                     ☒ Contingent
            1441 S. Nucla St. ____________________________           ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1034                                                              Check all that apply.
            Paul McKlem _______________________________
                                                                     ☒ Contingent
            29324 E US Highway 50 ______________________             ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1035                                                              Check all that apply.
            Bethany McLean_____________________________
                                                                     ☒ Contingent
            6766 Fairfax Dr ______________________________           ☒ Unliquidated
            Provo, Utah 84604 ___________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1036                                                              Check all that apply.
            Ashleigh McLeese ___________________________
                                                                     ☒ Contingent
            3825 S Monaco Pkwy Apt 131 __________________            ☒ Unliquidated
            Denver, Colorado 80237 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1037                                                              Check all that apply.
            Constance McMillan __________________________
                                                                     ☒ Contingent
            P.O. Box 26125 _____________________________             ☒ Unliquidated
            Colorado Sprgs, Colorado 80936 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1038                                                              Check all that apply.
            Sheena McMillan ____________________________
                                                                     ☒ Contingent
            1236 Saluda Rd. _____________________________            ☒ Unliquidated
            Chester, South Carolina 29706 _________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1039                                                              Check all that apply.
            Megan McMillen _____________________________
                                                                     ☒ Contingent
            10571 Colorado Blvd #F107 ____________________           ☒ Unliquidated
            THORTON, Colorado 80233 ___________________              ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1040                                                              Check all that apply.
            Terwanda McMoore __________________________
                                                                     ☒ Contingent
            5003 W 30th Ave ____________________________             ☒ Unliquidated
            Denver, Colorado 80212 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1041                                                              Check all that apply.
            Sharlene McNeeley __________________________
                                                                     ☒ Contingent
            641 Potomac St Apt 216 _______________________           ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1042                                                              Check all that apply.
            Ashley Dorothy Meachum _____________________
                                                                     ☒ Contingent
            4901 W 93rd Ave Apt 2123 ____________________            ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1043                                                              Check all that apply.
            Jason Mead ________________________________
                                                                     ☒ Contingent
            1085 W. 112th Ave. Unit B _____________________          ☒ Unliquidated
            Denver, Colorado 80234 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1044                                                              Check all that apply.
            Jacob Medina _______________________________
                                                                     ☒ Contingent
            6795 S Field St Apt 203 _______________________          ☒ Unliquidated
            Littleton, Colorado 80128 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1045                                                              Check all that apply.
            Karen Medina _______________________________
                                                                     ☒ Contingent
            6145 Chase St ______________________________             ☒ Unliquidated
            Arvada, Colorado 80003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1046                                                              Check all that apply.
            Brooke Medina ______________________________
                                                                     ☒ Contingent
            4839 S. QUINTERO ST. _______________________             ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1047                                                              Check all that apply.
            Priscilla Medrano ____________________________
                                                                     ☒ Contingent
            5211 W 11th Street Rd ________________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1048                                                              Check all that apply.
            Cody Meidinger _____________________________
                                                                     ☒ Contingent
            334 BERWICK AVE __________________________               ☒ Unliquidated
            Firestone, Colorado 80520 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1049                                                              Check all that apply.
            Jose L. Mejia _______________________________
                                                                     ☒ Contingent
            25464 E 5th Ave _____________________________            ☒ Unliquidated
            Aurora, Colorado 80018 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1050                                                              Check all that apply.
            Tsega Mekonnen ____________________________
                                                                     ☒ Contingent
            24357 E Ada Ave ____________________________             ☒ Unliquidated
            Aurora, Colorado 80018 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1051                                                              Check all that apply.
            Stephen Meleski _____________________________
                                                                     ☒ Contingent
            2504 16th Street _____________________________           ☒ Unliquidated
            Two Rivers, Wisconsin 54241 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1052                                                              Check all that apply.
            Florencia Melgarejo __________________________
                                                                     ☒ Contingent
            4375 S Granby Way __________________________             ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1053                                                              Check all that apply.
            Debra Y. Melton _____________________________
                                                                     ☒ Contingent
            13363 E Asbury Dr Apt 202 ____________________           ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1054                                                              Check all that apply.
            Lazaro Menchaca ____________________________
                                                                     ☒ Contingent
            5006 Griffith Ave _____________________________          ☒ Unliquidated
            Cheyenne, Wyoming 82009 ____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1055                                                              Check all that apply.
            Patricia A. Mendez ___________________________
                                                                     ☒ Contingent
            205 N 50th Ave ______________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1056                                                              Check all that apply.
            Erika Mendoza ______________________________
                                                                     ☒ Contingent
            520 10th Ave Unit C __________________________           ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1057                                                              Check all that apply.
            Tom M. Mendoza ____________________________
                                                                     ☒ Contingent
            1709 27th St ________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1058                                                              Check all that apply.
            Mario Julio Mendoza _________________________
                                                                     ☒ Contingent
            32 S Amherst St _____________________________            ☒ Unliquidated
            Castle Rock, Colorado 80104 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1059                                                              Check all that apply.
            Rachel Mendoza_____________________________
                                                                     ☒ Contingent
            350 W 114th Ave #1801 _______________________            ☒ Unliquidated
            Northglenn, Colorado 80234 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1060                                                              Check all that apply.
            Sulma Mendoza-Rios _________________________
                                                                     ☒ Contingent
            1608 Newark St _____________________________             ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1061                                                              Check all that apply.
            Ruben Mercado _____________________________
                                                                     ☒ Contingent
            1411 7th St _________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1062                                                              Check all that apply.
            Farale L. Miles ______________________________
                                                                     ☒ Contingent
            18425 E Flora Dr #F __________________________           ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page180 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1063                                                              Check all that apply.
            Torianne Millender ___________________________
                                                                     ☒ Contingent
            1134 Carrington Dr. __________________________           ☒ Unliquidated
            Saint Peters, Missouri 63376 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1064                                                              Check all that apply.
            Sheena Miller _______________________________
                                                                     ☒ Contingent
            2023 Carlee Dr Apt A _________________________           ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1065                                                              Check all that apply.
            Christine Miller ______________________________
                                                                     ☒ Contingent
            519 Gilpin St ________________________________           ☒ Unliquidated
            Otis, Colorado 80743 _________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1066                                                              Check all that apply.
            Elizabeth Miller ______________________________
                                                                     ☒ Contingent
            5604 S Sicily Cir _____________________________          ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1067                                                              Check all that apply.
            Robert Miller ________________________________
                                                                     ☒ Contingent
            2122 28th Ave Apt A__________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1068                                                              Check all that apply.
            Tshannon Miller _____________________________
                                                                     ☒ Contingent
            3711 W 68th Ave Apt 302F ____________________            ☒ Unliquidated
            Westminster, Colorado 80030 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1069                                                              Check all that apply.
            Karizma Miller _______________________________
                                                                     ☒ Contingent
            221 N. Logan Ave. ___________________________            ☒ Unliquidated
            Colorado Sprgs, Colorado 80909 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1070                                                              Check all that apply.
            Jerry Milligan _______________________________
                                                                     ☒ Contingent
            21412 E Crestridge Pl ________________________           ☒ Unliquidated
            Centennial, Colorado 80015 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1071                                                              Check all that apply.
            Erin Milliorn _________________________________
                                                                     ☒ Contingent
            5245 Timber Pl ______________________________            ☒ Unliquidated
            Elizabeth, Colorado 80107 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1072                                                              Check all that apply.
            Molly Milusnic _______________________________
                                                                     ☒ Contingent
            2700 Troy Ave Apt F624 _______________________           ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1073                                                              Check all that apply.
            Chad Minch ________________________________
                                                                     ☒ Contingent
            380 Terri Dr Apt 8 ____________________________          ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1074                                                              Check all that apply.
            Michael Miner _______________________________
                                                                     ☒ Contingent
            12255 Claude Court #1016 ____________________            ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1075                                                              Check all that apply.
            Dandrea Miner ______________________________
                                                                     ☒ Contingent
            11285 E Alameda Ave Apt 15___________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1076                                                              Check all that apply.
            Farah Minjares ______________________________
                                                                     ☒ Contingent
            332 N 11th Ave ______________________________            ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1077                                                              Check all that apply.
            Hannah Mints _______________________________
                                                                     ☒ Contingent
            710 Carbondale Dr #D ________________________            ☒ Unliquidated
            Dacono, Colorado 80514 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1078                                                              Check all that apply.
            Deidra Mitchek ______________________________
                                                                     ☒ Contingent
            5256 S Jellison St ____________________________          ☒ Unliquidated
            Littleton, Colorado 80123 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1079                                                              Check all that apply.
            Angela Mitchell ______________________________
                                                                     ☒ Contingent
            5935 Nora Pt Apt 103 _________________________           ☒ Unliquidated
            Colorado Sprgs, Colorado 80919 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1080                                                              Check all that apply.
            Michael Mixon_______________________________
                                                                     ☒ Contingent
            201 S Jasper Cir bldg 21-102 ___________________         ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1081                                                              Check all that apply.
            Kelly Mockerman ____________________________
                                                                     ☒ Contingent
            8860 Westminster Blvd Unit 462 ________________          ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1082                                                              Check all that apply.
            Bernard D. Mokalo ___________________________
                                                                     ☒ Contingent
            5442 Netherland St___________________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1083                                                              Check all that apply.
            Joshua Molina ______________________________
                                                                     ☒ Contingent
            319 S Hazel Ct #107 _________________________            ☒ Unliquidated
            Denver, Colorado 80219 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1084                                                              Check all that apply.
            Veronica M. Molina ___________________________
                                                                     ☒ Contingent
            7999 Kendall St _____________________________            ☒ Unliquidated
            Arvada, Colorado 80003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1085                                                              Check all that apply.
            Brandy Monarrez ____________________________
                                                                     ☒ Contingent
            7981 Olive St _______________________________            ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1086                                                              Check all that apply.
            Liz Montalvo ________________________________
                                                                     ☒ Contingent
            2507 Balsam Ave ____________________________             ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1087                                                              Check all that apply.
            Joaquin Montano ____________________________
                                                                     ☒ Contingent
            10405 Horseback Ridge Ave ___________________            ☒ Unliquidated
            Las Vegas, Nevada 89144 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1088                                                              Check all that apply.
            Therese Montez _____________________________
                                                                     ☒ Contingent
            27908 Iris Rd _______________________________            ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1089                                                              Check all that apply.
            Michael Montoya ____________________________
                                                                     ☒ Contingent
            5281 Goshawk St ____________________________             ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1090                                                              Check all that apply.
            John Montoya _______________________________
                                                                     ☒ Contingent
            12793 Yates Cir _____________________________            ☒ Unliquidated
            Broomfield, Colorado 80020 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1091                                                              Check all that apply.
            Kimberley Montoya ___________________________
                                                                     ☒ Contingent
            718 E 5th St ________________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1092                                                              Check all that apply.
            Jennifer M. Montoya __________________________
                                                                     ☒ Contingent
            c/o Payday Loan Debt Relief ___________________          ☒ Unliquidated
            Clarksville, Tennessee 37042___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1093                                                              Check all that apply.
            Josephine M. Montoya ________________________
                                                                     ☒ Contingent
            4343 Liverpool Ct ____________________________           ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1094                                                              Check all that apply.
            Israel Montoya ______________________________
                                                                     ☒ Contingent
            210 Coolidge Ct _____________________________            ☒ Unliquidated
            Bennett, Colorado 80102 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1095                                                              Check all that apply.
            David I. Montoya_____________________________
                                                                     ☒ Contingent
            10910 Rosalie Dr ____________________________            ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1096                                                              Check all that apply.
            Trina Montoya_______________________________
                                                                     ☒ Contingent
            9736 Elizabeth St ____________________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1097                                                              Check all that apply.
            Oscar Montoya-Ramos ________________________
                                                                     ☒ Contingent
            10767 E Virginia Ave Unit L ____________________         ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1098                                                              Check all that apply.
            Crystal V. Moon _____________________________
                                                                     ☒ Contingent
            11310 Melody Dr #8-106 ______________________            ☒ Unliquidated
            Denver, Colorado 80234 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1099                                                              Check all that apply.
            Gloria M. Moore _____________________________
                                                                     ☒ Contingent
            10248 Kimberwick Dr _________________________            ☒ Unliquidated
            Littleton, Colorado 80125 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1100                                                              Check all that apply.
            Tiffany Moore _______________________________
                                                                     ☒ Contingent
            484 S Saunders Dr W _________________________            ☒ Unliquidated
            Pueblo West, Colorado 81007 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1101                                                              Check all that apply.
            Joshua D. Moore ____________________________
                                                                     ☒ Contingent
            2150 W 15th St Apt 103B ______________________           ☒ Unliquidated
            Loveland, Colorado 80538 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1102                                                              Check all that apply.
            Robert Moore _______________________________
                                                                     ☒ Contingent
            1430 Main St _______________________________             ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1103                                                              Check all that apply.
            Kathleen A. Moore ___________________________
                                                                     ☒ Contingent
            1840 Linden Ave Apt 1 ________________________           ☒ Unliquidated
            Grand Junction, Colorado 81503 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1104                                                              Check all that apply.
            Rochelle M. Moore ___________________________
                                                                     ☒ Contingent
            19303 E 57th Ave Apt 102 _____________________           ☒ Unliquidated
            Aurora, Colorado 80019 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page187 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1105                                                              Check all that apply.
            David M. Moore _____________________________
                                                                     ☒ Contingent
            11310 Melody Dr Apt 1-308 ____________________           ☒ Unliquidated
            Northglenn, Colorado 80234 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1106                                                              Check all that apply.
            Beverly Moraga _____________________________
                                                                     ☒ Contingent
            7650 Pennsylvania Ct_________________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1107                                                              Check all that apply.
            Raymond Morales ___________________________
                                                                     ☒ Contingent
            2818 Kendall St Apt 304 _______________________          ☒ Unliquidated
            Denver, Colorado 80214 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1108                                                              Check all that apply.
            Jorge De La Rosa- Morales ____________________
                                                                     ☒ Contingent
            1954 W. 76th Ave. Apt 1004 ____________________          ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1109                                                              Check all that apply.
            Daniel Moran _______________________________
                                                                     ☒ Contingent
            3456 N Downing St___________________________             ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1110                                                              Check all that apply.
            Ben Moreno ________________________________
                                                                     ☒ Contingent
            4695 Thompson Ct ___________________________             ☒ Unliquidated
            Denver, Colorado 80216 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page188 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1111                                                              Check all that apply.
            Eric Moreno ________________________________
                                                                     ☒ Contingent
            113 Iron Wedge Cir #203 ______________________           ☒ Unliquidated
            Parachute, Colorado 81635 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1112                                                              Check all that apply.
            Alexis Moreno _______________________________
                                                                     ☒ Contingent
            700 W 91st Ave Apt D302 _____________________            ☒ Unliquidated
            Thornton, Colorado 80260 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1113                                                              Check all that apply.
            Clayton H. Morgan ___________________________
                                                                     ☒ Contingent
            3445 Riva Ridge Pl Apt H201 ___________________          ☒ Unliquidated
            Fort Collins, Colorado 80526 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1114                                                              Check all that apply.
            Emma Morgan ______________________________
                                                                     ☒ Contingent
            3445 Riva Ridge Pl Apt H201 ___________________          ☒ Unliquidated
            Fort Collins, Colorado 80526 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1115                                                              Check all that apply.
            Finda Morlu_________________________________
                                                                     ☒ Contingent
            2383 S Vaughn Way #211 _____________________             ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1116                                                              Check all that apply.
            Alisha Morris ________________________________
                                                                     ☒ Contingent
            13037 Magnolia St ___________________________            ☒ Unliquidated
            Thornton, Colorado 80602 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page189 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1117                                                              Check all that apply.
            Shenika Mosley _____________________________
                                                                     ☒ Contingent
            10086 Henman Ter___________________________              ☒ Unliquidated
            Peyton, Colorado 80831 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1118                                                              Check all that apply.
            Thomas Moya _______________________________
                                                                     ☒ Contingent
            543 Hermosa St _____________________________             ☒ Unliquidated
            Brighton, Colorado 80603 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1119                                                              Check all that apply.
            Jose Moya _________________________________
                                                                     ☒ Contingent
            15902 E. MARISA PLACE _____________________              ☒ Unliquidated
            San Antonio, Texas 78247 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1120                                                              Check all that apply.
            Jennifer Mullins______________________________
                                                                     ☒ Contingent
            535 Roosevelt Ave Apt 405 ____________________           ☒ Unliquidated
            Pawtucket, Rhode Island 0 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1121                                                              Check all that apply.
            Alexjandro R. Munguia ________________________
                                                                     ☒ Contingent
            1233 S Joplin St _____________________________           ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1122                                                              Check all that apply.
            Matt Murcray________________________________
                                                                     ☒ Contingent
            7309 W Hampden Ave #3901___________________              ☒ Unliquidated
            Denver, Colorado 80227 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1123                                                              Check all that apply.
            Denise Murphy ______________________________
                                                                     ☒ Contingent
            1927 27th Ave ______________________________             ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1124                                                              Check all that apply.
            Candace L. Muse ____________________________
                                                                     ☒ Contingent
            6562 S Dover St _____________________________            ☒ Unliquidated
            Littleton, Colorado 80123 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1125                                                              Check all that apply.
            Angela R. Mushatt ___________________________
                                                                     ☒ Contingent
            2178 30th Street #512 ________________________           ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1126                                                              Check all that apply.
            Lydia M. Nabatyanga _________________________
                                                                     ☒ Contingent
            14204 E First Dr Apt C11 ______________________          ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1127                                                              Check all that apply.
            John Nair __________________________________
                                                                     ☒ Contingent
            10412 W Dartmouth Ave ______________________             ☒ Unliquidated
            Lakewood, Colorado 80227 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1128                                                              Check all that apply.
            Juan Naranjo _______________________________
                                                                     ☒ Contingent
            735 Galena St_______________________________             ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1129                                                              Check all that apply.
            Melissa M. Naranjo ___________________________
                                                                     ☒ Contingent
            1801 26th Avenue Ct _________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1130                                                              Check all that apply.
            Carlos Narquez______________________________
                                                                     ☒ Contingent
            1312 S Terry St _____________________________            ☒ Unliquidated
            Longmont, Colorado 80501 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1131                                                              Check all that apply.
            Hunpiya Nathan _____________________________
                                                                     ☒ Contingent
            4801 S Acoma St Apt 36 ______________________            ☒ Unliquidated
            Englewood, Colorado 80110 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1132                                                              Check all that apply.
            William D. Naugle ____________________________
                                                                     ☒ Contingent
            4300 Yellowbells Dr. __________________________          ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1133                                                              Check all that apply.
            Jessica Nava _______________________________
                                                                     ☒ Contingent
            795 Jessup St _______________________________            ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1134                                                              Check all that apply.
            Robert Navarro ______________________________
                                                                     ☒ Contingent
            9100 Tejon St Lot 188 ________________________           ☒ Unliquidated
            Denver, Colorado 80260 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1135                                                              Check all that apply.
            Nancy Navarro ______________________________
                                                                     ☒ Contingent
            2036 1st Ave Lot 299 _________________________           ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1136                                                              Check all that apply.
            Billy Nealon_________________________________
                                                                     ☒ Contingent
            6725 Fenton St ______________________________            ☒ Unliquidated
            Arvada, Colorado 80003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1137                                                              Check all that apply.
            Zachary Neideffer ____________________________
                                                                     ☒ Contingent
            14310 Grant St Apt 5-208 ______________________          ☒ Unliquidated
            Thornton, Colorado 80023 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1138                                                              Check all that apply.
            Shelly Neighbors ____________________________
                                                                     ☒ Contingent
            854 Uvalda St _______________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1139                                                              Check all that apply.
            Lisa Nelson _________________________________
                                                                     ☒ Contingent
            15450 E 13th Ave Apt 101 _____________________           ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1140                                                              Check all that apply.
            Kathrine Nelson _____________________________
                                                                     ☒ Contingent
            311 Cedar St _______________________________             ☒ Unliquidated
            Grand Junction, Colorado 81503 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page193 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1141                                                              Check all that apply.
            Mary D. Nevarez_____________________________
                                                                     ☒ Contingent
            5345 W 3rd Pl Apt 5 __________________________           ☒ Unliquidated
            Lakewood, Colorado 80226 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1142                                                              Check all that apply.
            Joseph Newgent _____________________________
                                                                     ☒ Contingent
            750 S Lafayette Dr #B307 _____________________           ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1143                                                              Check all that apply.
            Ryan M. Newman ____________________________
                                                                     ☒ Contingent
            PO Box 1801 _______________________________              ☒ Unliquidated
            Fairplay, Colorado 80440 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1144                                                              Check all that apply.
            Amanda Newton _____________________________
                                                                     ☒ Contingent
            4354 Threshing Dr. ___________________________           ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1145                                                              Check all that apply.
            Sang Nguyen _______________________________
                                                                     ☒ Contingent
            13712 E 13th Cir #A108 _______________________           ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1146                                                              Check all that apply.
            Stephanie Nichols____________________________
                                                                     ☒ Contingent
            9580 Ridgegate Pkwy #1421 ___________________            ☒ Unliquidated
            Littleton, Colorado 80124 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page194 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1147                                                              Check all that apply.
            Evan William Nickless ________________________
                                                                     ☒ Contingent
            485 Amethyst Ave ___________________________             ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1148                                                              Check all that apply.
            Garrett Nielsen ______________________________
                                                                     ☒ Contingent
            3266 E. Iona Rd._____________________________            ☒ Unliquidated
            Idaho Falls, Idaho 83401 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1149                                                              Check all that apply.
            Michael Nixon _______________________________
                                                                     ☒ Contingent
            PO Box 308 ________________________________              ☒ Unliquidated
            Hartsel, Colorado 80449 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1150                                                              Check all that apply.
            Lance E. Nixon ______________________________
                                                                     ☒ Contingent
            514 Potomac St Apt K ________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1151                                                              Check all that apply.
            Godwin Nnamezie ___________________________
                                                                     ☒ Contingent
            PO Box 5964 _______________________________              ☒ Unliquidated
            Breckenridge, Colorado 80424 __________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1152                                                              Check all that apply.
            Tamera K. Norcross __________________________
                                                                     ☒ Contingent
            2225 Cherry St ______________________________            ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1153                                                              Check all that apply.
            Paula Norman_______________________________
                                                                     ☒ Contingent
            2209 S Main St ______________________________            ☒ Unliquidated
            Canon City, Colorado 81212 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1154                                                              Check all that apply.
            Andy Nuanhngam ____________________________
                                                                     ☒ Contingent
            10001 E Evans Ave Apt 84A ___________________            ☒ Unliquidated
            Aurora, Colorado 80247 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1155                                                              Check all that apply.
            Florinda Nunez ______________________________
                                                                     ☒ Contingent
            32301 County Road 29________________________             ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1156                                                              Check all that apply.
            Reymundo Ochoa____________________________
                                                                     ☒ Contingent
            11514 Claude Ct_____________________________             ☒ Unliquidated
            Northglenn, Colorado 80233 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1157                                                              Check all that apply.
            John Odell _________________________________
                                                                     ☒ Contingent
            829 Chestnut St _____________________________            ☒ Unliquidated
            Canon City, Colorado 81212 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1158                                                              Check all that apply.
            Daisy Ojeda ________________________________
                                                                     ☒ Contingent
            404 E GROVE DRIVE ________________________               ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1159                                                              Check all that apply.
            Genelle Oliquino _____________________________
                                                                     ☒ Contingent
            4735 S Addison Ct Unit D ______________________          ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1160                                                              Check all that apply.
            Olivia Olivas Odea ___________________________
                                                                     ☒ Contingent
            37842 County Road 18________________________             ☒ Unliquidated
            Holyoke, Colorado 80734 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1161                                                              Check all that apply.
            Corie Olson_________________________________
                                                                     ☒ Contingent
            1212 Butte Rd Lot 14 _________________________           ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1162                                                              Check all that apply.
            Coralett Oreilly ______________________________
                                                                     ☒ Contingent
            1503 E 21st St Apt A _________________________           ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1163                                                              Check all that apply.
            Tina Orihuela _______________________________
                                                                     ☒ Contingent
            230 Little Creek Rd ___________________________          ☒ Unliquidated
            Idaho Springs, Colorado 80452 _________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1164                                                              Check all that apply.
            Vanessa A. Ornelas __________________________
                                                                     ☒ Contingent
            1615 Zuni Rd _______________________________             ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1165                                                              Check all that apply.
            Audrieanna Ortega ___________________________
                                                                     ☒ Contingent
            1821 Yakima Ln _____________________________             ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1166                                                              Check all that apply.
            Victor Ortega _______________________________
                                                                     ☒ Contingent
            2646 S. SHERIDAN BLVD _____________________              ☒ Unliquidated
            Denver, Colorado 80227 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1167                                                              Check all that apply.
            Joanna Ortiz ________________________________
                                                                     ☒ Contingent
            26900 E Colfax Ave Unit 390 ___________________          ☒ Unliquidated
            Aurora, Colorado 80018 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1168                                                              Check all that apply.
            Simon Ortiz _________________________________
                                                                     ☒ Contingent
            592 Grand Cascade Way ______________________             ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1169                                                              Check all that apply.
            Rebecca Ortiz _______________________________
                                                                     ☒ Contingent
            744 Mockingbird St Apt D106 ___________________          ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1170                                                              Check all that apply.
            Melissa Ortiz ________________________________
                                                                     ☒ Contingent
            9444 E 108th Ave #204 _______________________            ☒ Unliquidated
            Henderson, Colorado 80640 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1171                                                              Check all that apply.
            Ashley Osborne _____________________________
                                                                     ☒ Contingent
            425 9th Ave Unit 2 ___________________________           ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1172                                                              Check all that apply.
            Dannel Osthoff ______________________________
                                                                     ☒ Contingent
            3411 S Lincoln St Apt 1 _______________________          ☒ Unliquidated
            Englewood, Colorado 80113 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1173                                                              Check all that apply.
            Lucas Oversole______________________________
                                                                     ☒ Contingent
            10101 N. Washington St. #B113 ________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1174                                                              Check all that apply.
            William Owens ______________________________
                                                                     ☒ Contingent
            15477 W Port Royale Ln ______________________            ☒ Unliquidated
            Surpise, Arizona 85379 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1175                                                              Check all that apply.
            Jacobo Ramon Pacheco ______________________
                                                                     ☒ Contingent
            924 Quitman St______________________________             ☒ Unliquidated
            Denver, Colorado 80204 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1176                                                              Check all that apply.
            Pauliana Pacheco____________________________
                                                                     ☒ Contingent
            5224 Rim Rock Ln ___________________________             ☒ Unliquidated
            Fort Collins, Colorado 80526 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1177                                                              Check all that apply.
            William Padilla ______________________________
                                                                     ☒ Contingent
            527 W 4th St ________________________________            ☒ Unliquidated
            Walsenburg, Colorado 81089 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1178                                                              Check all that apply.
            Phillip Padilla _______________________________
                                                                     ☒ Contingent
            435 N 35th Ave Lot 487 _______________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1179                                                              Check all that apply.
            Nicole E. Padilla _____________________________
                                                                     ☒ Contingent
            13693 Krameria Way _________________________             ☒ Unliquidated
            Thornton, Colorado 80602 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1180                                                              Check all that apply.
            Irsa Padilla Pagan ___________________________
                                                                     ☒ Contingent
            200 Rampart Way Apt 212 _____________________            ☒ Unliquidated
            Denver, Colorado 80230 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1181                                                              Check all that apply.
            Melissa Pagan Garcia ________________________
                                                                     ☒ Contingent
            695 N Canvas Dr ____________________________             ☒ Unliquidated
            Pueblo West, Colorado 81007 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1182                                                              Check all that apply.
            Cody Pahach _______________________________
                                                                     ☒ Contingent
            8664 E 48th Ave #201 ________________________            ☒ Unliquidated
            Denver, Colorado 80238 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1183                                                              Check all that apply.
            Keii Palmer _________________________________
                                                                     ☒ Contingent
            4075 S Fundy Way ___________________________             ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1184                                                              Check all that apply.
            Anthony Palomar ____________________________
                                                                     ☒ Contingent
            12981 Randolph Pl ___________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1185                                                              Check all that apply.
            Jesus Carbajal Palomares _____________________
                                                                     ☒ Contingent
            526 24th Ave _______________________________             ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1186                                                              Check all that apply.
            Ester Palomino ______________________________
                                                                     ☒ Contingent
            2675 W Jewell Ave ___________________________            ☒ Unliquidated
            Denver, Colorado 80219 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1187                                                              Check all that apply.
            Susana Palomo _____________________________
                                                                     ☒ Contingent
            3529 Golden St______________________________             ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1188                                                              Check all that apply.
            ANGEL PANTOJA ___________________________
                                                                     ☒ Contingent
            5053 Jasper Ct ______________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page201 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1189                                                              Check all that apply.
            Quentin M. Pantoya __________________________
                                                                     ☒ Contingent
            9888 E Vassar Dr #B306 ______________________            ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1190                                                              Check all that apply.
            Rachelle Paplow _____________________________
                                                                     ☒ Contingent
            6088 S Lima St ______________________________            ☒ Unliquidated
            Englewood, Colorado 80111 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1191                                                              Check all that apply.
            Cherise Pardue______________________________
                                                                     ☒ Contingent
            3058 Uvalda St ______________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1192                                                              Check all that apply.
            DAMIAN PAREDES __________________________
                                                                     ☒ Contingent
            730 WILCOX ST. #101 ________________________             ☒ Unliquidated
            Castle Rock, Colorado 80104 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1193                                                              Check all that apply.
            Steven Parker _______________________________
                                                                     ☒ Contingent
            2207 E 12th St Apt 109 _______________________           ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1194                                                              Check all that apply.
            Michael A. Parks_____________________________
                                                                     ☒ Contingent
            7829 W 47th Ave ____________________________             ☒ Unliquidated
            Wheat Ridge, Colorado 80033 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page202 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1195                                                              Check all that apply.
            Jonas Parra ________________________________
                                                                     ☒ Contingent
            1425 Adams Ave. Apt 40 ______________________            ☒ Unliquidated
            El Centro, California 92243 ____________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1196                                                              Check all that apply.
            Natalie Parra________________________________
                                                                     ☒ Contingent
            577 Newark Ct ______________________________             ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1197                                                              Check all that apply.
            CRYSTAL PASILLAS _________________________
                                                                     ☒ Contingent
            6721 Palace Dr ______________________________            ☒ Unliquidated
            Colorado Sprgs, Colorado 80918 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1198                                                              Check all that apply.
            Karena Patel ________________________________
                                                                     ☒ Contingent
            4380 S Monaco St Unit 2075 ___________________           ☒ Unliquidated
            Denver, Colorado 80237 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1199                                                              Check all that apply.
            Aaron Patrick _______________________________
                                                                     ☒ Contingent
            9440 Hoffman Way Apt C206 ___________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1200                                                              Check all that apply.
            Shelby Paul ________________________________
                                                                     ☒ Contingent
            930 Silverqueen Rd __________________________            ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1201                                                              Check all that apply.
            Nancy C. Paul_______________________________
                                                                     ☒ Contingent
            3105 Ouray Ave _____________________________             ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1202                                                              Check all that apply.
            Cody Paz __________________________________
                                                                     ☒ Contingent
            11602 Community Center Dr ___________________            ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1203                                                              Check all that apply.
            William W. W. Pearl __________________________
                                                                     ☒ Contingent
            9391 Ellen Ct _______________________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1204                                                              Check all that apply.
            Marcus T. Peoples ___________________________
                                                                     ☒ Contingent
            1300 MILKY WAY APT 39B ____________________              ☒ Unliquidated
            DENVER, Colorado 80260 _____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1205                                                              Check all that apply.
            Patrice Peppers _____________________________
                                                                     ☒ Contingent
            2543 Meridian Pkwy #2304 ____________________            ☒ Unliquidated
            Durham, North Carolina 27713 __________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1206                                                              Check all that apply.
            Samantha I. Peralta __________________________
                                                                     ☒ Contingent
            3016 Sunset Dr______________________________             ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page204 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1207                                                              Check all that apply.
            Alicia Regina Perdue _________________________
                                                                     ☒ Contingent
            2134 W 21st st ______________________________            ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1208                                                              Check all that apply.
            Oscar Peregrino _____________________________
                                                                     ☒ Contingent
            2121 Settlers Dr _____________________________           ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1209                                                              Check all that apply.
            Vanessa Perez ______________________________
                                                                     ☒ Contingent
            825 W Pitkin Ave ____________________________            ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1210                                                              Check all that apply.
            Omar Perez ________________________________
                                                                     ☒ Contingent
            23413 E Dorado Pl Unit B _____________________           ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1211                                                              Check all that apply.
            Deresa Perez _______________________________
                                                                     ☒ Contingent
            1780 W 85th Ave Apt 302 ______________________           ☒ Unliquidated
            Denver, Colorado 80260 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1212                                                              Check all that apply.
            Carmen Perez ______________________________
                                                                     ☒ Contingent
            8000 E 12th Ave Apt 18-16 ____________________           ☒ Unliquidated
            Denver, Colorado 80220 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1213                                                              Check all that apply.
            Alexandro Perez _____________________________
                                                                     ☒ Contingent
            1940 Elmira St ______________________________            ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1214                                                              Check all that apply.
            Pat Perez Melendez __________________________
                                                                     ☒ Contingent
            2551 17th Ave ______________________________             ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1215                                                              Check all that apply.
            Wilber Perez-Albino __________________________
                                                                     ☒ Contingent
            150 S Sable Blvd #I105 _______________________           ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1216                                                              Check all that apply.
            Erwin Pete _________________________________
                                                                     ☒ Contingent
            8435 W Hampden Ave Apt 105 _________________             ☒ Unliquidated
            Denver, Colorado 80227 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1217                                                              Check all that apply.
            Jennifer Pettit _______________________________
                                                                     ☒ Contingent
            206 1/2 Colorado Ave _________________________           ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1218                                                              Check all that apply.
            BREE PHILLIPS _____________________________
                                                                     ☒ Contingent
            5063 S Elkhart Way Unit F _____________________          ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1219                                                              Check all that apply.
            Jessica Philman _____________________________
                                                                     ☒ Contingent
            13718 Cook St ______________________________             ☒ Unliquidated
            Thornton, Colorado 80602 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1220                                                              Check all that apply.
            Michael Phung ______________________________
                                                                     ☒ Contingent
            3860 Marshall St_____________________________            ☒ Unliquidated
            Wheat Ridge, Colorado 80033 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1221                                                              Check all that apply.
            Maria D. Hernandez Pichardo __________________
                                                                     ☒ Contingent
            860 W 132nd Ave Lot 315 _____________________            ☒ Unliquidated
            Denver, Colorado 80234 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1222                                                              Check all that apply.
            Tiffany Pieraldi ______________________________
                                                                     ☒ Contingent
            3954 S Richfield St ___________________________          ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1223                                                              Check all that apply.
            Dawn M. Pierner _____________________________
                                                                     ☒ Contingent
            238 E Harmony Rd #D9 _______________________             ☒ Unliquidated
            Fort Collins, Colorado 80525 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1224                                                              Check all that apply.
            Jordan Pierson ______________________________
                                                                     ☒ Contingent
            93 Tammie Dr _______________________________             ☒ Unliquidated
            Buena Vista, Colorado 81211 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1225                                                              Check all that apply.
            Megan Louise Pies ___________________________
                                                                     ☒ Contingent
            7309 W Hampden Ave #5202___________________              ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1226                                                              Check all that apply.
            Dannette S. Pike_____________________________
                                                                     ☒ Contingent
            2036 Kachina Dr #12 _________________________            ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1227                                                              Check all that apply.
            ANTHONY PIKES ___________________________
                                                                     ☒ Contingent
            3658 Jackson St. ____________________________            ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1228                                                              Check all that apply.
            Emmanuel Pineda ___________________________
                                                                     ☒ Contingent
            4120 E 115th Pl _____________________________            ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1229                                                              Check all that apply.
            BRIAN PINKERTON __________________________
                                                                     ☒ Contingent
            3153 E Mergnaser Ln _________________________            ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1230                                                              Check all that apply.
            Samatha Pino _______________________________
                                                                     ☒ Contingent
            29035 Gale Rd ______________________________             ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page208 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1231                                                              Check all that apply.
            Camilla Pino ________________________________
                                                                     ☒ Contingent
            12763 Leyden St Unit E _______________________           ☒ Unliquidated
            Thornton, Colorado 80602 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1232                                                              Check all that apply.
            Oludare S. Pipeola ___________________________
                                                                     ☒ Contingent
            744 Mockingbird St Apt E202 ___________________          ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1233                                                              Check all that apply.
            Cinthya Plascencia ___________________________
                                                                     ☒ Contingent
            1229 E 7th St _______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1234                                                              Check all that apply.
            Lindsey Poahway ____________________________
                                                                     ☒ Contingent
            233 Antelope Dr _____________________________            ☒ Unliquidated
            Cache, Oklahoma 73527 ______________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1235                                                              Check all that apply.
            Kelli Margaret Poles __________________________
                                                                     ☒ Contingent
            2800 S Syracuse Way #5-304 __________________            ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1236                                                              Check all that apply.
            Kelly A. Poleyestewa _________________________
                                                                     ☒ Contingent
            7045 VRAIN ST _____________________________              ☒ Unliquidated
            Westminster, Colorado 80030 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page209 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1237                                                              Check all that apply.
            Jason M. Polidore ____________________________
                                                                     ☒ Contingent
            1629 Bahama St _____________________________             ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1238                                                              Check all that apply.
            Demetrius Polk ______________________________
                                                                     ☒ Contingent
            9123 E Mississippi Ave #15-301_________________          ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1239                                                              Check all that apply.
            James E. Polk_______________________________
                                                                     ☒ Contingent
            20000 MITCHELL PLACE UNIT 49 ______________              ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1240                                                              Check all that apply.
            Ruth Pollock ________________________________
                                                                     ☒ Contingent
            13873 E Richthofen Cir #1203 __________________          ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1241                                                              Check all that apply.
            Annette N. Poole ____________________________
                                                                     ☒ Contingent
            8804 Clover Meadow Ln _______________________            ☒ Unliquidated
            Parker, Colorado 80134 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1242                                                              Check all that apply.
            Shawn Poole _______________________________
                                                                     ☒ Contingent
            2893 S Salida Ct_____________________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1243                                                              Check all that apply.
            Darryel Poole _______________________________
                                                                     ☒ Contingent
            1137 BERKLEY AVE. _________________________              ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1244                                                              Check all that apply.
            Christian Populis_____________________________
                                                                     ☒ Contingent
            1190 S Chelton Rd Apt 332 ____________________           ☒ Unliquidated
            Colorado Sprgs, Colorado 80910 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1245                                                              Check all that apply.
            Lilly Porche _________________________________
                                                                     ☒ Contingent
            5383 Southern Blvd #139 ______________________           ☒ Unliquidated
            Dallas, Texas 75240 __________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1246                                                              Check all that apply.
            Fale Porter _________________________________
                                                                     ☒ Contingent
            5559 E 130th Dr _____________________________            ☒ Unliquidated
            Denver, Colorado 80241 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1247                                                              Check all that apply.
            Johnathan Portillo ____________________________
                                                                     ☒ Contingent
            1493 E 96th Dr ______________________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1248                                                              Check all that apply.
            Brittney Potter _______________________________
                                                                     ☒ Contingent
            307 Holden Lane ____________________________             ☒ Unliquidated
            Johnstown, Colorado 80534 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1249                                                              Check all that apply.
            Ahjanaye Sharmaine Potts _____________________
                                                                     ☒ Contingent
            16530 E 11th Ave ____________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1250                                                              Check all that apply.
            Sudip Poudel _______________________________
                                                                     ☒ Contingent
            1594 E 131st Pl _____________________________            ☒ Unliquidated
            Denver, Colorado 80241 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1251                                                              Check all that apply.
            RYAN POULIN ______________________________
                                                                     ☒ Contingent
            9301 Lillian Lane ____________________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1252                                                              Check all that apply.
            Ashley Powell _______________________________
                                                                     ☒ Contingent
            137 E 8th Ave _______________________________            ☒ Unliquidated
            Denver, Colorado 80203 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1253                                                              Check all that apply.
            Christopher Powers __________________________
                                                                     ☒ Contingent
            10251 Zuni St #D102 _________________________            ☒ Unliquidated
            Denver, Colorado 80260 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1254                                                              Check all that apply.
            Rebecca Prentiss ____________________________
                                                                     ☒ Contingent
            1120 W CR 14 Apt G4 ________________________             ☒ Unliquidated
            Berthoud, Colorado 80513 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1255                                                              Check all that apply.
            Mitchell Preslar ______________________________
                                                                     ☒ Contingent
            3109 Eugenia Pl _____________________________            ☒ Unliquidated
            Salt Lake City, Utah 84119 _____________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1256                                                              Check all that apply.
            Michelle Prien _______________________________
                                                                     ☒ Contingent
            501 E 102nd Ave Apt H201 ____________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1257                                                              Check all that apply.
            Robert Pritchard _____________________________
                                                                     ☒ Contingent
            7553 E Easter Way___________________________             ☒ Unliquidated
            Centennial, Colorado 80112 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1258                                                              Check all that apply.
            Tracey Pryor ________________________________
                                                                     ☒ Contingent
            21710 3rd Ave ______________________________             ☒ Unliquidated
            Phippsburg, Colorado 80469 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1259                                                              Check all that apply.
            Marci E. Pryor _______________________________
                                                                     ☒ Contingent
            21458 E 51st Dr _____________________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1260                                                              Check all that apply.
            Humberto Puerta Moreno ______________________
                                                                     ☒ Contingent
            16855 E Asbury Ave __________________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1261                                                              Check all that apply.
            Carla Puller _________________________________
                                                                     ☒ Contingent
            12099 E Archer Pl Apt 118 _____________________          ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1262                                                              Check all that apply.
            Nicole Purcell _______________________________
                                                                     ☒ Contingent
            4051 Alcott St, Unit B _________________________         ☒ Unliquidated
            Denver, Colorado 80211 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1263                                                              Check all that apply.
            Florence Puteho _____________________________
                                                                     ☒ Contingent
            7637 E Warren Dr Apt 11-108 __________________           ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1264                                                              Check all that apply.
            Dillion Pyle _________________________________
                                                                     ☒ Contingent
            111 Sterling Dr ______________________________           ☒ Unliquidated
            Chickasha, Oklahoma 73018 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1265                                                              Check all that apply.
            Tai Quetschenbach __________________________
                                                                     ☒ Contingent
            901 N Sherman St Apt 324 _____________________           ☒ Unliquidated
            Denver, Colorado 80203 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1266                                                              Check all that apply.
            Celia Quinonez ______________________________
                                                                     ☒ Contingent
            12985 E Elgin Dr ____________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1267                                                              Check all that apply.
            Charles Quintana ____________________________
                                                                     ☒ Contingent
            1200 S. Oneida At. Apt 12-106 __________________         ☒ Unliquidated
            Denver, Colorado 80224 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1268                                                              Check all that apply.
            Shanelle Quintana ___________________________
                                                                     ☒ Contingent
            3019 W Highland Park Pl ______________________           ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1269                                                              Check all that apply.
            Andrea Quintana ____________________________
                                                                     ☒ Contingent
            334 S Archdale Dr Apt A23_____________________           ☒ Unliquidated
            Pueblo West, Colorado 81007 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1270                                                              Check all that apply.
            Bryna F. Quintana ___________________________
                                                                     ☒ Contingent
            3228 S. GARRISON ST. #216 __________________             ☒ Unliquidated
            LAEKWOOD, Colorado 80227 __________________              ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1271                                                              Check all that apply.
            Gregory Quintana ____________________________
                                                                     ☒ Contingent
            6176 Parfet Ct ______________________________            ☒ Unliquidated
            Arvada, Colorado 80004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1272                                                              Check all that apply.
            Leanna Quintana ____________________________
                                                                     ☒ Contingent
            1333 Winona Ct _____________________________             ☒ Unliquidated
            Denver, Colorado 80204 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page215 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1273                                                              Check all that apply.
            Jesse Quintanilla ____________________________
                                                                     ☒ Contingent
            1281 S Sable Blvd ___________________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1274                                                              Check all that apply.
            Jesus Quiroz Serna __________________________
                                                                     ☒ Contingent
            3534 S Ammons St___________________________              ☒ Unliquidated
            Denver, Colorado 80235 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1275                                                              Check all that apply.
            Lisa Rachal _________________________________
                                                                     ☒ Contingent
            536 28 Road ________________________________             ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1276                                                              Check all that apply.
            Greg Rademacher ___________________________
                                                                     ☒ Contingent
            4331 New Bedford Dr _________________________            ☒ Unliquidated
            Fort Collins, Colorado 80525 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1277                                                              Check all that apply.
            Susan Rader________________________________
                                                                     ☒ Contingent
            2985 Bookcliff Ave ___________________________           ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1278                                                              Check all that apply.
            Ruben Ramirez______________________________
                                                                     ☒ Contingent
            520 Court Rd Unit 606 ________________________           ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page216 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1279                                                              Check all that apply.
            Kim Ramirez ________________________________
                                                                     ☒ Contingent
            770 Albion St Apt 207 _________________________          ☒ Unliquidated
            Denver, Colorado 80220 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1280                                                              Check all that apply.
            Daniel Martinez- Ramirez ______________________
                                                                     ☒ Contingent
            217 20th Avenue Ct __________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1281                                                              Check all that apply.
            AUSTIN S. RAMIREZ _________________________
                                                                     ☒ Contingent
            2602 Water Front St __________________________           ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1282                                                              Check all that apply.
            D. Douglas Randall___________________________
                                                                     ☒ Contingent
            2928 Kennedy Ave. Unit A _____________________           ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1283                                                              Check all that apply.
            Eric Randle _________________________________
                                                                     ☒ Contingent
            11310 MELODY DRIVE APT 9-107 ______________              ☒ Unliquidated
            Denver, Colorado 80234 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1284                                                              Check all that apply.
            Jamar Randolph _____________________________
                                                                     ☒ Contingent
            4354 Liverpool Ct ____________________________           ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1285                                                              Check all that apply.
            Sharhonda Ransom __________________________
                                                                     ☒ Contingent
            1460 Pawnee St _____________________________             ☒ Unliquidated
            Orange Park, Florida 32065 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1286                                                              Check all that apply.
            Trisha Raupp _______________________________
                                                                     ☒ Contingent
            1562 W. Carol Ave. __________________________            ☒ Unliquidated
            Mesa, Arizona 85202 _________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1287                                                              Check all that apply.
            Shane Ray _________________________________
                                                                     ☒ Contingent
            800 S Wortman Ave __________________________             ☒ Unliquidated
            Olathe, Colorado 81425 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1288                                                              Check all that apply.
            TAMISHA RAY ______________________________
                                                                     ☒ Contingent
            5395 E Yale Ave Apt 204 ______________________           ☒ Unliquidated
            Denver, Colorado 80222 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1289                                                              Check all that apply.
            Scott Curtis Rayhill ___________________________
                                                                     ☒ Contingent
            1343 W 133rd Cir ____________________________            ☒ Unliquidated
            Denver, Colorado 80234 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1290                                                              Check all that apply.
            Alice M. Reeves _____________________________
                                                                     ☒ Contingent
            4810 E 33rd Ave _____________________________            ☒ Unliquidated
            Denver, Colorado 80207 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1291                                                              Check all that apply.
            Jesus Regalado _____________________________
                                                                     ☒ Contingent
            1939 S Quebec Way #F603 ____________________             ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1292                                                              Check all that apply.
            Dalton Regrut _______________________________
                                                                     ☒ Contingent
            4440 Parfet St_______________________________            ☒ Unliquidated
            Wheat Ridge, Colorado 80033 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1293                                                              Check all that apply.
            Gwendolyn Remollo __________________________
                                                                     ☒ Contingent
            290 Park Ave W Apt 410 ______________________            ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1294                                                              Check all that apply.
            Huston Rendell ______________________________
                                                                     ☒ Contingent
            1996 Cathay St ______________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1295                                                              Check all that apply.
            Michael R. Reneau ___________________________
                                                                     ☒ Contingent
            5415 E Kentucky Ave _________________________            ☒ Unliquidated
            Denver, Colorado 80246 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1296                                                              Check all that apply.
            Anthony G. Rey _____________________________
                                                                     ☒ Contingent
            207 Ingalls St Apt 8 __________________________          ☒ Unliquidated
            Lakewood, Colorado 80226 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1297                                                              Check all that apply.
            Veronica Reyes _____________________________
                                                                     ☒ Contingent
            2884 W 135th Ave ___________________________             ☒ Unliquidated
            Broomfield, Colorado 80020 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1298                                                              Check all that apply.
            Candy Reynolds _____________________________
                                                                     ☒ Contingent
            17705 E Greenwood Dr #2034 __________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1299                                                              Check all that apply.
            Rachell Reynolds ____________________________
                                                                     ☒ Contingent
            716 1/2 Spanish Trail Dr _______________________         ☒ Unliquidated
            Grand Junction, Colorado 81505 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1300                                                              Check all that apply.
            Victoria Reynolds ____________________________
                                                                     ☒ Contingent
            210 8th St __________________________________            ☒ Unliquidated
            Gilcrest, Colorado 80623 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1301                                                              Check all that apply.
            Tamara Rhoades ____________________________
                                                                     ☒ Contingent
            5700 E Florida Ave ___________________________           ☒ Unliquidated
            Denver, Colorado 80224 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1302                                                              Check all that apply.
            Amanda Rice _______________________________
                                                                     ☒ Contingent
            102 Senter Ave Lot A12 _______________________           ☒ Unliquidated
            Burlington, Colorado 80807 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1303                                                              Check all that apply.
            Nicole Rice-Collins ___________________________
                                                                     ☒ Contingent
            5959 Dunkirk St Apt 7102 ______________________          ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1304                                                              Check all that apply.
            Deserea L. Richards __________________________
                                                                     ☒ Contingent
            4498 S Irenald Ln ____________________________           ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1305                                                              Check all that apply.
            Floyd Richardson ____________________________
                                                                     ☒ Contingent
            443 Atacamite Ct ____________________________            ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1306                                                              Check all that apply.
            Lakisha Richardson __________________________
                                                                     ☒ Contingent
            3311 W 18th St ______________________________            ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1307                                                              Check all that apply.
            Madison Rickey _____________________________
                                                                     ☒ Contingent
            15475 Andrews Dr Unit 205 ____________________           ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1308                                                              Check all that apply.
            Maranda M. Rider ____________________________
                                                                     ☒ Contingent
            655 Callisto Dr #101 __________________________          ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1309                                                              Check all that apply.
            Carly Riemenschneider _______________________
                                                                     ☒ Contingent
            207 S Jefferson Ave #3 _______________________           ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1310                                                              Check all that apply.
            Lila Riggin __________________________________
                                                                     ☒ Contingent
            7980 W 51st Ave APT 807 _____________________            ☒ Unliquidated
            Arvada, Colorado 80002 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1311                                                              Check all that apply.
            Christopher Riggs ____________________________
                                                                     ☒ Contingent
            6674 Braun Ct ______________________________             ☒ Unliquidated
            Arvada, Colorado 80004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1312                                                              Check all that apply.
            Erik Rios ___________________________________
                                                                     ☒ Contingent
            4570 Cathay Ct______________________________             ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1313                                                              Check all that apply.
            Pedro P. Rios _______________________________
                                                                     ☒ Contingent
            405 10th St _________________________________            ☒ Unliquidated
            Fort Collins, Colorado 80524 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1314                                                              Check all that apply.
            Cory Riske _________________________________
                                                                     ☒ Contingent
            1303 W Swallow Rd Unit 9A ____________________           ☒ Unliquidated
            Fort Collins, Colorado 80526 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page222 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1315                                                              Check all that apply.
            Melanie D. Rivas ____________________________
                                                                     ☒ Contingent
            16680 Cavanaugh Rd _________________________             ☒ Unliquidated
            Keenesburg, Colorado 80643 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1316                                                              Check all that apply.
            Arthur Rivas ________________________________
                                                                     ☒ Contingent
            2410 E. Evans Ave. __________________________            ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1317                                                              Check all that apply.
            Maria Rivera ________________________________
                                                                     ☒ Contingent
            1203 West ST _______________________________             ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1318                                                              Check all that apply.
            Leslie J. Rivera ______________________________
                                                                     ☒ Contingent
            10653 Flagler Ct _____________________________           ☒ Unliquidated
            Parker, Colorado 80134 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1319                                                              Check all that apply.
            Arias Rivera ________________________________
                                                                     ☒ Contingent
            3024 Denver St Apt 1 _________________________           ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1320                                                              Check all that apply.
            Linda Rivera ________________________________
                                                                     ☒ Contingent
            1720 70th Ave ______________________________             ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page223 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1321                                                              Check all that apply.
            Jamie Robb ________________________________
                                                                     ☒ Contingent
            1420 Crete Ct #B ____________________________            ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1322                                                              Check all that apply.
            Jason A. Robb ______________________________
                                                                     ☒ Contingent
            11721 Jackson St ____________________________            ☒ Unliquidated
            Thornton, Colorado 80233 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1323                                                              Check all that apply.
            Jesse Robbins ______________________________
                                                                     ☒ Contingent
            8905 W 63rd Ave ____________________________             ☒ Unliquidated
            Arvada, Colorado 80004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1324                                                              Check all that apply.
            Pius Roberts ________________________________
                                                                     ☒ Contingent
            12754 E Kansas Dr #204 ______________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1325                                                              Check all that apply.
            Elisa J. Roberts _____________________________
                                                                     ☒ Contingent
            11046 S 20 Mile Rd Apt 1311 ___________________          ☒ Unliquidated
            Parker, Colorado 80134 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1326                                                              Check all that apply.
            PAUL ROBERTS ____________________________
                                                                     ☒ Contingent
            13630 E Kentucky Ave ________________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1327                                                              Check all that apply.
            Makeshia M. Robins __________________________
                                                                     ☒ Contingent
            803 Dounce St. ______________________________            ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1328                                                              Check all that apply.
            Zachary E. Robinson _________________________
                                                                     ☒ Contingent
            508 7th St __________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1329                                                              Check all that apply.
            Dezmen Robinson ___________________________
                                                                     ☒ Contingent
            5731 W. 92nd Ave Apt 151 _____________________           ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1330                                                              Check all that apply.
            Dakotah Robinson ___________________________
                                                                     ☒ Contingent
            3200 Lake Park Way #306 _____________________            ☒ Unliquidated
            Longmont, Colorado 80503 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1331                                                              Check all that apply.
            Jeremy Robinson ____________________________
                                                                     ☒ Contingent
            635 Eldorado Blvd Apt 1111 ____________________          ☒ Unliquidated
            Broomfield, Colorado 80021 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1332                                                              Check all that apply.
            Jahmall Robinson ____________________________
                                                                     ☒ Contingent
            2429 S Xanadu Way Unit B ____________________            ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1333                                                              Check all that apply.
            Jeremy Robinson ____________________________
                                                                     ☒ Contingent
            7550 S. BLACKHAWK ST. #13102 ______________              ☒ Unliquidated
            Englewood, Colorado 80112 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1334                                                              Check all that apply.
            Wyola Robitaille _____________________________
                                                                     ☒ Contingent
            7540 BROADWAY APT 204 ____________________               ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1335                                                              Check all that apply.
            Jerod Robles _______________________________
                                                                     ☒ Contingent
            39 Normandy Cir ____________________________             ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1336                                                              Check all that apply.
            Carlos J. Robles _____________________________
                                                                     ☒ Contingent
            9595 Pecos St Lot #664 _______________________           ☒ Unliquidated
            Thornton, Colorado 80260 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1337                                                              Check all that apply.
            Rosa Rocha ________________________________
                                                                     ☒ Contingent
            8150 W. 12TH ST. #65 ________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1338                                                              Check all that apply.
            Ann Rodriguez ______________________________
                                                                     ☒ Contingent
            22575 E Union Cir ___________________________            ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1339                                                              Check all that apply.
            Rumaldo Rodriguez __________________________
                                                                     ☒ Contingent
            218 Centennial Drive _________________________           ☒ Unliquidated
            Kersey, Colorado 80644 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1340                                                              Check all that apply.
            Manuel Rodriguez ___________________________
                                                                     ☒ Contingent
            2108 McNitt St. ______________________________           ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1341                                                              Check all that apply.
            Janae Rodriguez ____________________________
                                                                     ☒ Contingent
            4001 Ideal Dr _______________________________            ☒ Unliquidated
            Fort Collins, Colorado 80524 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1342                                                              Check all that apply.
            David C. Rodriguez __________________________
                                                                     ☒ Contingent
            1226 10th Street _____________________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1343                                                              Check all that apply.
            Celeste Rodriguez ___________________________
                                                                     ☒ Contingent
            17754 E. 103rd ______________________________            ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1344                                                              Check all that apply.
            Martin Rodriguez ____________________________
                                                                     ☒ Contingent
            14614 Vance Jackson Rd #6309 ________________            ☒ Unliquidated
            San Antonio, Texas 78249 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1345                                                              Check all that apply.
            Flor De Maria Rodriguez ______________________
                                                                     ☒ Contingent
            811 Ram Ave _______________________________              ☒ Unliquidated
            Fort Morgan, Colorado 80701___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1346                                                              Check all that apply.
            Vanessa Rodriguez __________________________
                                                                     ☒ Contingent
            7702 Zuni St ________________________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1347                                                              Check all that apply.
            Cristian Rodriguez ___________________________
                                                                     ☒ Contingent
            473 Cedar Ave ______________________________             ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1348                                                              Check all that apply.
            Alejandra M. Rodriguez _______________________
                                                                     ☒ Contingent
            518 Willow Dr _______________________________            ☒ Unliquidated
            Lochbuie, Colorado 80603 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1349                                                              Check all that apply.
            Julio A. Rodriguez ___________________________
                                                                     ☒ Contingent
            1523 S Carson St ____________________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1350                                                              Check all that apply.
            Christian Tijerina- Rodriguez ___________________
                                                                     ☒ Contingent
            625 S Park Ave______________________________             ☒ Unliquidated
            Fort Lupton, Colorado 80621 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1351                                                              Check all that apply.
            Ashley N. Rodriquez __________________________
                                                                     ☒ Contingent
            653 Cressa Dr ______________________________             ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1352                                                              Check all that apply.
            Israel Roel _________________________________
                                                                     ☒ Contingent
            5143 W 12th St ______________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1353                                                              Check all that apply.
            Sheila Rogers _______________________________
                                                                     ☒ Contingent
            1162 Supple Cir _____________________________            ☒ Unliquidated
            Pueblo, Colorado 81006 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1354                                                              Check all that apply.
            Shelby Rogers ______________________________
                                                                     ☒ Contingent
            2765 Patterson Rd Apt 104B ___________________           ☒ Unliquidated
            Grand Junction, Colorado 81506 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1355                                                              Check all that apply.
            Chadney Rogers_____________________________
                                                                     ☒ Contingent
            1850 S Wyandot St___________________________             ☒ Unliquidated
            Denver, Colorado 80223 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1356                                                              Check all that apply.
            Ruby Rojas Flores ___________________________
                                                                     ☒ Contingent
            5400 Sheridan Blvd Lot 45 _____________________          ☒ Unliquidated
            Arvada, Colorado 80002 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1357                                                              Check all that apply.
            Samantha Rolf ______________________________
                                                                     ☒ Contingent
            2917 Plymouth Rd ___________________________             ☒ Unliquidated
            Grand Junction, Colorado 81503 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1358                                                              Check all that apply.
            Cheresa Rollerson ___________________________
                                                                     ☒ Contingent
            5085 Blackhawk Way _________________________             ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1359                                                              Check all that apply.
            Derek Romero ______________________________
                                                                     ☒ Contingent
            9701 Pearl St Apt 5205 _______________________           ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1360                                                              Check all that apply.
            Rebekah Romero ____________________________
                                                                     ☒ Contingent
            1102 Virginia Dr _____________________________           ☒ Unliquidated
            Rocky Ford, Colorado 81067 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1361                                                              Check all that apply.
            Shylo Romero _______________________________
                                                                     ☒ Contingent
            1303 Lewis Ave _____________________________             ☒ Unliquidated
            La Junta, Colorado 81050 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1362                                                              Check all that apply.
            Vanessa Romero ____________________________
                                                                     ☒ Contingent
            3443 Quivas St ______________________________            ☒ Unliquidated
            Denver, Colorado 80211 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1363                                                              Check all that apply.
            Nickelette Romero ___________________________
                                                                     ☒ Contingent
            12165 Claude Ct #A203 _______________________            ☒ Unliquidated
            Northglenn, Colorado 80241 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1364                                                              Check all that apply.
            John Romero _______________________________
                                                                     ☒ Contingent
            1017 Juniper Dr _____________________________            ☒ Unliquidated
            Windsor, Colorado 80550 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1365                                                              Check all that apply.
            Teresa Ronquillo ____________________________
                                                                     ☒ Contingent
            435 N 35th Ave Unit 413 ______________________           ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1366                                                              Check all that apply.
            Adam Roquet _______________________________
                                                                     ☒ Contingent
            2330 N Broadway Apt 504 _____________________            ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1367                                                              Check all that apply.
            Elizabeth Rosales ____________________________
                                                                     ☒ Contingent
            1410 W 104th Pl _____________________________            ☒ Unliquidated
            Northglenn, Colorado 80234 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1368                                                              Check all that apply.
            Maribel Rosas_______________________________
                                                                     ☒ Contingent
            7751 Blanchard Ave. _________________________            ☒ Unliquidated
            Fontana, California 92336 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1369                                                              Check all that apply.
            Sara Ellen Rosensteel ________________________
                                                                     ☒ Contingent
            10219 Vine Ct _______________________________            ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1370                                                              Check all that apply.
            Nyiesha Ross _______________________________
                                                                     ☒ Contingent
            3874 Malta St _______________________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1371                                                              Check all that apply.
            Isabelle Rowe _______________________________
                                                                     ☒ Contingent
            2761 Basswood St ___________________________             ☒ Unliquidated
            Denver, Colorado 80260 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1372                                                              Check all that apply.
            David Rowe ________________________________
                                                                     ☒ Contingent
            7945 Cartilla Ave Ste A _______________________          ☒ Unliquidated
            Ranch Cucamonga, California 91730 _____________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1373                                                              Check all that apply.
            Jose Manuel Rubi ____________________________
                                                                     ☒ Contingent
            5196 E 97th Pl ______________________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1374                                                              Check all that apply.
            Monica Rubio _______________________________
                                                                     ☒ Contingent
            1410 E 3rd St _______________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1375                                                              Check all that apply.
            Jaime C. Rubio ______________________________
                                                                     ☒ Contingent
            1355 Quentin St _____________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1376                                                              Check all that apply.
            Caitlyn Rudolph _____________________________
                                                                     ☒ Contingent
            2206 E 14th St Apt D _________________________           ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1377                                                              Check all that apply.
            Debbie Ruiz ________________________________
                                                                     ☒ Contingent
            28 Amherst Ave Apt 2C _______________________            ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1378                                                              Check all that apply.
            Santiago Ruiz Silva __________________________
                                                                     ☒ Contingent
            230 West St ________________________________             ☒ Unliquidated
            Fort Morgan, Colorado 80701___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1379                                                              Check all that apply.
            Cesar A. Ruiz-Garza _________________________
                                                                     ☒ Contingent
            25161 E Aberdeen Dr _________________________            ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1380                                                              Check all that apply.
            Enrique A. Ruiz-Williams ______________________
                                                                     ☒ Contingent
            3313 Claremont Ave __________________________            ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1381                                                              Check all that apply.
            Stephen Russell _____________________________
                                                                     ☒ Contingent
            85 Harlan St #8______________________________            ☒ Unliquidated
            Denver, Colorado 80226 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1382                                                              Check all that apply.
            McKinzie Russell ____________________________
                                                                     ☒ Contingent
            10780 Hickory Ridge Ln _______________________           ☒ Unliquidated
            Highlands Ranch, Colorado 80126 _______________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1383                                                              Check all that apply.
            Caleb Russell _______________________________
                                                                     ☒ Contingent
            10169 Park Meadows Dr #335 __________________            ☒ Unliquidated
            Lone Tree, Colorado 80124 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1384                                                              Check all that apply.
            Nubia A. Saenz______________________________
                                                                     ☒ Contingent
            11233 Quivas Loop __________________________             ☒ Unliquidated
            Westminster, Colorado 80234 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1385                                                              Check all that apply.
            Anita M. Saines _____________________________
                                                                     ☒ Contingent
            9100 E Florida Ave #6-105 _____________________          ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1386                                                              Check all that apply.
            Joseph Salas _______________________________
                                                                     ☒ Contingent
            4948 Thistle Dr ______________________________           ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1387                                                              Check all that apply.
            Mario Salazar _______________________________
                                                                     ☒ Contingent
            11801 York St #411 __________________________            ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1388                                                              Check all that apply.
            Gloria Salazar _______________________________
                                                                     ☒ Contingent
            3430 S Biscay Way __________________________             ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1389                                                              Check all that apply.
            Gregory J. Salazar ___________________________
                                                                     ☒ Contingent
            4144 Meadowview Ct _________________________             ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1390                                                              Check all that apply.
            Cassandra Salazar ___________________________
                                                                     ☒ Contingent
            3230 W Exposition Ave _______________________            ☒ Unliquidated
            Denver, Colorado 80219 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1391                                                              Check all that apply.
            Josephine Sales _____________________________
                                                                     ☒ Contingent
            117 Alpine Ave ______________________________            ☒ Unliquidated
            Fort Morgan, Colorado 80701___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1392                                                              Check all that apply.
            Marie Patricia Salguero _______________________
                                                                     ☒ Contingent
            1777 E 78th Ave Unit 214 ______________________          ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1393                                                              Check all that apply.
            Stephanie Salinas____________________________
                                                                     ☒ Contingent
            101 E 88th Ave Apt G107 ______________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1394                                                              Check all that apply.
            Alyssa E. Salisbury ___________________________
                                                                     ☒ Contingent
            330 S. Newland St. ___________________________           ☒ Unliquidated
            Lakewood, Colorado 80226 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1395                                                              Check all that apply.
            Heather Salisbury ____________________________
                                                                     ☒ Contingent
            5031 S Ulster St #1120 _______________________           ☒ Unliquidated
            Denver, Colorado 80237 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1396                                                              Check all that apply.
            JUSTIN SALTZMAN __________________________
                                                                     ☒ Contingent
            616 East 3Rd Street __________________________           ☒ Unliquidated
            Alliance, Nebraska 69301 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1397                                                              Check all that apply.
            Theriott A. Sams _____________________________
                                                                     ☒ Contingent
            14693 E 47th Ave ____________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1398                                                              Check all that apply.
            Kendrick Samuels____________________________
                                                                     ☒ Contingent
            PERSONAL & CONFIDENTIAL _________________                ☒ Unliquidated
            Denver, Colorado 80216 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page236 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1399                                                              Check all that apply.
            Janet Sanabria ______________________________
                                                                     ☒ Contingent
            151 Bristlecone St ___________________________           ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1400                                                              Check all that apply.
            James Sanchez _____________________________
                                                                     ☒ Contingent
            4153 E 126th Ave ____________________________            ☒ Unliquidated
            Denver, Colorado 80241 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1401                                                              Check all that apply.
            Sergio Sanchez _____________________________
                                                                     ☒ Contingent
            374 Depew St _______________________________             ☒ Unliquidated
            Lakewood, Colorado 80226 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1402                                                              Check all that apply.
            Jeffery Sanchez _____________________________
                                                                     ☒ Contingent
            1406 25th Ave Ct ____________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1403                                                              Check all that apply.
            Adilene Sanchez_____________________________
                                                                     ☒ Contingent
            5630 W Warren Ave Apt 201 ___________________            ☒ Unliquidated
            Denver, Colorado 80022 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1404                                                              Check all that apply.
            Uriel M. Sanchez ____________________________
                                                                     ☒ Contingent
            1822 W 27th St ______________________________            ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page237 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1405                                                              Check all that apply.
            Viola Marie Sanchez__________________________
                                                                     ☒ Contingent
            6980 Stuart St #1-306 ________________________           ☒ Unliquidated
            Westminster, Colorado 80030 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1406                                                              Check all that apply.
            Joanna Sanchez _____________________________
                                                                     ☒ Contingent
            523 Rado Drive C ____________________________            ☒ Unliquidated
            Grand Junction, Colorado 81507 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1407                                                              Check all that apply.
            William Sanders _____________________________
                                                                     ☒ Contingent
            445 Stathmore Lane #109 _____________________            ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1408                                                              Check all that apply.
            Thomas Sanders ____________________________
                                                                     ☒ Contingent
            8126 Chipita Park Rd _________________________           ☒ Unliquidated
            Cascade, Colorado 80809 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1409                                                              Check all that apply.
            Latasia Sanders _____________________________
                                                                     ☒ Contingent
            14238 E Grand Dr Unit 117 ____________________           ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1410                                                              Check all that apply.
            Geneva Sanders_____________________________
                                                                     ☒ Contingent
            10700 E Dartmouth Ave _______________________            ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1411                                                              Check all that apply.
            Hugo Sandoval ______________________________
                                                                     ☒ Contingent
            24 Pennwood Ln_____________________________              ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1412                                                              Check all that apply.
            Sheldon M. Sandoval _________________________
                                                                     ☒ Contingent
            16446 E 17th Pl Apt 3011 ______________________          ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1413                                                              Check all that apply.
            FRANK SANDOVAL __________________________
                                                                     ☒ Contingent
            11658 E. 25TH DR. #9-201 ____________________            ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1414                                                              Check all that apply.
            Terrence Sandrin ____________________________
                                                                     ☒ Contingent
            2375 S Columbine St _________________________            ☒ Unliquidated
            Denver, Colorado 80210 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1415                                                              Check all that apply.
            Catherine M. Sandrin _________________________
                                                                     ☒ Contingent
            2375 S Columbine St _________________________            ☒ Unliquidated
            Denver, Colorado 80210 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1416                                                              Check all that apply.
            Dorreen Saner ______________________________
                                                                     ☒ Contingent
            7961 Zuni St ________________________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1417                                                              Check all that apply.
            Bryan N. Santa Cruz__________________________
                                                                     ☒ Contingent
            620 Columbine St. ___________________________            ☒ Unliquidated
            Sterling, Colorado 80751 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1418                                                              Check all that apply.
            Delfino G. Santistevan ________________________
                                                                     ☒ Contingent
            331 E Johnson Ave __________________________             ☒ Unliquidated
            Trinidad, Colorado 81082 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1419                                                              Check all that apply.
            Yvonne Santistevan __________________________
                                                                     ☒ Contingent
            2120 Oakwood Ln ___________________________              ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1420                                                              Check all that apply.
            Marjorie Santos _____________________________
                                                                     ☒ Contingent
            300 Beth Ave _______________________________             ☒ Unliquidated
            Fort Lupton, Colorado 80621 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1421                                                              Check all that apply.
            Camille Santos ______________________________
                                                                     ☒ Contingent
            899 N Pearl St Apt 22 _________________________          ☒ Unliquidated
            Denver, Colorado 80203 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1422                                                              Check all that apply.
            Nickole Sapeda _____________________________
                                                                     ☒ Contingent
            241 NW Pen St ______________________________             ☒ Unliquidated
            Warren, Ohio 44485 __________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1423                                                              Check all that apply.
            Karen Sauceda ______________________________
                                                                     ☒ Contingent
            1424 7th St _________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1424                                                              Check all that apply.
            Lacey C. Sauer ______________________________
                                                                     ☒ Contingent
            740 El Paso Blvd ____________________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1425                                                              Check all that apply.
            Biyancah Saunders __________________________
                                                                     ☒ Contingent
            8501 E Alameda Ave #928 _____________________            ☒ Unliquidated
            Denver, Colorado 80230 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1426                                                              Check all that apply.
            Sean Schaper _______________________________
                                                                     ☒ Contingent
            192 Edlun Rd _______________________________             ☒ Unliquidated
            Grand Junction, Colorado 81503 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1427                                                              Check all that apply.
            Chance D. Schawo ___________________________
                                                                     ☒ Contingent
            2108 30th St Apt 2031 ________________________           ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1428                                                              Check all that apply.
            Nicholas Schecter____________________________
                                                                     ☒ Contingent
            4747 Eagle Ridge Circle #208 __________________          ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1429                                                              Check all that apply.
            Sean Schlueter ______________________________
                                                                     ☒ Contingent
            3632 Conifer Dr _____________________________            ☒ Unliquidated
            Loveland, Colorado 80538 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1430                                                              Check all that apply.
            Leland Schmoker ____________________________
                                                                     ☒ Contingent
            1749 County Road 7.2 ________________________            ☒ Unliquidated
            Bailey, Colorado 80421 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1431                                                              Check all that apply.
            Anna Scholl ________________________________
                                                                     ☒ Contingent
            14296 E Whitaker Pl #109 _____________________           ☒ Unliquidated
            Centennial, Colorado 80015 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1432                                                              Check all that apply.
            Tyrell Schoolfield ____________________________
                                                                     ☒ Contingent
            24723 E Applewood Dr________________________             ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1433                                                              Check all that apply.
            Rebekka Schreffler ___________________________
                                                                     ☒ Contingent
            976 Kalispell St ______________________________          ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1434                                                              Check all that apply.
            Sabrina Scott _______________________________
                                                                     ☒ Contingent
            2440 Newport St _____________________________            ☒ Unliquidated
            Denver, Colorado 80207 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1435                                                              Check all that apply.
            Breonna R. Scott ____________________________
                                                                     ☒ Contingent
            16306 E Fremont Ave #5 ______________________            ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1436                                                              Check all that apply.
            Mary C. Scott _______________________________
                                                                     ☒ Contingent
            400 Parkway Cir N ___________________________            ☒ Unliquidated
            Fort Collins, Colorado 80525 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1437                                                              Check all that apply.
            Stephanie Scott _____________________________
                                                                     ☒ Contingent
            20 OAKLAND STREET #2 _____________________               ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1438                                                              Check all that apply.
            Dana Christine Scritchfield _____________________
                                                                     ☒ Contingent
            1817 6th St. SW _____________________________            ☒ Unliquidated
            Loveland, Colorado 80537 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1439                                                              Check all that apply.
            Kristi Scrivner _______________________________
                                                                     ☒ Contingent
            120 Edgeview Dr Apt 4505 _____________________           ☒ Unliquidated
            Broomfield, Colorado 80021 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1440                                                              Check all that apply.
            Alexis Sculley _______________________________
                                                                     ☒ Contingent
            5956 S Winnipeg St __________________________            ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page243 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1441                                                              Check all that apply.
            Matthew C. Sellers-Jones ______________________
                                                                     ☒ Contingent
            4136 S Nucla Way ___________________________             ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1442                                                              Check all that apply.
            Tammy Sena _______________________________
                                                                     ☒ Contingent
            1217 Horseshoe Dr __________________________             ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1443                                                              Check all that apply.
            Yvette Serna ________________________________
                                                                     ☒ Contingent
            146 E Countryside Dr _________________________           ☒ Unliquidated
            Pueblo West, Colorado 81007 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1444                                                              Check all that apply.
            Susan Serna ________________________________
                                                                     ☒ Contingent
            145 7th St __________________________________            ☒ Unliquidated
            Fort Lupton, Colorado 80621 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1445                                                              Check all that apply.
            VERONICA SERNA __________________________
                                                                     ☒ Contingent
            4460 S Pitkin St #110 _________________________          ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1446                                                              Check all that apply.
            Paul A. Serrano _____________________________
                                                                     ☒ Contingent
            411 12th St _________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page244 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1447                                                              Check all that apply.
            Justin Serve ________________________________
                                                                     ☒ Contingent
            919 William Crt Apt C _________________________          ☒ Unliquidated
            Palisade, Colorado 81526 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1448                                                              Check all that apply.
            Denise Session______________________________
                                                                     ☒ Contingent
            4005 S Roslyn St ____________________________            ☒ Unliquidated
            Denver, Colorado 80237 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1449                                                              Check all that apply.
            Samantha Shahabian _________________________
                                                                     ☒ Contingent
            12252 Bannock Cir Unit C _____________________           ☒ Unliquidated
            Denver, Colorado 80234 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1450                                                              Check all that apply.
            Dalton Shambaugh ___________________________
                                                                     ☒ Contingent
            906 R Rd __________________________________              ☒ Unliquidated
            Mack, Colorado 81525 ________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1451                                                              Check all that apply.
            Brandy I. Shaw ______________________________
                                                                     ☒ Contingent
            9307 Ingalls St. ______________________________          ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1452                                                              Check all that apply.
            Trischelle Sheeler ____________________________
                                                                     ☒ Contingent
            4019 Upham St______________________________              ☒ Unliquidated
            Wheat Ridge, Colorado 80033 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1453                                                              Check all that apply.
            Sally Shelton________________________________
                                                                     ☒ Contingent
            600 10th Ave NM ____________________________             ☒ Unliquidated
            Rio Rancho, New Mexico 87144 ________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1454                                                              Check all that apply.
            Joshua Shepard _____________________________
                                                                     ☒ Contingent
            14701 E Tennessee Dr#138 ____________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1455                                                              Check all that apply.
            Dominique Shepley __________________________
                                                                     ☒ Contingent
            11291 E Alameda Ave #7 ______________________            ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1456                                                              Check all that apply.
            David Shippley ______________________________
                                                                     ☒ Contingent
            12495 Vrain Cir______________________________            ☒ Unliquidated
            Broomfield, Colorado 80020 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1457                                                              Check all that apply.
            Lisa M. Short _______________________________
                                                                     ☒ Contingent
            2933 Bunting Ave #C _________________________            ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1458                                                              Check all that apply.
            Michael Short _______________________________
                                                                     ☒ Contingent
            454 Elkhart St Apt D __________________________          ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1459                                                              Check all that apply.
            Maria Sierra ________________________________
                                                                     ☒ Contingent
            5408 Elm Ct ________________________________             ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1460                                                              Check all that apply.
            Jesus S. Silerio ______________________________
                                                                     ☒ Contingent
            3803 Rannoch St ____________________________             ☒ Unliquidated
            Fort Collins, Colorado 80524 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1461                                                              Check all that apply.
            Joseph Silva ________________________________
                                                                     ☒ Contingent
            18625 E 47th Ave ____________________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1462                                                              Check all that apply.
            Alexis Silvestre ______________________________
                                                                     ☒ Contingent
            13741 E Richthofen Cir #T106 __________________          ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1463                                                              Check all that apply.
            Chaz C. Simmons____________________________
                                                                     ☒ Contingent
            901 Colorado Blvd Apt 415 _____________________          ☒ Unliquidated
            Denver, Colorado 80206 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1464                                                              Check all that apply.
            Shenna Simon ______________________________
                                                                     ☒ Contingent
            9241 Grove St ______________________________             ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1465                                                              Check all that apply.
            Ying Singhaichana ___________________________
                                                                     ☒ Contingent
            7151 Berthoud St ____________________________            ☒ Unliquidated
            Westminster, Colorado 80030 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1466                                                              Check all that apply.
            Destiny Sisneros_____________________________
                                                                     ☒ Contingent
            8719 US Hwy 285 S Lot D-7____________________            ☒ Unliquidated
            Alamosa, Colorado 81101 _____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1467                                                              Check all that apply.
            Eric Skillman ________________________________
                                                                     ☒ Contingent
            4653 Lincoln St ______________________________           ☒ Unliquidated
            Englewood, Colorado 80113 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1468                                                              Check all that apply.
            Yammen Slaieh _____________________________
                                                                     ☒ Contingent
            148 Elizabeth St _____________________________           ☒ Unliquidated
            Cameron, Louisiana 70631 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1469                                                              Check all that apply.
            Michael Slamowitz ___________________________
                                                                     ☒ Contingent
            6290 Arabella Dr_____________________________            ☒ Unliquidated
            Castle Rock, Colorado 80108 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1470                                                              Check all that apply.
            David Slattery _______________________________
                                                                     ☒ Contingent
            156 S. CODY STREET ________________________              ☒ Unliquidated
            Denver, Colorado 80226 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1471                                                              Check all that apply.
            Andrew P. Slawson __________________________
                                                                     ☒ Contingent
            801 S Cherry St Apt 441 _______________________          ☒ Unliquidated
            Denver, Colorado 80246 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1472                                                              Check all that apply.
            Lucas Slipka ________________________________
                                                                     ☒ Contingent
            1340 Lonnie Way ____________________________             ☒ Unliquidated
            Fruita, Colorado 81521 ________________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1473                                                              Check all that apply.
            Jessica J. Smelcer ___________________________
                                                                     ☒ Contingent
            1981 Blake St _______________________________            ☒ Unliquidated
            Denver, Colorado 80202 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1474                                                              Check all that apply.
            Sara Smiley ________________________________
                                                                     ☒ Contingent
            1104 W 13th St Apt 2 _________________________           ☒ Unliquidated
            Pueblo, Colorado 81003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1475                                                              Check all that apply.
            Harmony Smith ______________________________
                                                                     ☒ Contingent
            8240 Turnpike Dr. ____________________________           ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1476                                                              Check all that apply.
            John Smith _________________________________
                                                                     ☒ Contingent
            12040 W Mexico Ave _________________________             ☒ Unliquidated
            Lakewood, Colorado 80228 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1477                                                              Check all that apply.
            Bethany Smith ______________________________
                                                                     ☒ Contingent
            625 Manhattan Pl Apt 202 _____________________           ☒ Unliquidated
            Boulder, Colorado 80303 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1478                                                              Check all that apply.
            Ryan Matthew Smith _________________________
                                                                     ☒ Contingent
            754 Elati St _________________________________           ☒ Unliquidated
            Denver, Colorado 80204 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1479                                                              Check all that apply.
            Erica Smith _________________________________
                                                                     ☒ Contingent
            2515 S Sheridan Blvd Apt 1 ____________________          ☒ Unliquidated
            Denver, Colorado 80227 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1480                                                              Check all that apply.
            Jennifer Smith_______________________________
                                                                     ☒ Contingent
            16433 E Radcliff Pl Apt B ______________________         ☒ Unliquidated
            Aurora, Colorado 80015 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1481                                                              Check all that apply.
            Tim Smith __________________________________
                                                                     ☒ Contingent
            949 Durum Ct _______________________________             ☒ Unliquidated
            Windsor, Colorado 80550 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1482                                                              Check all that apply.
            Bradley Smith _______________________________
                                                                     ☒ Contingent
            1025 W 112th Ave Apt B ______________________            ☒ Unliquidated
            Denver, Colorado 80234 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page250 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1483                                                              Check all that apply.
            Kenneth A. Smith ____________________________
                                                                     ☒ Contingent
            10148 S Turkey Creek Rd _____________________            ☒ Unliquidated
            Morrison, Colorado 80465 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1484                                                              Check all that apply.
            Samantha Smith _____________________________
                                                                     ☒ Contingent
            1198 Ash St ________________________________             ☒ Unliquidated
            Broomfield, Colorado 80020 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1485                                                              Check all that apply.
            Kathryn B. Smith_____________________________
                                                                     ☒ Contingent
            5286 S Jebel Way ___________________________             ☒ Unliquidated
            Centennial, Colorado 80015 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1486                                                              Check all that apply.
            Shad Smith _________________________________
                                                                     ☒ Contingent
            600 Raintree Blvd Lot 14 ______________________          ☒ Unliquidated
            Canon City, Colorado 81212 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1487                                                              Check all that apply.
            JORDAN SMITH_____________________________
                                                                     ☒ Contingent
            10701 Pecos St Apt 1106 ______________________           ☒ Unliquidated
            Northglenn, Colorado 80234 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1488                                                              Check all that apply.
            Jay Vonn Snow______________________________
                                                                     ☒ Contingent
            10606 County Rd EE _________________________             ☒ Unliquidated
            Las Animas, Colorado 81054 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page251 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1489                                                              Check all that apply.
            Samantha Solano ____________________________
                                                                     ☒ Contingent
            9395 W Colfax Ave Apt 2 ______________________           ☒ Unliquidated
            Denver, Colorado 80215 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1490                                                              Check all that apply.
            Mkayla Solano ______________________________
                                                                     ☒ Contingent
            13950 Hayesmount Rd ________________________             ☒ Unliquidated
            Brighton, Colorado 80603 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1491                                                              Check all that apply.
            Angela Solberg ______________________________
                                                                     ☒ Contingent
            1376 E Colony Cir ___________________________            ☒ Unliquidated
            Sand Springs, Oklahoma 74063 _________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1492                                                              Check all that apply.
            Sabdy Soliz_________________________________
                                                                     ☒ Contingent
            7309 Bradburn Blvd Apt D _____________________           ☒ Unliquidated
            Westminster, Colorado 80030 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1493                                                              Check all that apply.
            Adam Soltero _______________________________
                                                                     ☒ Contingent
            1925 S. FRANKLIN AVE. ______________________             ☒ Unliquidated
            Colorado Sprgs, Colorado 80905 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1494                                                              Check all that apply.
            Kimberly D. Sorensen_________________________
                                                                     ☒ Contingent
            2766 W Langenberg Ave ______________________             ☒ Unliquidated
            Roseburg, Oregon 97471 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page252 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1495                                                              Check all that apply.
            Jonathan Sparrow ___________________________
                                                                     ☒ Contingent
            10961 Unity Lane ____________________________            ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1496                                                              Check all that apply.
            Kurt Spencer________________________________
                                                                     ☒ Contingent
            103 Cutty Sark Ct ____________________________           ☒ Unliquidated
            Silverthorne, Colorado 80498 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1497                                                              Check all that apply.
            Larry Spurlin ________________________________
                                                                     ☒ Contingent
            10201 Riverdale Rd Lot 167 ____________________          ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1498                                                              Check all that apply.
            Matthew Staffiero ____________________________
                                                                     ☒ Contingent
            17111 Campion Way _________________________              ☒ Unliquidated
            Parker, Colorado 80134 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1499                                                              Check all that apply.
            Cheryl Stage ________________________________
                                                                     ☒ Contingent
            2136 27th St ________________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1500                                                              Check all that apply.
            Kathryn Stanback ____________________________
                                                                     ☒ Contingent
            10 W 5th St Apt 4 ____________________________           ☒ Unliquidated
            Cortez, Colorado 81321 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1501                                                              Check all that apply.
            Joleen R. Stanczyk ___________________________
                                                                     ☒ Contingent
            5290 W 80th Ave, Apt 107G ____________________           ☒ Unliquidated
            Westminster, Colorado 80003 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1502                                                              Check all that apply.
            Gabrielle Starks _____________________________
                                                                     ☒ Contingent
            7855 W Mansfield Pkwy _______________________            ☒ Unliquidated
            Denver, Colorado 80235 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1503                                                              Check all that apply.
            Kenneth Stephens ___________________________
                                                                     ☒ Contingent
            8660 Richard Rd_____________________________             ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1504                                                              Check all that apply.
            Quincey Sterrett _____________________________
                                                                     ☒ Contingent
            9189 Gale Blvd. Apt 1531 ______________________          ☒ Unliquidated
            Thornton, Colorado 80260 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1505                                                              Check all that apply.
            Michael Stevens _____________________________
                                                                     ☒ Contingent
            2111 E 103rd Ave ____________________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1506                                                              Check all that apply.
            Arnell James Stewart _________________________
                                                                     ☒ Contingent
            3682 Forest St ______________________________            ☒ Unliquidated
            Denver, Colorado 80207 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page254 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1507                                                              Check all that apply.
            Mary Stewart _______________________________
                                                                     ☒ Contingent
            11501 Washington St #615 ____________________            ☒ Unliquidated
            Northglenn, Colorado 80233 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1508                                                              Check all that apply.
            Deja Stewart ________________________________
                                                                     ☒ Contingent
            401 N Timberline Rd Lot 3 _____________________          ☒ Unliquidated
            Fort Collins, Colorado 80524 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1509                                                              Check all that apply.
            Patricia Stockton_____________________________
                                                                     ☒ Contingent
            14400 Albrook Dr #23_________________________            ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1510                                                              Check all that apply.
            Austin Stoltz ________________________________
                                                                     ☒ Contingent
            446 N Glendevey Dr __________________________            ☒ Unliquidated
            Pueblo West, Colorado 81007 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1511                                                              Check all that apply.
            Damien Stone _______________________________
                                                                     ☒ Contingent
            3335 Oregon Trl SW __________________________            ☒ Unliquidated
            Marietta, Georgia 30060 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1512                                                              Check all that apply.
            Harmony Stone______________________________
                                                                     ☒ Contingent
            6628 Cabara Cir _____________________________            ☒ Unliquidated
            Colorado Sprgs, Colorado 80920 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1513                                                              Check all that apply.
            Tammy R. Stone_____________________________
                                                                     ☒ Contingent
            10735 Downing St ___________________________             ☒ Unliquidated
            Northglenn, Colorado 80233 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1514                                                              Check all that apply.
            Jessica Stowers _____________________________
                                                                     ☒ Contingent
            12174 Adams St _____________________________             ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1515                                                              Check all that apply.
            Mandy Straight ______________________________
                                                                     ☒ Contingent
            9052 W Chatfield Dr __________________________           ☒ Unliquidated
            Littleton, Colorado 80128 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1516                                                              Check all that apply.
            Ryan Strauch _______________________________
                                                                     ☒ Contingent
            2756 S Quintero St ___________________________           ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1517                                                              Check all that apply.
            Nicholas R. Streeter __________________________
                                                                     ☒ Contingent
            19972 E. Kent Dr. ____________________________           ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1518                                                              Check all that apply.
            Samuel N. Strickland _________________________
                                                                     ☒ Contingent
            18004 B Rd_________________________________              ☒ Unliquidated
            Delta, Colorado 81416 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1519                                                              Check all that apply.
            Desiray D. Strickland _________________________
                                                                     ☒ Contingent
            856 Short Rd _______________________________             ☒ Unliquidated
            Hotchkiss, Colorado 81419_____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1520                                                              Check all that apply.
            Laronda Strong ______________________________
                                                                     ☒ Contingent
            12302 S Yukon Ave __________________________             ☒ Unliquidated
            Glenpool, Oklahoma 74033 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1521                                                              Check all that apply.
            Blanca Suarez ______________________________
                                                                     ☒ Contingent
            7593 Raritan St______________________________            ☒ Unliquidated
            Denver, Colorado 80221 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1522                                                              Check all that apply.
            Carlos Angel Suazo __________________________
                                                                     ☒ Contingent
            7045 Vrain St _______________________________            ☒ Unliquidated
            Westminster, Colorado 80030 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1523                                                              Check all that apply.
            Hali Suazo _________________________________
                                                                     ☒ Contingent
            9769 Fred Dr _______________________________             ☒ Unliquidated
            Northglenn, Colorado 80260 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1524                                                              Check all that apply.
            David Sussman _____________________________
                                                                     ☒ Contingent
            554 State Route 14___________________________            ☒ Unliquidated
            Deerfield, Ohio 44411_________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1525                                                              Check all that apply.
            Candice Swan ______________________________
                                                                     ☒ Contingent
            9200 Yucca Way ____________________________              ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1526                                                              Check all that apply.
            Daniel E. Swanson ___________________________
                                                                     ☒ Contingent
            13018 S Parker Ave __________________________            ☒ Unliquidated
            Pine, Colorado 80470 _________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1527                                                              Check all that apply.
            Michelle Tafoya _____________________________
                                                                     ☒ Contingent
            3400 S Lowell Blvd Apt 1-204___________________          ☒ Unliquidated
            Denver, Colorado 80236 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1528                                                              Check all that apply.
            LEELA TAFOYA _____________________________
                                                                     ☒ Contingent
            696 Bosque Vista Pt __________________________           ☒ Unliquidated
            Colorado Sprgs, Colorado 80916 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1529                                                              Check all that apply.
            BARBARA ILEEN TAFOYA ____________________
                                                                     ☒ Contingent
            715 Ogden Ave______________________________              ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1530                                                              Check all that apply.
            Kuong Taing ________________________________
                                                                     ☒ Contingent
            221 E Longs Peak Ave ________________________            ☒ Unliquidated
            Longmont, Colorado 80504 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page258 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1531                                                              Check all that apply.
            Jennifer Talamantes __________________________
                                                                     ☒ Contingent
            574 E 23rd St Apt 12 _________________________           ☒ Unliquidated
            Loveland, Colorado 80538 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1532                                                              Check all that apply.
            Michael Talamantes __________________________
                                                                     ☒ Contingent
            1307 23rd Ave Ct ____________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1533                                                              Check all that apply.
            Danelle Talley-Harris _________________________
                                                                     ☒ Contingent
            4901 W 93rd Ave Apt 623 _____________________            ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1534                                                              Check all that apply.
            Kevin M. Tantanella __________________________
                                                                     ☒ Contingent
            2082 Monte Vista Dr __________________________           ☒ Unliquidated
            Lochbuie, Colorado 80603 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1535                                                              Check all that apply.
            Edgar E. Tarango ____________________________
                                                                     ☒ Contingent
            679 S Reed Ct #3-403 ________________________            ☒ Unliquidated
            Denver, Colorado 80226 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1536                                                              Check all that apply.
            Nichelle Tarver ______________________________
                                                                     ☒ Contingent
            12984 E Mexico Ave__________________________             ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page259 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1537                                                              Check all that apply.
            Valeen Tasco _______________________________
                                                                     ☒ Contingent
            10742 E Exposition Ave Apt 128 ________________          ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1538                                                              Check all that apply.
            Janisha Taylor ______________________________
                                                                     ☒ Contingent
            16974 E Wyoming Dr _________________________             ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1539                                                              Check all that apply.
            Krystal Taylor _______________________________
                                                                     ☒ Contingent
            2662 S Cathay Way #106 ______________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1540                                                              Check all that apply.
            Jeff Taylor __________________________________
                                                                     ☒ Contingent
            5687 W Ken Caryl Pl _________________________            ☒ Unliquidated
            Littleton, Colorado 80128 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1541                                                              Check all that apply.
            Jalen Taylor ________________________________
                                                                     ☒ Contingent
            3069 S. Yampa Way__________________________              ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1542                                                              Check all that apply.
            Bryan K. Taylor ______________________________
                                                                     ☒ Contingent
            11500 W 38th Ave APT 36 _____________________            ☒ Unliquidated
            Wheat Ridge, Colorado 80033 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1543                                                              Check all that apply.
            Katie M. Taylor ______________________________
                                                                     ☒ Contingent
            2273 Havana St _____________________________             ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1544                                                              Check all that apply.
            Ladarrian T. Taylor ___________________________
                                                                     ☒ Contingent
            14400 E Fremont Ave Apt 2-305 ________________           ☒ Unliquidated
            Englewood, Colorado 80112 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1545                                                              Check all that apply.
            KENDRA TAYLOR ___________________________
                                                                     ☒ Contingent
            2356 Bowen St ______________________________             ☒ Unliquidated
            Longmont, Colorado 80501 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1546                                                              Check all that apply.
            Josepha Tellei ______________________________
                                                                     ☒ Contingent
            106-2 Sherwood Cir __________________________            ☒ Unliquidated
            Minot A F B, North Dakota 58704 ________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1547                                                              Check all that apply.
            Bruce Terry _________________________________
                                                                     ☒ Contingent
            15601 E Jamison Dr Apt 325 ___________________           ☒ Unliquidated
            Englewood, Colorado 80112 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1548                                                              Check all that apply.
            Chante Thomas _____________________________
                                                                     ☒ Contingent
            4232 Calle Cazuela __________________________            ☒ Unliquidated
            Santa Fe, New Mexico 87507___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1549                                                              Check all that apply.
            Lauralee Thomas ____________________________
                                                                     ☒ Contingent
            9800 W 51st Pl Unit C215 _____________________           ☒ Unliquidated
            Arvada, Colorado 80002 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1550                                                              Check all that apply.
            Glynis Williams- Thompson ____________________
                                                                     ☒ Contingent
            18793 Mitchell Pl ____________________________           ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1551                                                              Check all that apply.
            Timothy C. Thompson ________________________
                                                                     ☒ Contingent
            3306 Amoroso Ct. Unit 2 ______________________           ☒ Unliquidated
            Fort Meade, Maryland 20755 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1552                                                              Check all that apply.
            Luis Tinoco _________________________________
                                                                     ☒ Contingent
            7565 E Harvard Ave Apt 206 ___________________           ☒ Unliquidated
            Denver, Colorado 80231 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1553                                                              Check all that apply.
            Marcus D. Tinsley ____________________________
                                                                     ☒ Contingent
            761 Fraser St _______________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1554                                                              Check all that apply.
            Frederick Tobin______________________________
                                                                     ☒ Contingent
            1117 Constitution Rd _________________________           ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1555                                                              Check all that apply.
            Patrick Torres _______________________________
                                                                     ☒ Contingent
            2807 Imperial Ave____________________________            ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1556                                                              Check all that apply.
            Catherine Torres_____________________________
                                                                     ☒ Contingent
            3550 S Harlan St #17-278 _____________________           ☒ Unliquidated
            Denver, Colorado 80235 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1557                                                              Check all that apply.
            Gabriella Torres _____________________________
                                                                     ☒ Contingent
            5610 Terracina Pl. ___________________________           ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1558                                                              Check all that apply.
            Clorinda Torres ______________________________
                                                                     ☒ Contingent
            1026 E River St _____________________________            ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1559                                                              Check all that apply.
            Rashel Torrez _______________________________
                                                                     ☒ Contingent
            7160 S Wenatchee Way Unit B _________________            ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1560                                                              Check all that apply.
            Lisa Marie Townsend _________________________
                                                                     ☒ Contingent
            11753 Pennsylvania St ________________________           ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1561                                                              Check all that apply.
            Zyure Traino ________________________________
                                                                     ☒ Contingent
            5540 S Sherman St Apt 8 ______________________           ☒ Unliquidated
            Littleton, Colorado 80121 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1562                                                              Check all that apply.
            Tina Trammer _______________________________
                                                                     ☒ Contingent
            13642 E Nevada Pl___________________________             ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1563                                                              Check all that apply.
            Johnathan Troublefield ________________________
                                                                     ☒ Contingent
            302 River Rd #A _____________________________            ☒ Unliquidated
            Roswell, New Mexico 88203____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1564                                                              Check all that apply.
            Lorrie Trujillo ________________________________
                                                                     ☒ Contingent
            PO Box 3442 _______________________________              ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1565                                                              Check all that apply.
            Patricio Trujillo ______________________________
                                                                     ☒ Contingent
            1507 Armenta Rd ____________________________             ☒ Unliquidated
            Avondale, Colorado 81022 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1566                                                              Check all that apply.
            Linda Trujillo ________________________________
                                                                     ☒ Contingent
            108 Camelot Ct #105 _________________________            ☒ Unliquidated
            Cheyenne, Wyoming 82009 ____________________             ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page264 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1567                                                              Check all that apply.
            Nicole Trujillo _______________________________
                                                                     ☒ Contingent
            750 S Lafayette Dr C105 ______________________           ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1568                                                              Check all that apply.
            Geronimo Trujillo ____________________________
                                                                     ☒ Contingent
            33550 E State Hwy 96 Lot 12 ___________________          ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1569                                                              Check all that apply.
            Bruce Tuner ________________________________
                                                                     ☒ Contingent
            969 N Downing St Apt 305 _____________________           ☒ Unliquidated
            Denver, Colorado 80218 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1570                                                              Check all that apply.
            Johnella Turner-Luna _________________________
                                                                     ☒ Contingent
            2345 W 16th St Apt 210 _______________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1571                                                              Check all that apply.
            Kristy M. Turtura _____________________________
                                                                     ☒ Contingent
            788 Mercury Cir _____________________________            ☒ Unliquidated
            Lone Tree, Colorado 80124 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1572                                                              Check all that apply.
            Dustin Tyndal _______________________________
                                                                     ☒ Contingent
            3046 Walnut Ave Apt 2 ________________________           ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page265 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1573                                                              Check all that apply.
            Amanda M. Ulmer____________________________
                                                                     ☒ Contingent
            11632 Community Center Dr ___________________            ☒ Unliquidated
            Northglenn, Colorado 80233 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1574                                                              Check all that apply.
            Joel A. Underwood ___________________________
                                                                     ☒ Contingent
            19855 E Garden Dr __________________________             ☒ Unliquidated
            Centennial, Colorado 80015 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1575                                                              Check all that apply.
            Sarah Unruh ________________________________
                                                                     ☒ Contingent
            3247 1/2 Main St Apt A________________________           ☒ Unliquidated
            Clifton, Colorado 81520 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1576                                                              Check all that apply.
            Leslie Uriarte _______________________________
                                                                     ☒ Contingent
            2133 S Eaton St Apt 29 _______________________           ☒ Unliquidated
            Denver, Colorado 80227 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1577                                                              Check all that apply.
            Sylvia Urquidez______________________________
                                                                     ☒ Contingent
            22114 E Princeton Cir ________________________           ☒ Unliquidated
            Aurora, Colorado 80018 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1578                                                              Check all that apply.
            Jose Valadez _______________________________
                                                                     ☒ Contingent
            12490 Navajo Ct. ____________________________            ☒ Unliquidated
            Denver, Colorado 80234 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1579                                                              Check all that apply.
            Britney Valdez ______________________________
                                                                     ☒ Contingent
            11645 Grant St ______________________________            ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1580                                                              Check all that apply.
            Angela F. Valdez ____________________________
                                                                     ☒ Contingent
            1877 E. 99th Ave. ____________________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1581                                                              Check all that apply.
            Korbin R. Valdez_____________________________
                                                                     ☒ Contingent
            3706 Mountain View Dr _______________________            ☒ Unliquidated
            Evans, Colorado 80620 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1582                                                              Check all that apply.
            Christina M. Valdez __________________________
                                                                     ☒ Contingent
            8492 Monroe Way ___________________________              ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1583                                                              Check all that apply.
            Dolores Valdez ______________________________
                                                                     ☒ Contingent
            4555 Mariposa Way __________________________             ☒ Unliquidated
            Denver, Colorado 80211 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1584                                                              Check all that apply.
            John Valdez ________________________________
                                                                     ☒ Contingent
            1644 Euclid Ave._____________________________            ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1585                                                              Check all that apply.
            Jose Valencia _______________________________
                                                                     ☒ Contingent
            602 E 24th St _______________________________            ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1586                                                              Check all that apply.
            Heather McVinua Vallecillo _____________________
                                                                     ☒ Contingent
            9980 Train Station Cir. #222 ____________________        ☒ Unliquidated
            Lone Tree, Colorado 80124 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1587                                                              Check all that apply.
            Staci L. Van Jacobs __________________________
                                                                     ☒ Contingent
            551 Sterling Ln ______________________________           ☒ Unliquidated
            Dacono, Colorado 80514 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1588                                                              Check all that apply.
            Walter Van Lue ______________________________
                                                                     ☒ Contingent
            236 Westin Ave. _____________________________            ☒ Unliquidated
            Brighton, Colorado 80603 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1589                                                              Check all that apply.
            Daniel Vandyke _____________________________
                                                                     ☒ Contingent
            2904 Kanal Ct _______________________________            ☒ Unliquidated
            Grand Junction, Colorado 81503 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1590                                                              Check all that apply.
            Brandon Vangelder___________________________
                                                                     ☒ Contingent
            117 N Robinson Ave__________________________             ☒ Unliquidated
            Florence, Colorado 81226 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1591                                                              Check all that apply.
            Shaughn Varnell _____________________________
                                                                     ☒ Contingent
            5170 S Malta Way ___________________________             ☒ Unliquidated
            Centennial, Colorado 80015 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1592                                                              Check all that apply.
            Miranda A Varney ____________________________
                                                                     ☒ Contingent
            2251 E 84th Ave _____________________________            ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1593                                                              Check all that apply.
            Kimberly Vasquez____________________________
                                                                     ☒ Contingent
            2071 Midland Pl _____________________________            ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1594                                                              Check all that apply.
            Tabitha Vasquez_____________________________
                                                                     ☒ Contingent
            562 Potomac St Apt H ________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1595                                                              Check all that apply.
            James Charles Vasquez _______________________
                                                                     ☒ Contingent
            2071 Midland Pl _____________________________            ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1596                                                              Check all that apply.
            RACHEL VASQUEZ __________________________
                                                                     ☒ Contingent
            9420 W 51st Ave ____________________________             ☒ Unliquidated
            Arvada, Colorado 80002 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1597                                                              Check all that apply.
            Florencia Vasquez Garcia _____________________
                                                                     ☒ Contingent
            711 S Norwood Ave __________________________             ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1598                                                              Check all that apply.
            Reina Vega _________________________________
                                                                     ☒ Contingent
            3300 Raccoon Ln. ___________________________             ☒ Unliquidated
            Pueblo, Colorado 81005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1599                                                              Check all that apply.
            JONATHAN A. VEGA _________________________
                                                                     ☒ Contingent
            1170 S Eaton Cir Apt 1H ______________________           ☒ Unliquidated
            Castle Rock, Colorado 80104 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1600                                                              Check all that apply.
            Susan Velasquez ____________________________
                                                                     ☒ Contingent
            10699 Riverbrook Cir _________________________           ☒ Unliquidated
            Highlands Ranch, Colorado 80126 _______________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1601                                                              Check all that apply.
            Edgar Verdugo-Soto __________________________
                                                                     ☒ Contingent
            4959 W 30th St ______________________________            ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1602                                                              Check all that apply.
            Kierstien E. Vetter____________________________
                                                                     ☒ Contingent
            6969 W 90th Ave Unit 527 _____________________           ☒ Unliquidated
            Broomfield, Colorado 80021 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1603                                                              Check all that apply.
            Steven Vialpando ____________________________
                                                                     ☒ Contingent
            112 Granville Ave ____________________________           ☒ Unliquidated
            Firestone, Colorado 80520 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1604                                                              Check all that apply.
            Rina R. Vieweg ______________________________
                                                                     ☒ Contingent
            12801 Lafayette St Unit G208 __________________          ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1605                                                              Check all that apply.
            Alexis Vigil _________________________________
                                                                     ☒ Contingent
            4242 E Bromley Ln #A302 _____________________            ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1606                                                              Check all that apply.
            Levi Vigil ___________________________________
                                                                     ☒ Contingent
            1032 Alexander Cir. __________________________           ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1607                                                              Check all that apply.
            Anthony Vigil________________________________
                                                                     ☒ Contingent
            2402 Crestwood Ln __________________________             ☒ Unliquidated
            Pueblo, Colorado 81008 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1608                                                              Check all that apply.
            Jill Vigil ____________________________________
                                                                     ☒ Contingent
            5704 S Pearl St Apt A_________________________           ☒ Unliquidated
            Littleton, Colorado 80121 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1609                                                              Check all that apply.
            Danielle Vigil ________________________________
                                                                     ☒ Contingent
            3600 N Cascade Ave #26 ______________________            ☒ Unliquidated
            Colorado Sprgs, Colorado 80907 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1610                                                              Check all that apply.
            Lamont Villa ________________________________
                                                                     ☒ Contingent
            2980 W 119th Ave ___________________________             ☒ Unliquidated
            Westminster, Colorado 80234 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1611                                                              Check all that apply.
            ROGELIO VILLAGOMEZ ______________________
                                                                     ☒ Contingent
            1299 Knox Ct #333 ___________________________            ☒ Unliquidated
            Denver, Colorado 80204 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1612                                                              Check all that apply.
            Pedro Villagrana _____________________________
                                                                     ☒ Contingent
            1641 Monument Ave _________________________              ☒ Unliquidated
            Pueblo, Colorado 81001 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1613                                                              Check all that apply.
            Trinidad Villalobas ___________________________
                                                                     ☒ Contingent
            3061 W 92nd Ave Unit 2A _____________________            ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1614                                                              Check all that apply.
            Christirae Villalobos __________________________
                                                                     ☒ Contingent
            4915 E. 124th Way ___________________________            ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page272 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1615                                                              Check all that apply.
            Christopher P. Villanueva ______________________
                                                                     ☒ Contingent
            2795 N Speer Blvd Unit 363 ____________________          ☒ Unliquidated
            Denver, Colorado 80211 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1616                                                              Check all that apply.
            Joe Villela __________________________________
                                                                     ☒ Contingent
            2770 Copper Peak Ln #E304 ___________________            ☒ Unliquidated
            Longmont, Colorado 80504 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1617                                                              Check all that apply.
            Maria Vizcaino ______________________________
                                                                     ☒ Contingent
            6525 Zenobia St _____________________________            ☒ Unliquidated
            Arvada, Colorado 80003 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1618                                                              Check all that apply.
            Corey Voss _________________________________
                                                                     ☒ Contingent
            1869 E Geddes Cir S _________________________            ☒ Unliquidated
            Littleton, Colorado 80122 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1619                                                              Check all that apply.
            WENDY A. WACKER _________________________
                                                                     ☒ Contingent
            233 Bent Ave _______________________________             ☒ Unliquidated
            Akron, Colorado 80720 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1620                                                              Check all that apply.
            Christopher Wade____________________________
                                                                     ☒ Contingent
            1521 Deerwood Dr E _________________________             ☒ Unliquidated
            Mobile, Alabama 36118 _______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1621                                                              Check all that apply.
            Felicia Waggoner ____________________________
                                                                     ☒ Contingent
            5810 Whiting Way ___________________________             ☒ Unliquidated
            Peyton, Colorado 80831 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1622                                                              Check all that apply.
            Letrisha Wagner _____________________________
                                                                     ☒ Contingent
            3868 Heatherglenn Ln ________________________            ☒ Unliquidated
            Castle Rock, Colorado 80104 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1623                                                              Check all that apply.
            Pateastis Waits ______________________________
                                                                     ☒ Contingent
            3701 Le Fever Dr #4112 _______________________           ☒ Unliquidated
            Fort Collins, Colorado 80528 ___________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1624                                                              Check all that apply.
            Javier Walker _______________________________
                                                                     ☒ Contingent
            181 Alpine Dr SE ____________________________            ☒ Unliquidated
            Leesburg, Virginia 20175 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1625                                                              Check all that apply.
            Kendall S. Walker ____________________________
                                                                     ☒ Contingent
            835 Appleby Pl ______________________________            ☒ Unliquidated
            Castle Rock, Colorado 80104 ___________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1626                                                              Check all that apply.
            Andrea Ward _______________________________
                                                                     ☒ Contingent
            16701 E. 41st St. S___________________________           ☒ Unliquidated
            Independence, Missouri 64055__________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1627                                                              Check all that apply.
            Tiffany Ward ________________________________
                                                                     ☒ Contingent
            15875 E 8th Dr ______________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1628                                                              Check all that apply.
            Johnie Watkins ______________________________
                                                                     ☒ Contingent
            3365 Poplar St ______________________________            ☒ Unliquidated
            Denver, Colorado 80207 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1629                                                              Check all that apply.
            Naomi Watkins ______________________________
                                                                     ☒ Contingent
            1405 S Chambers Rd Unit 101 __________________           ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1630                                                              Check all that apply.
            Dawn Wattley _______________________________
                                                                     ☒ Contingent
            13744 E Lehigh Ave Apt F _____________________           ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1631                                                              Check all that apply.
            Lashan Wattley ______________________________
                                                                     ☒ Contingent
            925 E 17th Ave ______________________________            ☒ Unliquidated
            Denver, Colorado 80218 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1632                                                              Check all that apply.
            Amy Weaver ________________________________
                                                                     ☒ Contingent
            24677 E Arizona Cir __________________________           ☒ Unliquidated
            Aurora, Colorado 80018 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1633                                                              Check all that apply.
            Jessica R. Webb_____________________________
                                                                     ☒ Contingent
            2427 N. Overland Trail ________________________          ☒ Unliquidated
            Laporte, Colorado 80535 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1634                                                              Check all that apply.
            Angela Webber ______________________________
                                                                     ☒ Contingent
            581 Fairfield Ct. _____________________________          ☒ Unliquidated
            Grand Junction, Colorado 81504 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1635                                                              Check all that apply.
            William Weber ______________________________
                                                                     ☒ Contingent
            435 N 35th Ave Lot 101 _______________________           ☒ Unliquidated
            Greeley, Colorado 80631 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1636                                                              Check all that apply.
            Kate Weber_________________________________
                                                                     ☒ Contingent
            4773 N Xenia St _____________________________            ☒ Unliquidated
            Denver, Colorado 80238 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1637                                                              Check all that apply.
            Cynthia W. Weber ___________________________
                                                                     ☒ Contingent
            1105 S Cherry S Apt 3-302 ____________________           ☒ Unliquidated
            Denver, Colorado 80246 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1638                                                              Check all that apply.
            Daniel Webster ______________________________
                                                                     ☒ Contingent
            600 W County Line Rd #8-101 __________________           ☒ Unliquidated
            Littleton, Colorado 80129 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1639                                                              Check all that apply.
            Archie L. Wegner ____________________________
                                                                     ☒ Contingent
            2138 Firestone Ct ____________________________           ☒ Unliquidated
            Loveland, Colorado 80538 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1640                                                              Check all that apply.
            Joseph Wehrman ____________________________
                                                                     ☒ Contingent
            4844 S Taft St_______________________________            ☒ Unliquidated
            Morrison, Colorado 80465 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1641                                                              Check all that apply.
            Casey Welch _______________________________
                                                                     ☒ Contingent
            8812 Kent St ________________________________            ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1642                                                              Check all that apply.
            Brandon Wells ______________________________
                                                                     ☒ Contingent
            108 Brody Ave. ______________________________            ☒ Unliquidated
            Volga, South Dakota 57071 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1643                                                              Check all that apply.
            Tami Wells _________________________________
                                                                     ☒ Contingent
            4699 Kittredge St. ____________________________          ☒ Unliquidated
            Denver, Colorado 80239 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1644                                                              Check all that apply.
            Kristopher M. Wells __________________________
                                                                     ☒ Contingent
            5340 S Huron St _____________________________            ☒ Unliquidated
            Littleton, Colorado 80120 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1645                                                              Check all that apply.
            Crystal Westlund ____________________________
                                                                     ☒ Contingent
            11801 Washington St Apt H406 _________________           ☒ Unliquidated
            Northglenn, Colorado 80233 ___________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1646                                                              Check all that apply.
            Luke A. Whaley _____________________________
                                                                     ☒ Contingent
            1209 26th Ave Apt 102 ________________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1647                                                              Check all that apply.
            Trevor White ________________________________
                                                                     ☒ Contingent
            1 Alpine Ct. _________________________________           ☒ Unliquidated
            Parachute, Colorado 81635 ____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1648                                                              Check all that apply.
            Candice White ______________________________
                                                                     ☒ Contingent
            15859 E Jamison Dr Apt 12104 _________________           ☒ Unliquidated
            Englewood, Colorado 80112 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1649                                                              Check all that apply.
            Alexis White ________________________________
                                                                     ☒ Contingent
            10333 W 80th Dr Apt D _______________________            ☒ Unliquidated
            Arvada, Colorado 80005 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1650                                                              Check all that apply.
            David Whitmore _____________________________
                                                                     ☒ Contingent
            PO Box 371191 _____________________________              ☒ Unliquidated
            Denver, Colorado 80237 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1651                                                              Check all that apply.
            Dennis D. Wiggins ___________________________
                                                                     ☒ Contingent
            1300 DEL MAR PARKWAY ____________________                ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1652                                                              Check all that apply.
            Kelly Wignall ________________________________
                                                                     ☒ Contingent
            13010 King Cir ______________________________            ☒ Unliquidated
            Broomfield, Colorado 80020 ____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1653                                                              Check all that apply.
            Tony Wilhite ________________________________
                                                                     ☒ Contingent
            10700 E. Dartmouth Ave. AA107 ________________           ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1654                                                              Check all that apply.
            AISHA WILKERSON _________________________
                                                                     ☒ Contingent
            191 S Joliet Cir #302 _________________________          ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1655                                                              Check all that apply.
            Andrew Wilkins ______________________________
                                                                     ☒ Contingent
            147 Harvard Ave_____________________________             ☒ Unliquidated
            Pueblo, Colorado 81004 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1656                                                              Check all that apply.
            Nathan Wilkinson ____________________________
                                                                     ☒ Contingent
            6620 McCall Dr ______________________________            ☒ Unliquidated
            Longmont, Colorado 80503 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page279 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1657                                                              Check all that apply.
            Aresia Williams ______________________________
                                                                     ☒ Contingent
            2788 E 132ND CIRCLE _______________________              ☒ Unliquidated
            Thornton, Colorado 80241 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1658                                                              Check all that apply.
            Levar Williams ______________________________
                                                                     ☒ Contingent
            921 S Zeno Way Unit 208 _____________________            ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1659                                                              Check all that apply.
            Jermaine Williams ___________________________
                                                                     ☒ Contingent
            242 N. De Gaulle St.__________________________           ☒ Unliquidated
            Aurora, Colorado 80018 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1660                                                              Check all that apply.
            Keyynna Williams ____________________________
                                                                     ☒ Contingent
            7111 S Wenatchee Way #F ____________________             ☒ Unliquidated
            Aurora, Colorado 80016 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1661                                                              Check all that apply.
            Andrew Williams _____________________________
                                                                     ☒ Contingent
            1064 S Zeno Way Apt 103 _____________________            ☒ Unliquidated
            Aurora, Colorado 80017 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1662                                                              Check all that apply.
            Nicole Williams ______________________________
                                                                     ☒ Contingent
            14112 E 22nd Pl _____________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1663                                                              Check all that apply.
            Cody Williams _______________________________
                                                                     ☒ Contingent
            2828 Orchard Ave Apt 21 ______________________           ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1664                                                              Check all that apply.
            Ronald L. Williams ___________________________
                                                                     ☒ Contingent
            2525 E 104th Ave #2011 ______________________            ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1665                                                              Check all that apply.
            Dante Williams ______________________________
                                                                     ☒ Contingent
            501 Bent Ave _______________________________             ☒ Unliquidated
            Akron, Colorado 80720 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1666                                                              Check all that apply.
            Shala Williams ______________________________
                                                                     ☒ Contingent
            3341 Yarrow St ______________________________            ☒ Unliquidated
            Wheat Ridge, Colorado 80033 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1667                                                              Check all that apply.
            Cimion Williams _____________________________
                                                                     ☒ Contingent
            9987 E Alabama Dr #1314 _____________________            ☒ Unliquidated
            Denver, Colorado 80247 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1668                                                              Check all that apply.
            Ronneka Williams ____________________________
                                                                     ☒ Contingent
            14721 E 18th Pl _____________________________            ☒ Unliquidated
            Aurora, Colorado 80011 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1669                                                              Check all that apply.
            Dante Williams ______________________________
                                                                     ☒ Contingent
            19580 E 59th Ave ____________________________            ☒ Unliquidated
            Aurora, Colorado 80019 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1670                                                              Check all that apply.
            Kimberly K. Williams __________________________
                                                                     ☒ Contingent
            113 Pelican Ave _____________________________            ☒ Unliquidated
            Brighton, Colorado 80601 ______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1671                                                              Check all that apply.
            Sharon Williams _____________________________
                                                                     ☒ Contingent
            2781 S Jasper St ____________________________            ☒ Unliquidated
            Aurora, Colorado 80013 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1672                                                              Check all that apply.
            Gabriel Williams _____________________________
                                                                     ☒ Contingent
            13961 E. MARINA DRIVE #505 _________________             ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1673                                                              Check all that apply.
            Darryl Lamont Williams ________________________
                                                                     ☒ Contingent
            172 Kenton St #P-111 ________________________            ☒ Unliquidated
            Aurora, Colorado 80010 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1674                                                              Check all that apply.
            Stacie J. Willis ______________________________
                                                                     ☒ Contingent
            432 S Vaughn Way___________________________              ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page282 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1675                                                              Check all that apply.
            Marcus Willis _______________________________
                                                                     ☒ Contingent
            4029 Trinidad Dr _____________________________           ☒ Unliquidated
            Loveland, Colorado 80538 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1676                                                              Check all that apply.
            Adam Willison _______________________________
                                                                     ☒ Contingent
            364 Sleepy Hollow Dr _________________________           ☒ Unliquidated
            Bailey, Colorado 80421 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1677                                                              Check all that apply.
            Kelli L. Wilmoth ______________________________
                                                                     ☒ Contingent
            14240 E. 104th Ave. Apt 308 ___________________          ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1678                                                              Check all that apply.
            Mark Wilson ________________________________
                                                                     ☒ Contingent
            565 Arbor Dr ________________________________            ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1679                                                              Check all that apply.
            Martha M. Wilson ____________________________
                                                                     ☒ Contingent
            9940 Phillips Rd _____________________________           ☒ Unliquidated
            Lafayette, Colorado 80026 _____________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1680                                                              Check all that apply.
            Jason S. Wilson _____________________________
                                                                     ☒ Contingent
            2238 Jewell St ______________________________            ☒ Unliquidated
            Longmont, Colorado 80501 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1681                                                              Check all that apply.
            Jessica A. Wilson ____________________________
                                                                     ☒ Contingent
            363 Inverness Pkwy Apt 8-107 __________________          ☒ Unliquidated
            Englewood, Colorado 80112 ___________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1682                                                              Check all that apply.
            Ambur R. Wilson_____________________________
                                                                     ☒ Contingent
            2415 HARPETH PL SW _______________________               ☒ Unliquidated
            Decatur, Alabama 35601 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1683                                                              Check all that apply.
            Chandra Winkler _____________________________
                                                                     ☒ Contingent
            129 E 107th Pl ______________________________            ☒ Unliquidated
            Denver, Colorado 80233 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1684                                                              Check all that apply.
            Cinamin Wise _______________________________
                                                                     ☒ Contingent
            1900 SW Campus Dr #26-204 __________________             ☒ Unliquidated
            Auburn, Washington 98023 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1685                                                              Check all that apply.
            Wayne Wise ________________________________
                                                                     ☒ Contingent
            435 32 Rd #719 _____________________________             ☒ Unliquidated
            Clifton, Colorado 81520 _______________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1686                                                              Check all that apply.
            Naomi Wolfe ________________________________
                                                                     ☒ Contingent
            2525 Bloomingdale Dr NE #1108 ________________           ☒ Unliquidated
            Grand Rapids, Michigan 49525 _________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

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                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1687                                                              Check all that apply.
            Tiffany Wolfe________________________________
                                                                     ☒ Contingent
            5229 Central Park Blvd ________________________          ☒ Unliquidated
            Denver, Colorado 80238 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1688                                                              Check all that apply.
            Matthew Gregory Wolfe _______________________
                                                                     ☒ Contingent
            11515 Adams St _____________________________             ☒ Unliquidated
            Thornton, Colorado 80233 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1689                                                              Check all that apply.
            Anna Woodhouse ____________________________
                                                                     ☒ Contingent
            914 E Broadway Rd __________________________             ☒ Unliquidated
            Tempe, Arizona 85282 ________________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1690                                                              Check all that apply.
            Jennifer Woods______________________________
                                                                     ☒ Contingent
            2885 E Midway Blvd Lot 706 ___________________           ☒ Unliquidated
            Denver, Colorado 80234 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1691                                                              Check all that apply.
            Kevin Woodsmall ____________________________
                                                                     ☒ Contingent
            7875 W Glasgow Pl __________________________             ☒ Unliquidated
            Littleton, Colorado 80128 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1692                                                              Check all that apply.
            Cathrina Woodvine ___________________________
                                                                     ☒ Contingent
            1145 S. Oneida St., Apt A _____________________          ☒ Unliquidated
            Denver, Colorado 80224 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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          Case:24-16031-KHT Doc#:17 Filed:10/28/24                                Entered:10/28/24 15:32:21 Page285 of 292
Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1693                                                              Check all that apply.
            Stephen Worman ____________________________
                                                                     ☒ Contingent
            902 Liptrap St. ______________________________           ☒ Unliquidated
            Simla, Colorado 80835 ________________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1694                                                              Check all that apply.
            Jason Worysz _______________________________
                                                                     ☒ Contingent
            14045 E Princeton Pl #A ______________________           ☒ Unliquidated
            Aurora, Colorado 80014 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1695                                                              Check all that apply.
            Travis Woutersz _____________________________
                                                                     ☒ Contingent
            2721 N. CR 23 ______________________________             ☒ Unliquidated
            Bellvue, Colorado 80512 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1696                                                              Check all that apply.
            Trevor Wright _______________________________
                                                                     ☒ Contingent
            837 Park Ave W Apt 101 ______________________            ☒ Unliquidated
            Denver, Colorado 80205 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1697                                                              Check all that apply.
            Gary Wright ________________________________
                                                                     ☒ Contingent
            2826 C 3/4 Rd ______________________________             ☒ Unliquidated
            Grand Junction, Colorado 81501 ________________          ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1698                                                              Check all that apply.
            Jennifer Wright ______________________________
                                                                     ☒ Contingent
            431 Wright St Apt 305 ________________________           ☒ Unliquidated
            Denver, Colorado 80228 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1699                                                              Check all that apply.
            Todd Wright ________________________________
                                                                     ☒ Contingent
            3922 W 25th Ave ____________________________             ☒ Unliquidated
            Denver, Colorado 80212 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1700                                                              Check all that apply.
            Marilou C. Wullstein __________________________
                                                                     ☒ Contingent
            11163 E 17th Ave Apt 8-103 ___________________           ☒ Unliquidated
            Lakewood, Colorado 80215 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1701                                                              Check all that apply.
            Amy Xiong _________________________________
                                                                     ☒ Contingent
            14450 E 104th Ave Apt 304 ____________________           ☒ Unliquidated
            Commerce City, Colorado 80022 ________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1702                                                              Check all that apply.
            Ken Yamada ________________________________
                                                                     ☒ Contingent
            7218 W Canberra Street Dr ____________________           ☒ Unliquidated
            Greeley, Colorado 80634 ______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1703                                                              Check all that apply.
            Fobah Yankey ______________________________
                                                                     ☒ Contingent
            20208 Randolph Pl ___________________________            ☒ Unliquidated
            Denver, Colorado 80249 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1704                                                              Check all that apply.
            Salina Yates ________________________________
                                                                     ☒ Contingent
            10924 Bellaire Way __________________________            ☒ Unliquidated
            Thornton, Colorado 80233 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1705                                                              Check all that apply.
            Isaiah Ybarra _______________________________
                                                                     ☒ Contingent
            323 Watson St Apt A _________________________            ☒ Unliquidated
            Aurora, Illinois 60505 _________________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1706                                                              Check all that apply.
            Joshua Yeager ______________________________
                                                                     ☒ Contingent
            7373 W Florida Ave Apt 7E ____________________           ☒ Unliquidated
            Lakewood, Colorado 80232 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1707                                                              Check all that apply.
            Joseph Yeatts _______________________________
                                                                     ☒ Contingent
            606 S Carr St _______________________________            ☒ Unliquidated
            Denver, Colorado 80226 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1708                                                              Check all that apply.
            Arsina Yesiki ________________________________
                                                                     ☒ Contingent
            401 S Wheeling Way _________________________             ☒ Unliquidated
            Aurora, Colorado 80012 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1709                                                              Check all that apply.
            Kadeezha Young ____________________________
                                                                     ☒ Contingent
            620 S Quivas St _____________________________            ☒ Unliquidated
            Denver, Colorado 80223 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1710                                                              Check all that apply.
            Miranda Monic Yslas _________________________
                                                                     ☒ Contingent
            8199 WELBY RD #306 ________________________              ☒ Unliquidated
            Denver, Colorado 80229 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1711                                                              Check all that apply.
            Eleanor I. Zamora ____________________________
                                                                     ☒ Contingent
            608 Goodrich Ave ____________________________            ☒ Unliquidated
            Platteville, Colorado 80651 _____________________        ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1712                                                              Check all that apply.
            Violet Zavala ________________________________
                                                                     ☒ Contingent
            11783 Xavier Ct _____________________________            ☒ Unliquidated
            Westminster, Colorado 80031 __________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1713                                                              Check all that apply.
            Christopher S. Zavala _________________________
                                                                     ☒ Contingent
            1691 S Galena St #625 _______________________            ☒ Unliquidated
            Aurora, Colorado 80247 _______________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1714                                                              Check all that apply.
            Michael Zenz _______________________________
                                                                     ☒ Contingent
            7257 S Long Springs Butte _____________________          ☒ Unliquidated
            Littleton, Colorado 80127 ______________________         ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1715                                                              Check all that apply.
            Jennifer Zimmerman__________________________
                                                                     ☒ Contingent
            101 E 88th Ave Apt G106 ______________________           ☒ Unliquidated
            Thornton, Colorado 80229 _____________________           ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1716                                                              Check all that apply.
            Susan Zwahlen ______________________________
                                                                     ☒ Contingent
            1021 Burning Bush Pt_________________________            ☒ Unliquidated
            Monument, Colorado 80132 ____________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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Debtor        Loan Stop Acquisitions LLC                                                                  Case number (if known) 24-16031
              Name



 Part 2:    Additional Page

 Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                     Amount of claim
 additional NONPRIORITY creditors exist, do not fill out or submit this page.

            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:                   $ 1,223.00 __________
 3.1717                                                              Check all that apply.
            Max Maximiliano ____________________________
                                                                     ☒ Contingent
            522 S Meade St _____________________________             ☒ Unliquidated
            Denver, Colorado 80219 ______________________            ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
                                                                                                                                     $ _________________
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
            __________________________________________               Check all that apply.
                                                                     ☒ Contingent
            __________________________________________               ☒ Unliquidated
            __________________________________________               ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
                                                                                                                                     $ _________________
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
            __________________________________________               Check all that apply.
                                                                     ☒ Contingent
            __________________________________________               ☒ Unliquidated
            __________________________________________               ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
                                                                                                                                     $ _________________
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
            __________________________________________               Check all that apply.
                                                                     ☒ Contingent
            __________________________________________               ☒ Unliquidated
            __________________________________________               ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
                                                                                                                                     $ _________________
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
            __________________________________________               Check all that apply.
                                                                     ☒ Contingent
            __________________________________________               ☒ Unliquidated
            __________________________________________               ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes
                                                                                                                                     $ _________________
            Nonpriority creditor’s name and mailing address          As of the petition filing date, the claim is:
            __________________________________________               Check all that apply.
                                                                     ☒ Contingent
            __________________________________________               ☒ Unliquidated
            __________________________________________               ☒ Disputed

                                                                     Basis for the claim: ____________________
            Date or dates debt was incurred ______________           Is the claim subject to offset?
                                                                     ☒ No
            Last 4 digits of account number ___ ___ ___ ___
                                                                     ☐ Yes



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  Debtor             _______________________________________________________                                          Case number (if known)_____________________________________
                     Name



Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                                                               related creditor (if any) listed?             account number, if
                                                                                                                                                             any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________      ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




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  Debtor             _______________________________________________________                                        Case number (if known)_____________________________________
                     Name



 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the      Last 4 digits of
                                                                                                             related creditor (if any) listed?             account number,
                                                                                                                                                           if any
4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__                                                                                                         Line _____
       ___________________________________________________________________________________________________

       _________________________________________________________________                                        Not listed. Explain ________________      ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




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 Debtor        _______________________________________________________             Case number (if known)_____________________________________
               Name



Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                           Total of claim amounts



5a. Total claims from Part 1                                                                  5a.          $_____________________________




5b. Total claims from Part 2                                                                  5b.    +    $2,099,891.00
                                                                                              _____________________________



5c. Total of Parts 1 and 2
                                                                                              5c.          $2,099,891.00
   Lines 5a + 5b = 5c.                                                                                     ____________________________




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